Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 1 of 220 PageID 10314




                                Exhibit E

        Appendix of Exhibits to Amended Complaint

                               Vol. IV of VI
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                      Page 2 of 220 PageID 10315



                                 TABLE OF CONTENTS


   Vol. IV

   Exhibit 46 Letter from Soc’y of Fam. Plan. et al., to Stephen Ostroff,
     Acting Comm’r of Food & Drugs, Robert M. Califf, Deputy Comm’r
     for Med. Prods. & Tobacco & Janet Woodcock, Dir., Ctr. for Drug
     Evaluation      &        Rsch.,         U.S.         Food          &        Drug          Admin.
     (Feb. 4, 2016) ........................................................................... App. 000810

   Exhibit 47 Complaint, ECF No. 1, Whole Woman’s Health All. v.
     FDA, No. 3:23-cv-00019-NKM, (W.D. Va. May 8, 2023) ....... App. 000820

   Exhibit 48 Rebecca Tong Decl., ECF No. 10-1, Whole Woman’s
     Health     All.    v.        FDA,              No.           3:23-cv-00019-NKM
     (W.D. Va. May 8, 2023) ........................................................... App. 000867

   Exhibit 49 Nicole Smith Decl., ECF No. 10-2, Whole Woman’s Health
     All.       v.             FDA,                   No.                3:23-cv-00019-NKM
     (May 8, 2023) ........................................................................... App. 000878

   Exhibit 50 Helen Weems Decl., ECF No. 10-3, Whole Woman’s
     Health     All.          v.         FDA,             No.            3:23-cv-00019-NKM
     (May 8, 2023) ........................................................................... App. 000891

   Exhibit 51 Amy Hagstrom Miller Decl. ECF No. 10-4, Whole
     Woman’s Health All. v. FDA, No. 3:23-cv-00019-NKM (May 8,
     2023)    ................................................................................... App. 000902

   Exhibit 52 Declaration of Connie Cantrell, ECF 4-1, Ex. 2,
     Washington v. FDA, No. 1:23-cv-03026, (E.D. Wash. Feb. 24, 2023)
              ................................................................................... App. 000915

   Exhibit 53 Declaration of Paul Dillon, ECF 4-1, Ex. 5, Washington v.
     FDA, No. 1:23-cv-03026, (E.D. Wash.Feb. 24, 2023) ............ App. 000922

   Exhibit 54 Declaration of Cynthia Harris, ECF 4-1, Ex. 10,
     Washington v. FDA, No. 1:23-cv-03026, (E.D. Wash. Feb. 24, 2023)
              ................................................................................... App. 000933
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                    Page 3 of 220 PageID 10316



   Exhibit 55 Anna Spoerre, 2 Years After Missouri Banned Abortion,
     Navigating Access Still Involves Fear, Confusion, Missouri
     Independent (June 24, 2024) .................................................. App. 000941

   Exhibit 56 Spencer Kimball & Bertha Coombs, CVS and Walgreens
     Plan to Sell Abortion Pill Mifepristone at Pharmacies after FDA
     Rule Change, CNBC (Jan. 5 2023) ......................................... App. 000953

   Exhibit 57 Patrick Adams, In Washington State, Pharmacists are
     Poised    to   Start         Prescribing              Abortion            Drugs,         NPR
     (March 1, 2024) ....................................................................... App. 000959

   Exhibit 58 Chloe Atkins, CVS and Walgreens to Start Dispensing the
     Abortion Pill Mifepristone, NBC (Mar. 1, 2024).................... App. 000970

   Exhibit 59 GenBioPro, Pharmacy Directory............................. App. 000974

   Exhibit 60 Rachel Roubein, ‘Shield’ Laws Make it Easier to Send
     Abortion     Pills         to         Banned              States,           Wash.           Post
     (July 20, 2023) ......................................................................... App. 000984

   Exhibit 61 Rachel Roubein, How Blue States are Responding to the
     Post-Roe World, Wash. Post (June 21, 2023)......................... App. 000991

   Exhibit 62 Rebecca Grant, Group Using ‘Shield Laws’ to Provide
     Abortion Care in States That Ban It, The Guardian
     (July 23, 2023) ......................................................................... App. 000999

   Exhibit 63 Abigail Brooks and Dasha Burns, How A Network of
     Abortion Pill Providers Works Together in the Wake of New
     Threats, NBC News (April 7, 2024) ....................................... App. 001003

   Exhibit 64 Elissa Nadworny, Inside a Medical Practice Sending
     Abortion Pills to States Where They’re Banned, NPR
     (Aug. 7, 2024) .......................................................................... App. 001011

   Exhibit 65 Caroline Kitchener, Blue-State Doctors Launch Abortion
     Pill   Pipeline      Into         States         With          Bans,          Wash.         Post
     (July 19, 2023) ......................................................................... App. 001019
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                    Page 4 of 220 PageID 10317



   Exhibit 65 Caroline Kitchener, Blue-State Doctors Launch Abortion
     Pill   Pipeline      Into         States         With          Bans,          Wash.         Post
     (July 19, 2023) ......................................................................... App. 001019
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 5 of 220 PageID 10318




                               EXHIBIT 46

      Letter from SFP to Stephen Ostroff (Feb 4, 2016)




                                                                   App. 000810
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                          Page 6 of 220 PageID 10319

                                          CONFIDENTIAL
                                                                                              February 4, 2016


  Stephen Ostroff, M.D., Acting Commissioner of Food and Drugs
  Robert M. Califf, M.D., Deputy Commissioner for Medical Products and Tobacco
  Janet Woodcock, M.D., Director of the Center for Drug Evaluation and Research
  U.S. Food and Drug Administration
  10903 New Hampshire Avenue
  Silver Spring, MD 20993

  Dear Drs. Ostroff, Califf, and Woodcock,

  The following 30 organizations write to ask the U.S. Food and Drug Administration (FDA) to lift the Risk
  Evaluation and Mitigation Strategy (REMS) imposed in 2000 when it approved the use of Mifeprex©
  (mifepristone) for pregnancy termination, and to extend the indicated use through a gestational age of 70
  days. In the 15 years since mifepristone’s approval, multiple clinical trials, dozens of studies, and
  extensive experience across the globe have confirmed the FDA’s finding that mifepristone is a safe and
  reliable method of abortion. Studies have shown that mifepristone in combination with misoprostol is up
  to 99% effective for first trimester abortion1,2 and that serious complications are rare.3 The steady increase
  in use of medication abortion – now 23% of U.S. abortions – shows that many women prefer this option,
  and that it has the ability to improve access to abortion, even in states with restrictive laws. Provider
  interest in offering mifepristone has also increased substantially: in 2011, 59% of abortion providers
  offered early medication abortions, up from 33% in 2008.4 This growing use of medication abortion has
  made a major difference in people’s lives. We thank the FDA for ensuring mifepristone is available on the
  market for patients’ reproductive health care needs.

  However, many who could benefit from mifepristone still do not have access to it due to multiple types of
  restrictions, including those required by the FDA. In November 2015, a group of organizational and
  individual researchers submitted a letter to the FDA (hereinafter “Technical Letter”) asking the agency to
  lift the REMS on mifepristone and extend the indicated use to 70 days gestational age, presenting data
  showing that the current restrictions and limited gestational age indication are unnecessary for the safe
  and effective use of the drug for pregnancy termination.

  As policy, advocacy, social science, research, and academic organizations, we ask the FDA to consider
  the substantial evidence presented in the Technical Letter, alongside the burdens that the REMS and the
  label’s 49-day gestational age indication place on patient access, which we describe here. The FDA held a
  public meeting in October 2015 to discuss improving patient access to drugs under REMS,5 evidencing
  the agency’s own awareness of patient burden caused specifically by restrictions imposed under REMS.
  We applaud these efforts and urge the FDA to use its regulatory authority to remove the medically
  unnecessary barriers to mifepristone.

  Mifepristone underwent a lengthy approval process in the late 1990s, during which it became subject to a
  rarely-used approval mechanism: Subpart H of the FDA’s Title 21, Chapter 314 regulations. Subpart H is
  used primarily for drugs with very serious and well-documented safety concerns.6 In 2007, Subpart H
  restrictions on all drugs were converted automatically into a Risk Evaluation and Management Strategy
  (REMS),7 a mechanism created by Congress whereby FDA can impose Elements to Assure Safe Use
  (ETASU). Under this law, as the Agency stated in preparation for its October 2015 meeting on REMS,8
  Congress mandated that the FDA engage in a balancing analysis to ensure that the risks mitigated by a
  REMS program do not unduly burden patients’ access to health care:




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                                                                                                 App. 000811
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                         Page 7 of 220 PageID 10320

                                          CONFIDENTIAL
      [E]lements to assure safe use [ETASU] ... shall–
             (A) be commensurate with the specific serious risk listed in the labeling of the drug;
             ...
             (C) considering such risk, not be unduly burdensome on patient access to the drug,
             considering in particular–
                      (i) patients with serious or life-threatening diseases or conditions; and
                      (ii) patients who have difficulty accessing health care (such as patients in
                      rural or medically underserved areas)….9

  Although the FDA may have decided 15 years ago that the balance of risk and burden came out in favor
  of restricting mifepristone’s indicated use and distribution, today both science and the current conditions
  surrounding patient access to abortion care call strongly for a reevaluation of the mifepristone label and
  REMS restrictions, especially its Elements to Assure Safe Use (ETASU).

  We support the following changes to the mifepristone label:

      ●   The drug should be indicated for use in medication abortions beyond 49 days gestation.
      ●   The recommended dose regimen should be mifepristone 200 mg followed 24-48 hours later by
          misoprostol 800 mcg.
      ●   The location where the patient should take these drugs should not be restricted.
      ●   An in-person visit should be indicated as not always necessary for follow-up assessment.
      ●   Any licensed health care provider should be able to prescribe the drug.

  We expand below upon further specific changes that should be made based on scientific evidence of
  mifepristone’s safety and efficacy, as well as the numerous burdens on patients’ access to abortion care
  that would be greatly alleviated if the REMS were eliminated and the gestational age indication in the
  label were increased to 70 days.

     1. Eliminate the REMS and ETASU for mifepristone.
        a. Expand dispensing venues. The ETASU state that mifepristone may only be dispensed to
           patients in a clinic, medical office, or hospital, and not through pharmacies.10 The Technical
           Letter discusses why this requirement is not medically warranted. The requirement should be
           removed entirely, so that mifepristone can also be distributed via retail pharmacies like other
           prescription medications, in addition to being directly distributed to providers.

             This requirement significantly curtails mifepristone’s potential to expand patient access to
             abortion care. The up-front costs (including substantial costs for pre-ordering the drug) and
             logistical requirements (e.g., increased staffing at provider offices) are a burden to providers
             and, therefore, deter some health care providers from offering medication abortion. When
             fewer providers are willing to stock mifepristone in their offices because of the REMS and
             ETASU, fewer patients can access medication abortion. In some cases this requirement may
             also force the patient to make an unnecessary visit to a clinic, medical office, or hospital to
             pick up the medication, rather than being able to pick up an order called into a pharmacy. This
             requirement is especially significant in underserved and rural areas where access to a health
             care provider is already difficult, and for those with low incomes for whom taking off work or
             getting to a provider multiple times in short order is impossible due to cost or family needs.11
             The Turnaway Study, a prospective longitudinal study conducted by Advancing New
             Standards in Reproductive Health (ANSIRH) at the University of California-San Francisco
             examining the effects of unintended pregnancy on individuals’ lives, demonstrates that the
             majority of people who seek abortion care are already in difficult financial situations, and are



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                                                                                                App. 000812
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                       Page 8 of 220 PageID 10321

                                        CONFIDENTIAL
           disproportionately people of color.12 Costly and unnecessary visits to the doctor significantly
           increase financial and logistical burdens for these individuals and communities.

           Any venue expansion, however, should not preclude the direct distribution of mifepristone to
           providers who want to dispense from their clinical settings. In many places, pharmacy refusal
           laws allow pharmacists to decline to fill prescriptions for reproductive health drugs such as
           emergency contraception and birth control, and federal policy allows providers to refuse to
           provide abortions.13 So, although pharmacists’ ability to dispense mifepristone would expand
           patient access to medication abortion in places where providers cannot easily store
           mifepristone in their offices, providers should retain the option to have mifepristone directly
           distributed to their offices to ensure continued access to medication abortion for those living in
           places where pharmacists can refuse to fill mifepristone prescriptions.

       b. Eliminate the Prescriber Agreement certification requirement. Under the REMS and
          ETASU, providers must have a physician supervisor submit a Prescriber Agreement form to
          the drug’s distributor attesting: 1) that mifepristone will only be provided by or under the
          supervision of a physician; and 2) that the physician can assess pregnancy duration, 3)
          diagnose ectopic pregnancies, and 4) make a plan for a patient to have surgical intervention if
          necessary.10 This requirement should be eliminated for several reasons:

            i.   The Prescriber’s Agreement is unnecessary for the safe dispensation of mifepristone. As
                 the Technical Letter explains, health care professionals are already subject to many laws,
                 policies, and ordinary standards of practice that ensure they can accurately and safely
                 understand and prescribe medications. Provider certification is not required for health
                 care professionals to dispense other drugs, including drugs that carry black box, or boxed,
                 warnings about their medical risks. Accutane, for example, has a boxed warning that
                 describes the potential risks of the drug,14 but Accutane prescribers are not required to
                 submit a certification form in order to prescribe it. Mifeprex also has a boxed warning15
                 and there is no medical reason for a Prescriber’s Agreement to be required in addition.

           ii.   The Prescriber’s Agreement forces providers to identify themselves as abortion providers
                 to a centralized entity (Danco Laboratories) inspected and regulated by the FDA, which
                 could discourage some from offering medication abortion care to their patients. In 2014,
                 more than half of U.S. health care facilities that provide abortions (52%) experienced
                 threats and other types of targeted intimidation, and one in five experienced severe
                 violence, such as blockades, invasions, bombings, arsons, chemical attacks, physical
                 violence, stalking, gunfire, bomb threats, arson threats, or death threats.16 Robert Dear’s
                 November 27, 2015, standoff at a Planned Parenthood health center in Colorado, which
                 resulted in three deaths, provides one recent and chilling example of anti-abortion
                 violence.17 Given such escalating harassment and violence against known abortion
                 providers,18 clinicians may be understandably reluctant to add their names to a centralized
                 database of mifepristone providers.

          iii.   The Prescriber’s Agreement would be incompatible and unnecessary if there were an
                 expanded distribution system. If dispensing venues are expanded as proposed in section
                 1a, ordinary standards of practice and state regulations would govern pharmacists’ and
                 providers’ distribution of mifepristone, and a specific certification process would be
                 unnecessary. Furthermore, a distribution system that incorporates the Prescriber’s
                 Agreement would be extremely difficult to maintain as a practical matter. Pharmacists
                 would need to check the certification status of each prescriber before filling a
                 prescription, which they do not normally have to do when filling other prescriptions.


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                                                                                              App. 000813
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                        Page 9 of 220 PageID 10322

                                        CONFIDENTIAL
                Alternatively, pharmacists would need to become certified providers themselves, thus
                facing the deterrence problem of adding their names to a centralized database of
                mifepristone providers.

          iv.   The Prescriber’s Agreement as currently written prevents independent non-physician
                prescribers from being able to prescribe mifepristone without supervision by a physician.
                The Prescriber’s Agreement currently states that mifepristone “must be provided by or
                under the supervision of a physician.”19 However, nowhere in the outline piece of the
                REMS document written by the FDA is the word “physician” used. The REMS
                references only “providers” and “prescribers.” 10 The Prescriber’s Agreement’s narrow
                interpretation of the REMS is medically unnecessary and severely limits patients’ access
                to medication abortion care, because non-physician providers must work under physician
                supervision to prescribe mifepristone. All states give certain advanced practice clinicians
                prescribing authority, including for controlled substances, and 27 states allow them to
                dispense medications directly.20 Advanced practice clinicians provide an increasing
                proportion of basic health care in the U.S., and several states authorize these clinicians to
                provide abortion care. If the Agreement is not eliminated, then at least enlarging the pool
                of health care providers that can submit the Prescriber’s Agreement would help improve
                access and be consistent with individual state law regarding scope of practice. If the FDA
                does not eliminate the Agreement altogether, it should make clear that any licensed health
                care provider with prescribing authority is also eligible for certification to prescribe
                mifepristone.

       c. Remove the confusing and unnecessary Patient Agreement. The REMS requires that each
          patient sign a Patient Agreement form before receiving mifepristone. This requirement is
          medically unnecessary and interferes with the clinician-patient relationship. It should be
          eliminated entirely.

           In addition to being outdated and inconsistent with requirements for drugs with similar safety
           profiles, the Patient Agreement creates confusion for patients. Except in the few states that
           require that patients follow the regimen that appears on the mifepristone label, the majority of
           clinicians use an evidence-based regimen that is different from the regimen described in the
           label. Requiring a patient to sign an agreement to a treatment plan that differs from the one
           prescribed by her provider is confusing and could undermine trust in the clinician.

           Patients have been using mifepristone safely and effectively according to evidence-based
           regimens recommended by their clinicians for many years, diverging from the regimen
           described in the Patient Agreement.3 A wealth of data and experience since mifepristone’s
           approval have demonstrated that this drug is extremely safe, that clinicians with routine
           professional training can provide it appropriately, and that patients are able to use it as directed
           by their health care provider.21,22 Requiring a patient to sign an agreement to a treatment plan
           that differs from the one prescribed by her provider may create unnecessary confusion.

       d. Allow evidence-based follow-up assessment. Under the Federal Food, Drug, and Cosmetic
          Act, the FDA should ensure that a REMS does not unduly burden patients, especially those in
          rural or medically underserved areas.9 However, the documents appended to the REMS (the
          Medication Guide, Prescriber’s Agreement, and Patient Agreement) all indicate the patient
          should to return to the clinic for follow-up 14 days after the patient takes mifepristone.10 Such
          an in-person appointment is not always medically necessary and, when required, creates
          significant additional costs for patients, who must find time for another appointment at the
          provider’s office and potentially incur substantial costs for travel, childcare, and/or lost wages.


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                                                                                                App. 000814
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                Page 10 of 220 PageID 10323

                                                CONFIDENTIAL
                 These burdens are often increased for patients living in rural and other medically underserved
                 areas. In 2008, 33% of all abortion patients traveled more than 25 miles to obtain care, and
                 74% of all patients living in rural areas traveled at least 50 miles to obtain the procedure.23
                 Medical technology and telemedicine have advanced considerably since 2000,24 and a growing
                 body of evidence shows that alternatives to in-person follow-up, such as serum chorionic
                 gonadotropin (hCG), multi-level pregnancy tests, and telephone counseling are safe, effective,
                 and improve access and satisfaction for patients.25,26,27

         2. Increase the gestational age for indicated use on the label.
            The current label indicates use of mifepristone through 49 days after the start of the patient’s last
            menstrual period (LMP). The Technical Letter discusses the substantial evidence demonstrating
            that the evidence-based medication abortion regimen is highly effective later than 49 days LMP,
            through at least the 10th week (64-70 days) of gestation.28,29,30 The National Abortion
            Federation’s (NAF) annual Clinical Policy Guidelines, which NAF develops by consensus based
            on a rigorous review of current medical literature and known patient outcomes, recommend that
            an evidence-based medication abortion regimen be used through 70 days LMP.31 The time
            between 49 and 70 days LMP is critical for patient access, as approximately 30% of women who
            seek an abortion present for care during this time, according to the Centers for Disease Control.32

  Consider the current legal and social climate
  The overall legal and social climate around abortion care intensifies all of the burdens that the
  mifepristone REMS places on patients and makes it even more critical that the FDA lift medically
  unnecessary restrictions on the drug. Since mifepristone’s approval, a multitude of laws and regulations at
  the federal and state level have dramatically restricted access to abortion care. In the first five years of this
  decade alone, states enacted 288 abortion restrictions – more than the entire previous decade.33 These
  restrictions are typically unsupported by medical evidence and serve only to reduce access to abortion
  care.34 In 2000, the Guttmacher Institute, a nonpartisan research and policy organization that seeks to
  advance sexual and reproductive health and rights and ensure the highest standard of sexual and
  reproductive health care, considered 13 states to be hostile to abortion, meaning that those states had 4-5
  types of restrictions on abortion. In 2014, the number of states considered hostile had more than doubled,
  now including more than half of all states. 34

  Providers have increasingly been forced to close their doors as a result of mounting restrictions. There
  were about 1,800 abortion providers in the U.S. in 2000. Stand-alone abortion clinics constituted 447
  (25%) of all providers in 2000, and those clinics provided 71% of all abortions.35 By 2008, only 378
  abortion clinics were still providing 70% of abortions.36 Abortion clinic closures have accelerated since
  2008, as lawmakers began passing restrictions at an unprecedented rate.37 The Associated Press estimated
  in June 2015 that 70 abortion clinics had closed in a dozen states since 2010.38 This wave of state
  restrictions and clinic closures has continued unabated in the last five years.

  Some of these measures specifically block access to medication abortion by invoking the FDA-approved
  label. North Dakota, Ohio, and Texas currently require mifepristone to be administered solely according
  to the regimen that appears on the FDA label.39 The Arkansas legislature just passed a similar law in
  2015, though a federal judge issued a temporary restraining order blocking enforcement of the law until a
  hearing on March 14, 2016.40 In these states, mifepristone cannot be prescribed in accordance with
  evidence-based practices developed in the last 15 years,* which improve patient access in multiple ways:
    ● enabling patients to take a lower dose of mifepristone, resulting in fewer side effects and lower cost;


  *
      The one deviation that Texas allows from the label is one other dosage amount of Mifeprex and misoprostol. 39


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                                                                                                         App. 000815
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                         Page 11 of 220 PageID 10324

                                          CONFIDENTIAL
    ● allowing patients to take mifepristone, misoprostol, or both at home, and/or confirm termination of
      pregnancy at home, resulting in fewer visits to the provider;
    ● and offering medication abortion to patients later than 49 days LMP. 3

  Studies have also shown that these “label laws” have had a negative impact on patient access to abortion.
  For example, a recent study showed that after passage of laws that restricted use of mifepristone to the
  FDA label in Texas and Ohio, medication abortion declined dramatically while it rose in New York and
  California, states without restrictive laws.41 Furthermore, these laws run counter to the FDA’s own
  guidance, which states that a “package insert is informational only.”42,43,44 As long as the FDA-approved
  label diverges from evidence-based regimens, states can hide behind it as they restrict access to abortion.
  If the FDA does not update mifepristone’s label to reflect the most current, evidence-based practice, the
  number of women adversely affected will only increase as additional states pass laws to exploit this
  discrepancy.

  Other state restrictions are not specific to medication abortion, but affect all kinds of abortion care,
  including access to mifepristone. These medically unnecessary restrictions include the following:
  requirements that facilities where abortion is provided meet standards for ambulatory surgical centers;
  physician admitting privileges at local hospitals; and requirements that the patient and prescribing
  clinician must be in the same physical location, prohibiting the use of telemedicine technology. On top of
  these legal restrictions, anti-abortion stigma, harassment, and violence deter many health care
  professionals from providing abortion care. Authorizing distribution of mifepristone in pharmacies could
  diminish the impact of these barriers and allow providers to offer abortion care without fear of retaliation.

  These restrictions, and the concomitant politicization and stigmatization of abortion care, have also
  seeped into other aspects of health care and prevented progress on the use of mifepristone for other
  indications. Removing the REMS program would make mifepristone more readily available for non-
  abortion therapies as well.45,46

  In summary, the burdens on patient access to medication abortion, exacerbated by the REMS
  requirements placed on mifepristone, strongly outweigh any medical risk to the patient associated with
  the drug. In this climate of legal restrictions, clinic closures, and mounting stigma, it is increasingly
  important that any regulation of mifepristone be based solely on medical evidence, rather than the
  discretion of politicians who are determined to restrict access to abortion at any price. We recognize that
  the FDA is not responsible for most restrictions on abortion access. However, whenever the FDA
  evaluates indications and restrictions on an approved product, it does so in the context of the real-world
  circumstances in which the product is sold and the condition is treated. We believe this is vital in the case
  of mifepristone in particular, where the broad landscape of laws regulating abortion has measurable
  negative impact on the clinical provision of abortion care.

  Mifepristone continues to hold immense promise for patient access to a safe and effective early abortion
  option, but medically unnecessary regulations are impeding its full potential. Extensive scientific and
  clinical evidence of mifepristone’s safety and efficacy, and the ever-increasing burden on patient access
  to abortion care, clearly demonstrate that mifepristone’s REMS program is not needed to protect patients.
  In light of the FDA’s statutory mandate from Congress to consider the burden caused to patients by
  REMS, and the agency’s own stated commitment to ensuring that drug restrictions do not unduly burden
  patient access, we ask that the FDA lift mifepristone’s REMS and amend the label to extend the indicated
  use to 70 days.




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                                                                                                 App. 000816
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                  Page 12 of 220 PageID 10325

                                                CONFIDENTIAL
  Sincerely,


  Advancing New Standards in Reproductive Health (ANSIRH), Department of Obstetrics, Gynecology &
       Reproductive Sciences, University of California, San Francisco
  American Civil Liberties Union
  Association of Reproductive Health Professionals
  Bixby Center for Global Reproductive Health, Department of Obstetrics, Gynecology & Reproductive
       Sciences, University of California, San Francisco
  Cambridge Reproductive Health Consultants
  Carafem
  Center for Reproductive Rights
  Center on Reproductive Rights and Justice at the University of California, Berkeley, School of Law
  Feminist Majority Foundation
  Guttmacher Institute
  Gynuity Health Projects
  Ibis Reproductive Health
  Jacobs Institute of Women’s Health
  Legal Voice
  Medical Students for Choice
  NARAL Pro-Choice America
  National Abortion Federation
  National Advocates for Pregnant Women
  National Institute for Reproductive Health
  National Latina Institute for Reproductive Health
  National Network of Abortion Funds
  National Partnership for Women and Families
  National Women’s Health Network
  National Women’s Law Center
  Planned Parenthood Federation of America
  Physicians for Reproductive Health
  Provide
  Reproaction
  Reproductive Health Technologies Project
  Society of Family Planning


  cc:
  Valerie Jarrett, Chair, White House Council on Women and Girls
  Tina Tchen, Executive Director, White House Council on Women and Girls
  Jordan Brooks, Deputy Executive Director, White House Council on Women and Girls
  Nancy C. Lee, M.D., Deputy Assistant Secretary of Health, Women’s Health, Director of the Office on
  Women’s Health, Department of Health and Human Services
  Bobby Clark, Counselor for Public Health and Science, U.S. Department of Health and Human Services,
  Office of the Secretary



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                                                                                                                               7


                                                                                                             App. 000817
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                       Page 13 of 220 PageID 10326

                                                  CONFIDENTIAL
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Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 14 of 220 PageID 10327

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  drug product has been approved for marketing, a physician may, in treating patients, prescribe the drug for uses not included in
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                                                                                                                  App. 000819
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 15 of 220 PageID 10328




                                EXHIBIT 47

                  Whole Women's Health Complaint




                                                                   App. 000820
 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 1 of 46 Pageid#: 1
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 16 of 220 PageID 10329



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA

  WHOLE WOMAN’S HEALTH ALLIANCE, on
  behalf of itself, its staff, and its patients; WHOLE
  WOMAN’S HEALTH, on behalf of itself, its staff,
  and its patients; WHOLE WOMAN’S HEALTH OF
  THE TWIN CITIES, LLC, on behalf of itself, its
  staff, and its patients; BLUE MOUNTAIN CLINIC,
  on behalf of itself, its staff, and its patients; HELEN
  WEEMS, APRN-FNP on behalf of herself and her
  patients; ALL FAMILIES HEALTHCARE, on behalf
  of itself, its staff, and its patients; and TRUST                  3:23-cv-00019
                                                            Case No. _________
  WOMEN FOUNDATION, on behalf of itself, its
  staff, and its patients,

                                  Plaintiffs,

             v.

  UNITED STATES FOOD AND DRUG
  ADMINISTRATION; ROBERT M. CALIFF, M.D.,
  in his official capacity as Commissioner of Food and
  Drugs; UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES; and XAVIER
  BECERRA, in his official capacity as Secretary of
  the Department of Health and Human Services,

                                   Defendants.



                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        1.         In the wake of the overruling of Roe v. Wade, Plaintiffs, who are independent

 abortion providers in Virginia, Montana, and Kansas, have made herculean efforts to provide high-

 quality, compassionate, patient-centered abortion care. They have done so not only for residents

 of their states, but also for the thousands of patients forced to travel hundreds of miles for basic

 healthcare from the 13 states and counting where abortion is now banned, and the many others

 where it remains severely restricted. Pregnant people who struggle to make ends meet, live in rural

 areas, and have limited access to healthcare face more barriers than ever to accessing abortion.

                                                  1

                                                                                      App. 000821
 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 2 of 46 Pageid#: 2
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 17 of 220 PageID 10330



 These barriers are also particularly severe for people of color and people with disabilities who

 experience significant disparities in healthcare access and maternal health outcomes.

        2.      In order to meet the needs of their patients, Plaintiffs rely on the ability to prescribe

 medication abortion, which is safe and effective, less expensive and less resource-intensive than

 procedural abortion, and preferred by many patients. Plaintiffs all use a two-drug regimen for

 medication abortion, where patients take the first drug, mifepristone, followed by a second drug,

 misoprostol, around 24-72 hours later. Medication abortion, and specifically, provision of

 mifepristone by advanced practice clinicians (including nurse practitioners and physician

 assistants) and the availability of medication abortion by mail (“direct to patient telehealth”) has

 been critical to their efforts to meet people’s need for abortion care.

        3.      Not content with—as they claimed—“return[ing] the issue of abortion to the

 people’s elected representatives,” Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2243

 (2022), anti-abortion activists have turned their attention to restricting abortion nationwide. Their

 latest attack is on medication abortion, seeking to curtail its availability anywhere and by any

 means necessary, including in states where abortion remains legal and even protected.

        4.      The two-drug medication abortion regimen has been used safely and effectively for

 the past 23 years by over five million Americans. Despite this strong track record of safety and the

 well-documented benefits of medication abortion for many patients—including survivors of sexual

 assault, pregnant people with certain common chronic conditions, and those who prefer to manage

 their abortion care in a private location—mifepristone has faced unique and discriminatory

 scrutiny, which has generated significant stigma. From the very beginning, mifepristone has been

 treated differently from comparable drugs.




                                                   2

                                                                                         App. 000822
 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 3 of 46 Pageid#: 3
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 18 of 220 PageID 10331



        5.      It is time that defendants the United States Food and Drug Administration (“FDA”)

 and the Department of Health and Human Services (“HHS”) follow the science, respect pregnant

 people’s autonomy, and discard the unique set of restrictions known as a Risk Evaluation and

 Mitigation Strategy (“REMS”) it has applied to mifepristone in various guises since its approval.

 FDA’s decision to continue these burdensome restrictions in January 2023 on a drug that has been

 on the market for more than two decades with only “exceedingly rare” adverse events has no basis

 in science. It only makes mifepristone harder for clinicians to prescribe, harder for pharmacies to

 dispense, and harder for patients to access. And, by making mifepristone seem uniquely dangerous,

 FDA’s continuing restriction of mifepristone stigmatizes medication abortion and contributes to

 the chaos anti-abortion activists now sow. Plaintiffs are continuously facing the weaponization of

 the REMS by anti-abortion activists around the country.

        6.      Ensuring that access to mifepristone is based on science and the needs of patients

 has only increased in urgency over the last few weeks. Federal district courts in Texas and

 Washington have issued competing orders regarding mifepristone’s continued accessibility. The

 Texas order purports to “stay” the effective date of FDA’s 2000 approval of mifepristone, which

 could render it unavailable anywhere. All. for Hippocratic Med. v. FDA, No. 2:22-CV-223-Z, 2023

 WL 2825871, at *32 (N.D. Tex. Apr. 7, 2023) (the “Alliance Case”). A subsequent order from the

 Fifth Circuit modified the Texas order, purporting to turn back time and reinstate one version of

 the REMS that was in place prior to 2016—including restricting certified prescribers of

 mifepristone to physicians only (not advanced practice clinicians) and banning direct to patient

 telehealth. All. for Hippocratic Med. v. FDA, No. 23-10362, 2023 WL 2913725, at *1, *17, *21

 (5th Cir. Apr. 12, 2023) (per curiam). Meanwhile, the Washington order enjoins FDA from

 “altering the status quo and rights” as to the availability of mifepristone under the REMS in place



                                                 3

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 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 4 of 46 Pageid#: 4
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 19 of 220 PageID 10332



 as of January 2023 in 17 states and the District of Columbia, Washington v. FDA, No. 1:23-CV-

 3026-TOR, 2023 WL 2825861, at *11 (E.D. Wash. Apr. 7, 2023), “irrespective of” the Texas and

 Fifth Circuit decisions, Washington v. FDA, No. 1:23-CV-3026-TOR, 2023 WL 2941567, at *2

 (E.D. Wash. Apr. 13, 2023). Anti-abortion activists are continuing with other efforts to threaten

 mifepristone, including a citizen petition to FDA by Students for Life seeking to have

 mifepristone’s approval revoked because it somehow endangers the environment. 1

         7.       Although the Supreme Court has entered a preliminary stay that averts some of the

 devastating harms that were about to occur due to the trial court decision in the Alliance Case, see

 Danco Lab’ys, LLC v. All. for Hippocratic Med., No. 22A901, 2023 WL 3033177 (U.S. Apr. 21,

 2023), threats to the availability of mifepristone continue to loom large—prompting a growing

 number of states to stockpile large amounts of mifepristone even after the Supreme Court’s stay.

 As Monica Simpson, Executive Director of SisterSong Women of Color Reproductive Justice

 Collective and an abortion access advocate in Georgia, attested, although access remains for now:

 “the week-by-week uncertainty of not knowing the fate of this access” remains. 2

         8.       Plaintiffs—independent abortion providers with limited resources in hostile

 states—are caught in the middle of this maelstrom. They provide care in states that are party to

 neither case and are thus in a particularly precarious and uncertain position. Plaintiffs cannot retool

 their practices overnight with no notice—healthcare has no on/off switch. They and their patients

 require clarity around their continued provision of mifepristone.




 1
   Alice Miranda Ollstein, Anti-Abortion Group Launches New Pill Challenge as SCOTUS Mulls Sweeping
 Restrictions, Politico (Apr. 20, 2023, 9:48 A.M.), https://www.politico.com/news/2023/04/19/students-for-life-
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 2
  Ava Sasani, The Decision Brought Vows to Keep Fighting from Both Sides of the Abortion Debate, N.Y. Times (Apr.
 21, 2023), https://www.nytimes.com/2023/04/21/us/abortion-pill-supreme-court-reactions.html.


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                                                                                                App. 000824
 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 5 of 46 Pageid#: 5
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 20 of 220 PageID 10333



        9.      No other facet of healthcare is treated in this way, much less any other essential

 medication with such an established record of safety and efficacy. It is neither rational nor

 sustainable, especially in light of the unique challenges Plaintiffs now face in the post-Roe world.

        10.     Throughout this chaos, there is one constant: mifepristone remains a highly safe

 and effective medication and it remains essential for patients. FDA has recognized these basic facts

 time and again, and yet continues to subject the drug to medically baseless restrictions, prompting

 repeated attempts to target mifepristone for further restriction or outright removal from the market.

 Without relief, Plaintiffs remain vulnerable to the continued attacks on medication abortion from

 anti-abortion activists and state and federal regulators across the country who will continue to

 weaponize FDA’s REMS while they stand.

        11.     Plaintiffs request that the Court order FDA to remove the REMS restrictions that

 have, for too long, impeded access to medication abortion, and are the source of the current chaos

 for people seeking essential abortion care nationwide. In the alternative, Plaintiffs seek an order

 enjoining Defendants from altering the availability of mifepristone under the January 2023 REMS,

 to ensure some modicum of certainty and continued patient access to a safe, effective medication

 that has been repeatedly targeted simply because of its association with abortion.

                                    JURISDICTION AND VENUE

        12.     The Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this is a civil

 action arising under federal law, and under 5 U.S.C. § 702, as this is a civil action seeking judicial

 review of a final agency action.

        13.     This action for declaratory and injunctive relief is authorized by 28 U.S.C. §§ 2201

 and 2202, by Federal Rules of Civil Procedure 57 and 65, and by the inherent equitable powers of

 this Court.



                                                   5

                                                                                        App. 000825
 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 6 of 46 Pageid#: 6
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 21 of 220 PageID 10334



          14.      The Court has personal jurisdiction over Defendants pursuant to 28 U.S.C.

 § 1391(e) because Defendants are agencies and officers of the United States.

          15.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because this is a

 judicial district in which Plaintiff Whole Woman’s Health Alliance resides and Defendants’

 policies adversely affect the health and wellbeing of residents in this district.

                                                      PARTIES

     I.         Plaintiffs

 Whole Woman’s Health Alliance

          16.      Plaintiff Whole Woman’s Health Alliance (“WWHA”) is a nonprofit organization

 committed to providing holistic reproductive care for its patients. It operates Whole Woman’s

 Health of Charlottesville (“WWH of Charlottesville”), a healthcare facility located in

 Charlottesville, Virginia that provides abortion services up to 16 weeks as dated from the patient’s

 last menstrual period (“LMP”),3 including medication abortion up to 11 weeks LMP, and

 miscarriage management. WWH of Charlottesville started providing medication abortion in

 October 2017 and has been providing medication abortion using the FDA-approved, evidence-

 based mifepristone/misoprostol regimen ever since.

          17.      While WWH of Charlottesville currently has physicians providing all of its abortion

 care, it is actively recruiting advanced practice clinicians to join its staff to provide abortion care.

          18.      WWHA sues on its own behalf, on behalf of its current and future clinicians and

 staff, and on behalf of its patients.




 3
   Consistent with standard medical practice, gestational ages as used in this complaint are dated from the first day of
 the patient’s last menstrual period (“LMP”), which is typically approximately two weeks before the estimated date of
 fertilization of a pregnancy.


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 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 7 of 46 Pageid#: 7
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 22 of 220 PageID 10335



 Whole Woman’s Health

        19.     Plaintiff Whole Woman’s Health (“WWH”) operates a licensed healthcare facility

 in Alexandria, Virginia (“WWH of Alexandria”) that provides abortion services up to 16 weeks

 LMP, including medication abortion up to 11 weeks LMP, and miscarriage management. WWH of

 Alexandria originally opened in 2019 under the name Whole Woman’s Health and Family Center

 and began using the d/b/a name Whole Woman’s Health of Alexandria in 2022. Since opening, it

 has provided medication abortion using the FDA-approved mifepristone/misoprostol regimen.

        20.     WWH of Alexandria currently has a nurse practitioner on staff who provides

 medication abortion to patients in-clinic.

        21.     WWH sues on its own behalf, on behalf of its current and future clinicians and staff,

 and on behalf of its patients.

 Whole Woman’s Health of the Twin Cities, LLC

        22.     Plaintiff Whole Woman’s Health of the Twin Cities, LLC (“WWH of the Twin

 Cities”) has operated a virtual healthcare program since August of 2021 that provides telehealth

 services for medication abortion in Virginia, Maryland, Minnesota, New Mexico, and Illinois.

 WWH of the Twin Cities provides telehealth medication abortion services up to 11 weeks LMP

 using the FDA-approved mifepristone/misoprostol regimen to approximately 2,400 patients per

 year, the majority of whom are in Virginia.

        23.     As part of its telehealth abortion services, WWH of the Twin Cities provides

 medication abortion to patients in Virginia via direct to patient telehealth. For this service, a

 provider meets with a patient via a telehealth visit, confirms that the patient is eligible for

 medication abortion, and obtains informed consent. The medications are then mailed to the patient.




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 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 8 of 46 Pageid#: 8
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 23 of 220 PageID 10336



         24.     While WWH of the Twin Cities currently has physicians providing all of its

 abortion care, it would like to hire advanced practice clinicians to work in its telehealth program.

         25.     WWH of the Twin Cities sues on its own behalf, on behalf of its current and future

 clinicians and staff, and on behalf of its patients.

 Blue Mountain Clinic

         26.     Plaintiff Blue Mountain Clinic (“Blue Mountain”) is a family practice in Missoula,

 Montana. It first opened in 1977 as the first and only abortion clinic in the state of Montana. In

 1991, Blue Mountain expanded its health services to include comprehensive family medical care

 to better serve its community. Blue Mountain serves over 3,000 patients annually. It provides care

 across the lifespan, from pediatric care to elder care, including wellness exams, contraception,

 abortion care, and gynecological care. Blue Mountain provides medication abortion (in person and

 via telehealth) up to 11 weeks LMP and procedural abortions up to 21.6 weeks LMP, along with

 miscarriage management.

         27.     Blue Mountain’s primary physician and its two physician assistants provide

 medication abortion using the FDA-approved, evidence-based mifepristone/misoprostol regimen.

 Blue Mountain also provides direct to patient telehealth, in which a provider meets with a patient

 via a telehealth visit, confirms that the patient is eligible for medication abortion, and obtains

 informed consent. The medications are then mailed to the patient at a Montana address.

         28.     Blue Mountain sues on its own behalf, on behalf of its current and future clinicians

 and staff, and on behalf of its patients.

 Helen Weems and All Families Healthcare

         29.     Plaintiff Helen Weems is a certified nurse practitioner licensed to practice in

 Montana with over 20 years of clinical experience. She owns All Families Healthcare and is its



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                                                                                      App. 000828
 Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 9 of 46 Pageid#: 9
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 24 of 220 PageID 10337



 sole clinician and sole certified mifepristone prescriber. She is also the sole provider of abortion

 care in Montana’s Flathead Valley.

         30.       Ms. Weems sues on her own behalf and on behalf of her patients.

         31.       Plaintiff All Families Healthcare is a sexual and reproductive health clinic in

 Whitefish, Montana, that provides LGBTQ+ care and gender-affirming care for transgender

 people, gynecological exams, diagnosis and treatment of sexually transmitted infections,

 contraception, and abortion care. All Families has been serving the Flathead Valley and patients

 across the entire state of Montana and beyond since it opened in 2018 and serves approximately

 600 patients each year. All Families provides medication abortion (in person and via telehealth) up

 to 11 weeks LMP and procedural abortion up to 12.6 weeks LMP, along with miscarriage

 management. All Families provides medication abortion by direct to patient telehealth.

         32.       All Families sues on its own behalf, on behalf of its current and future clinicians

 and staff, and on behalf of its patients.

 Trust Women

         33.       Plaintiff Trust Women operates clinics in Wichita, Kansas, and Oklahoma City,

 Oklahoma. Its mission is to provide essential and compassionate care to underserved populations.

 In Wichita, Kansas, Trust Women provides reproductive healthcare, including both procedural and

 medication abortion. Trust Women has provided medication abortion since it opened its Wichita

 clinic in 2013.

         34.       Trust Women Wichita provides medication abortion up to 11 weeks LMP using the

 mifepristone/misoprostol regimen, as well as procedural abortion up to 21.6 weeks LMP and

 miscarriage management.




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                                                                                       App. 000829
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 10 of 46 Pageid#: 10
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 25 of 220 PageID 10338



           35.      Until 2018, Trust Women Wichita offered a telemedicine clinic for medication

 abortion, but was forced to stop that practice due to a Kansas state law. That law is now enjoined,

 and Trust Women Wichita is eager to restart its telemedicine clinic, including implementing direct

 to patient telehealth provision of mifepristone. But Trust Women Wichita has paused these plans

 given the cloud of uncertainty over mifepristone.

           36.      Trust Women sues on its own behalf, on behalf of its current and future clinicians

 and staff, and on behalf of its patients.

     II.         Defendants

 FDA

           37.      Defendant FDA is an agency of the federal government within HHS. FDA is

 responsible for administering the provisions of the federal Food, Drug, and Cosmetic Act

 (“FDCA”) that are relevant to this Complaint.

           38.      Defendant Robert M. Califf, M.D., is the Commissioner of FDA and is sued in his

 official capacity. He is responsible for administering FDA and its duties under the FDCA.

 HHS

           39.      Defendant HHS is a federal agency within the executive branch of the federal

 government.

           40.      Defendant Xavier Becerra is the Secretary of HHS and is sued in his official

 capacity. He is responsible for the overall operations of HHS, including FDA.




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                                                                                       App. 000830
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 11 of 46 Pageid#: 11
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 26 of 220 PageID 10339



                                                ALLEGATIONS

       I.         FDA Has Repeatedly and Correctly Concluded that Mifepristone is Safe and
                  Effective

            41.      In September 2000, FDA first approved mifepristone under the brand name

 Mifeprex,4 developed by Danco Laboratories, to be used with the already approved drug

 misoprostol in the two-drug regimen: (1) mifepristone, which interrupts early pregnancy by

 blocking the effect of progesterone, a hormone necessary to maintain a pregnancy, and

 (2) misoprostol, which causes uterine contractions that expel the pregnancy from the uterus.

 Shortly after taking mifepristone and then misoprostol, a patient will experience bleeding akin to

 a heavy period or a miscarriage.5

            42.      To date, mifepristone has been used by over five million Americans.

            43.      FDA’s initial approval of mifepristone was the result of a thorough, nearly five-year

 scientific review that determined mifepristone was safe for widespread use in the United States.

            44.      Mifepristone had already been approved in multiple countries across the world

 before being approved for use in the United States, and FDA reviewed extensive evidence from

 those countries.6 Specifically, FDA reviewed: (1) three clinical trials that together involved 4,000

 women—two French trials that were complete at the time of the application, and one then-ongoing

 United States trial for which summary data on serious adverse events was available;7 (2) results


 4
     U.S. Food & Drug Admin., NDA 20-687 Mifeprex Approval Memo, Sept. 28, 2000, attached hereto as Ex. A.

 5
  See U.S. Gov’t Accountability Office, GAO-08-751, Food and Drug Administration Approval and Oversight of the
 Drug Mifeprex (2008), https://www.gao.gov/assets/gao-08-751.pdf (hereinafter FDA Approval and Oversight of
 Mifeprex), attached hereto as Ex. B.

 6
    U.S. Food & Drug Admin., Medical Officer’s Review of NDA 20-687, at 2 (Nov. 1999),
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2000/20687_Mifepristone_medr_P1.pdf, attached hereto as Ex.
 C; see also Laura Schummers et al., Abortion Safety and Use with Normally Prescribed Mifepristone in Canada, 386
 New Eng. J. Med. 57 (2022).

 7
     Ex. B (FDA Approval and Oversight of Mifeprex) at 15.


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                                                                                                App. 000831
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 12 of 46 Pageid#: 12
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 27 of 220 PageID 10340



 from other European data, including a database of approximately 415,000 women who received

 the mifepristone/misoprostol regimen;8 and (3) data on the drug’s manufacturing and chemistry. 9

            45.       Based on its extensive review, in 2000, FDA concluded that there is “substantial

 evidence that Mifeprex is safe and effective for its approved indication in accordance with [the

 FDCA]”10 and that mifepristone was safe for use in the United States.

            46.       In 2016, a multidisciplinary FDA review team conducted a medical review based

 on the 2.5 million uses of Mifeprex for medication abortion in the U.S. that had occurred since the

 drug’s 2000 approval.

            47.       FDA updated the label for Mifeprex in 2016 to reflect the mounting research

 supporting the safety and efficacy of mifepristone.

            48.       Overall, in the 2016 review, FDA concluded: “[Mifeprex] has been increasingly

 used as its efficacy and safety have become well-established by both research and experience,”

 “serious complications have proven to be extremely rare,” “no new safety concerns have arisen in

 recent years,” and “known serious risks occur rarely.”11




 8
   U.S. Food & Drug Admin., FDA-2002-P-0364-0002, Letter from Janet Woodcock, Dir., Ctr. for Drug Evaluation &
 Rsch., U.S. Food & Drug Admin., to Donna Harrison, Exec. Dir., Am. Assoc. of Pro Life Obstetricians &
 Gynecologists, Gene Rudd, Senior Vice President, Christian Med. & Dental Ass’n, and Penny Young Nance, CEO
 and President, Concerned Women for Am., denying Citizen Petition, Docket No. FDA-2002-P0364, at 8 (Mar. 29,
 2016) (hereinafter Citizen Petition Denial) attached hereto as Ex. D.

 9
     Ex. B (FDA Approval and Oversight of Mifeprex) at 15.

 10
      Ex. D (Citizen Petition Denial) at 8.

 11
    U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., No. 020687Orig1s020, Mifeprex Medical Review(s)
 8, 12 (Mar. 29, 2016), https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.pdf
 (hereinafter FDA 2016 Medical Review), attached hereto as Ex. E; see also U.S. Food & Drug Admin., Ctr. for Drug
 Evaluation & Rsch., Full Prescribing Information for Mifeprex 7–8, tbls.1 & 2 (Mar. 2016),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf (“Mifeprex Labeling”), attached
 hereto as Ex. F.


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                                                                                                App. 000832
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 13 of 46 Pageid#: 13
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 28 of 220 PageID 10341



             49.       FDA has further stated: “[t]he safety profile of Mifeprex is well-characterized and

 its risks well-understood after more than 15 years of marketing. Serious adverse events are rare

 and the safety profile of Mifeprex has not substantially changed.” 12

             50.       Still further, FDA has stated that “[g]iven that the numbers of . . . adverse events

 appear to be stable or decreased over time, it is likely that . . . serious adverse events will remain

 acceptably low” for Mifeprex.13

             51.       In reaching those conclusions, FDA relied on no fewer than 11 independent clinical

 studies, collectively representing “well over 30,000 patients,” and conclusively showing “serious

 adverse events” at rates “generally far below 1.0%.”14

             52.       The 2016 review cited a host of studies showing that the rate of major adverse

 events was roughly 0.3%, with multiple studies reporting even lower rates of infection (such as

 0%, 0.014%, and 0.015%).15 Hundreds of additional high-quality studies conducted since

 mifepristone’s 2000 approval show the same. Mifepristone has been used in over 600 published

 clinical trials and discussed in nearly 800 medical reviews. 16

             53.       FDA determined that at-home administration of misoprostol is safe because

 multiple studies showed that administration of the drug was “associated with exceedingly low rates

 of serious adverse events” and because administering misoprostol at home would more likely result



 12
   U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., No. 020687Orig1s020, Mifeprex Risk Assessment
 and Risk Mitigation Review(s): REMS Modification Memorandum 3 (Mar. 29, 2016) (hereinafter 2016 REMS
 Modification Memorandum), attached hereto as Ex. G.

 13
      Ex. E (FDA 2016 Medical Review) at 47.

 14
      Id. at 50, 56.

 15
      Id. at 54, 56.

 16
     Based on a review of publications on PubMed. See generally PubMed, Nat’l Library of Med.,
 https://pubmed.ncbi.nlm.nih.gov/?term=mifepristone (last visited Apr. 27, 2023).


                                                        13

                                                                                            App. 000833
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 14 of 46 Pageid#: 14
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 29 of 220 PageID 10342



 in patients being in an “appropriate and safe location” when cramping and bleeding caused by the

 drug would begin.17

            54.       FDA’s 2016 review further concluded that the risk of death from mifepristone is

 near zero. The FDA review reflected that there are only 13 recorded deaths even possibly related

 to medication abortion—roughly 0.00000232%—and none of these can be causally attributed to

 mifepristone.18 In either case, that is far less than the risk of death from the use of Viagra 19 or over-

 the-counter medications such as acetaminophen. 20

            55.       FDA further noted that, as to rare, serious infections following use, “the critical risk

 factor” is not mifepristone but “pregnancy itself,” as the very same complications can arise during

 a miscarriage or procedural abortion.21

            56.       In updating the Mifeprex label in 2016, FDA stated: “serious and potentially life-

 threatening bleeding, infections, or other problems can occur following a miscarriage, surgical

 abortion, medical abortion, or childbirth” and that “[n]o causal relationship between the use of

 MIFEPREX and misoprostol and [infections and bleeding] has been established.” 22



 17
    U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., No. 020687Orig1s020, Mifeprex Summary Review
 15 (Mar. 29, 2016) (hereinafter 2016 Summary Review), attached hereto as Ex. H.

 18
   U.S. Food & Drug Admin., Mifepristone U.S. Post-Marketing Adverse Events Summary through 06/30/2022, at 1,
 https://www.fda.gov/media/164331/download (hereinafter Mifepristone U.S. Post-Marketing Adverse Events
 Summary), attached hereto as Ex. I (concluding that there are 28 reported deaths total, which are included in the
 adverse events summary “regardless of causal attribution to mifepristone,” and these cases include instances of
 homicide, drug overdose, ruptured ectopic pregnancy, and sepsis.)

 19
   Mike Mitka, Some Men Who Take Viagra Die—Why?, 283 JAMA Network 590 (Feb. 2, 2000) (Viagra associated
 with 4.9 deaths per 100,000 prescriptions).

 20
   Nat’l Acads. of Sci., Eng’g. & Med., The Safety and Quality of Abortion Care in the United States 79 (2018)
 (hereinafter National Academies Report), http://nap.edu/24950; Suneil Agrawai & Babek Khazaeni, Acetaminophen
 Toxicity, Nat’l Library of Med. (Feb. 12, 2023), https://www.ncbi.nlm.nih.gov/books/NBK441917.

 21
      Ex. D (Citizen Petition Denial) at 25 n.69.

 22
      Ex. F (Mifeprex Labeling) at 2, 16.


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                                                                                                 App. 000834
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 15 of 46 Pageid#: 15
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 30 of 220 PageID 10343



            57.     FDA found that mifepristone was just as safe when administered by an advanced

 practice clinician as it was when administered by a physician, noting that “5 studies clearly

 demonstrate[] that efficacy is the same with non-physician providers compared to physicians.” 23

            58.     FDA also found no significant difference in outcomes based on whether patients

 had follow-up appointments via phone call or in-person or based on the timing of those

 appointments.

            59.     Relying on the updated safety data and efficacy it had collected for mifepristone,

 FDA made several changes to the REMS, including allowing a broader set of healthcare providers,

 rather than only physicians, to become certified prescribers of mifepristone, and several changes

 to the labeling, including increasing the indicated gestational limit from 49 to 70 days and reducing

 the indicated number of in-person clinic visits to one.24

            60.     In 2019, FDA approved an abbreviated new drug application for a generic version

 of mifepristone from GenBioPro, relying on the extensive safety and efficacy determinations made

 in connection with Danco’s Mifeprex.

            61.     In July 2020, a court ordered FDA to suspend the in-person dispensing requirement

 for mifepristone due to the constraints on in-person healthcare during the COVID-19 pandemic.

 Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 233 (D. Md. 2020),

 stayed by FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578, 578 (2021) (mem.).

            62.     In April 2021, FDA itself suspended the in-person dispensing requirement during

 the COVID-19 public health emergency because, during the six-month period in which the in-




 23
      Ex. E (FDA 2016 Medical Review) at 43.

 24
   U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., No. 020687Orig1s020, Mifeprex REMS (Mar. 2016),
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf (hereinafter 2016 REMS).


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                                                                                             App. 000835
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 16 of 46 Pageid#: 16
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 31 of 220 PageID 10344



 person dispensing requirement had been enjoined, the availability of direct to patient telehealth

 showed no increases in serious patient safety concerns. 25

            63.      On January 3, 2023, FDA removed the in-person dispensing requirement

 permanently due to the proven safety record of dispensing mifepristone through direct to patient

 telehealth.26

            64.      Finally, when the safety of mifepristone was called into question by anti-abortion

 activists in a lawsuit filed in November 2022, FDA defended its approval of mifepristone by

 repeatedly emphasizing its proven safety record over the last 23 years, comparing its risk to that

 of ibuprofen. Emergency Mot. Under Cir. R. 27.3 for a Stay Pending Appeal at 1, 14–15, All. for

 Hippocratic Med. V. FDA, No. 23-10362 (5th Cir. Apr. 10, 2023).

            65.      FDA’s analysis of mifepristone’s safety has been echoed by other leading medical

 organizations. In 2018, the National Academies of Sciences, Engineering, and Medicine (“National

 Academies”), a universally respected non-partisan advisory institution, reviewed all available

 scientific evidence and concluded that the risks of medication abortion are “similar in magnitude

 to the reported risks of serious adverse effects of commonly used prescription and over-the-counter

 medications,” such as “antibiotics and NSAIDS”27 (non-steroidal anti-inflammatory drugs, such

 as ibuprofen and aspirin)—medications millions of people take daily.28 This massive body of


 25
   Letter from Janet Woodcock, Acting Comm’r, U.S. Food & Drug Admin., to Maureen G. Phipps, Chief Exec.
 Officer, Am. Coll. Of Obstetricians & Gynecologists, and William Grobman, President, Soc’y for Maternal-Fetal
 Med. (Apr. 12, 2021) (hereinafter Woodcock Letter), attached hereto as Ex. J.

 26
   See U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., Risk Evaluation and Mitigation Strategy (REMS)
 Single       Shared         System        for      Mifepristone        200         MG         (Jan.        2023),
 https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2023_01_03_REMS_Full.pdf (hereinafter 2023
 REMS).

 27
      National Academies Report, supra n.20, at 45, 79.

 28
    Pamela Gorczyca et al., NSAIDs: Balancing the Risks and Benefits, 41 U.S. Pharmacist 24 (Mar. 2016),
 http://bit.ly/3YLbw3x.


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                                                                                                 App. 000836
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 17 of 46 Pageid#: 17
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 32 of 220 PageID 10345



 evidence has shown that mifepristone is safer than many other common drugs, including Viagra

 and penicillin, and over-the-counter drugs like Advil and Tylenol. This evidence has specifically

 shown that mifepristone is safe and effective when provided without an in-person visit, by

 advanced practice clinicians, and through 11 weeks of pregnancy.

      II.         Mifepristone is Essential Medication for People’s Health and Wellbeing

            66.      People end their pregnancies with medication or by procedure. Many people seek

 medication abortion with mifepristone because it can be easier to access, particularly for patients

 in communities facing the most obstacles to care, including Black, Indigenous, and other people

 of color, those with low incomes, LGBTQ+ people, young people, immigrants, people with

 disabilities, and those living at the intersection of those identities.

            67.      Medication abortion actively reduces what may be insurmountable barriers people

 face in accessing abortion care. People commonly take mifepristone at home following a

 consultation with a healthcare provider because they can have an abortion in privacy, at a place of

 their choosing, and with the support of their immediate network. 29 And it allows people to forgo

 the physical contact and vaginal insertions of a procedural abortion, which may be particularly

 important for survivors of sexual violence and people experiencing gender dysphoria.

            68.      Having an abortion at home also can benefit both patients and providers. Telehealth,

 including direct to patient telehealth, can eliminate the exposure risks inherent in in-person clinic

 visits, particularly in light of the persistent and escalating violence and harassment at clinics known




 29
   See Charlotte Kanstrup et al., Women’s Reasons for Choosing Abortion Method: A Systematic Literature Review,
 46 Scandinavian J. Pub. Health 835 (2018); Pak Chung Ho, Women’s Perceptions on Medical Abortion, 74
 Contraception 11 (2006).


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                                                                                              App. 000837
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 18 of 46 Pageid#: 18
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 33 of 220 PageID 10346



 to provide abortion.30 It can also reduce wait times31 and remove barriers to healthcare due to travel

 costs.32 For people with disabilities and others for whom travel is difficult, the use of local and

 mail-order pharmacies significantly increases the accessibility of medication abortion. 33

         69.      These concerns are neither abstract nor insignificant for someone who is pregnant.

 Each day a person remains pregnant means they continue to experience the symptoms, risks, and

 potential complications of pregnancy. Pregnancy—even when uncomplicated—stresses the body,

 causes physiological and anatomical changes, and affects every organ system.

         70.      Pregnancy can also worsen underlying health conditions, many of which are

 common, such as diabetes and hypertension. Other conditions can develop simply because a person

 is pregnant, including gestational diabetes, gestational hypertension (including preeclampsia), and

 hyperemesis gravidarum—a condition that causes severe nausea and vomiting. For people who

 continue their pregnancies and give birth, health conditions such as hypertension and diabetes can

 contribute to preterm birth.

         71.      People who continue their pregnancies and give birth face significant risk in the

 United States—in large part as a result of systemic discrimination and inequitable access to

 healthcare. Every pregnancy-related complication is more common among people having live



 30
    See Press Release, Nat’l Abortion Fed’n, National Abortion Federation Releases 2021 Violence & Disruption
 Report (June 24, 2022), https://prochoice.org/national-abortion-federation-releases-2021-violence-disruption-report
 (reporting steady increase in harassment and violence at abortion clinics over 45-year period); U.S. Dep’t of Just.,
 Recent Cases on Violence Against Reproductive Health Care Providers (Oct. 18, 2022),
 https://www.justice.gov/crt/recent-cases-violence-against-reproductive-health-care-providers.

 31
   Liam Caffery, Mutaz Farjian & Anthony C. Smith, Telehealth Interventions for Reducing Waiting Lists and Waiting
 Times for Specialist Outpatient Services: A Scoping Review, 22 J. Telemed. & Telecare 504 (2016).

 32
    Abid Haleem et al., Telemedicine for Healthcare: Capabilities, Features, Barriers, and Applications, 2 Sensors
 Int’l 100117 (2021).

 33
   See, e.g., Allison M. Whelan & Michele Goodwin, Abortion Rights and Disability Equality: A New Constitutional
 Battleground, 79 Wash. & Lee L. Rev. 965, 989–90, 996–97 (2022).


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Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 19 of 46 Pageid#: 19
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 34 of 220 PageID 10347



 births than among those having abortions. Vaginal delivery can result in trauma to the pelvic floor

 and other significant injury. And, for the approximately one-third of pregnancies ending in a

 caesarean section (C-section), patients will undergo a major abdominal surgery that carries risks

 of infection, hemorrhage, and damage to internal organs. Pregnancy also has potentially long-term

 physical, emotional, and mental effects on a person who goes through childbirth, sometimes

 persisting well after birth.

         72.      Forced pregnancy and childbearing also have long-term impacts on a person’s

 educational and economic futures, and their ability to shape their lives. People who are denied a

 wanted abortion are more likely to experience economic insecurity and raise their existing children

 in poverty. The financial impacts of being denied an abortion are as large as or larger than being

 evicted, losing health insurance, or being hospitalized. 34

         73.      The likelihood of being denied abortion care has grown exponentially since the U.S.

 Supreme Court overruled Roe nearly one year ago. Thirteen states have banned abortion, and

 several others have severely restricted access to this basic, yet critical, care. In the states where

 abortion remains legal, and even protected, it is subject to restrictions not imposed on equally safe

 or more dangerous interventions. The persistence of a unique set of federal restrictions on

 mifepristone is part of the same set of efforts to put safe, effective options for pregnancy care out

 of reach.

         74.      Medication abortion has become an increasingly critical method on which patients

 and clinics rely in the face of an ongoing reproductive healthcare crisis; it makes up over half the

 abortion care provided in the country. Service-delivery advancements, like providing medication


 34
   Diana G. Foster et. al., Socioeconomic Outcomes of Women Who Receive and Women Who Are Denied Wanted
 Abortions in the United States, 108 Am. J. Pub. Health 407 (Mar. 2018); Sarah Miller, Laura R. Wherry & Diana G.
 Foster, The Economic Consequences of Being Denied an Abortion, 15 Am. Econ. J.: Econ. Pol’y 394 (Feb. 2023).


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                                                                                                App. 000839
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 20 of 46 Pageid#: 20
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 35 of 220 PageID 10348



 abortion via direct to patient telehealth, moderate the strain on the ever-shrinking number of clinics

 struggling to provide care for a dramatic increase in patients.35 Dozens of clinics have closed or

 stopped offering abortion care since the U.S. Supreme Court overruled Roe.36 Currently, roughly

 10 percent of U.S. counties have an abortion provider that offers either procedural or medication

 abortion (or both); in roughly 2 percent of U.S. counties, the only option is medication abortion.37

         75.      For people who remain pregnant—or need care at some point during a pregnancy—

 there are also dwindling options. Counties in more than one-third of the country are maternity care

 deserts, without obstetric providers, birth centers, or labor and delivery hospitals. 38 Federal law

 requires Medicaid, which covers 4 births in 10 each year—and even more for people of color and

 people in rural areas—to provide pregnancy-related coverage through only 60 days postpartum,

 disenrolling people just 2 months after birth, when consistent coverage remains critical. States may

 provide additional coverage, but must take additional steps to implement that extension.

         76.      The United States has one of the highest maternal mortality rates among wealthy

 democracies. According to recent Centers for Disease Control and Prevention reports, the maternal

 mortality rate has risen since 2018. 39 This human rights crisis in U.S. maternal health


 35
      See Caitlin Myers et al., Abortion Access Dashboard (last updated Mar. 23, 2023),
 https://experience.arcgis.com/experience/6e360741bfd84db79d5db774a1147815/page/Page/?views=March-2023
 (noting that there has been a 32% increase in women per abortion facility since March 1, 2022).

 36
    Marielle Kirstein et al., 100 Days Post-Roe: At Least 66 Clinics Across 15 US States Have Stopped Offering
 Abortion Care, Guttmacher Inst. (Oct. 6, 2022), https://www.guttmacher.org/2022/10/100-days-post-roe-least-66-
 clinics-across-15-us-states-have-stopped-offering-abortion-care.

 37
   Jesse Philbin et al., 10 US States Would Be Hit Especially Hard by a Nationwide Ban on Medication Abortion Using
 Mifepristone, Guttmacher Inst. (Feb. 7, 2023), https://www.guttmacher.org/2023/02/10-us-states-would-be-hit-
 especially-hard-nationwide-ban-medication-abortion-using.

 38
    Christina Brigance et al., March of Dimes, Nowhere to Go: Maternity Deserts Across the U.S. 5 (2022),
 https://www.marchofdimes.org/sites/default/files/2022-10/2022_Maternity_Care_Report.pdf.

 39
  Donna L. Hoyert, Maternal Mortality Rates in the United States, 2021, Centers for Disease Control and Prevention
 National Center for Health Statistics (Mar. 2023), https://www.cdc.gov/nchs/data/hestat/maternal-


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                                                                                                  App. 000840
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 21 of 46 Pageid#: 21
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 36 of 220 PageID 10349



 disproportionately impacts Black, Indigenous, and low-income communities, who consistently

 face the greatest risks during pregnancy, childbirth, and postpartum due to racism, discrimination,

 and inadequate access to quality health services. As a result, Black women are three to four times

 more likely to die of a pregnancy-related death in the United States, and Indigenous women are

 2.3 times more likely than white women.40 As the National Academies summarizes, as a result of

 systemic racism, including inequitable treatment and distribution of resources, “women of color

 enter into their reproductive lives, and ultimately their pregnancies, at risk for adverse pregnancy

 outcomes.”41 Pregnancy “represents a dangerous time for disabled and nondisabled persons alike

 in the United States” given the country’s high maternal mortality rate, and while “[m]ost persons

 with disabilities can safely carry pregnancies to term . . . some may face a higher risk of

 complications, rendering pregnancy dangerous or even life-threatening.” 42

            77.     Bringing a child into the world, raising children, and building families and

 communities are, for many, among the most joyful and meaningful experiences in life. At the same

 time, these life-changing events bring challenges and risks, as evidence well documents. The

 ability to make decisions about whether to continue or end a pregnancy, and by what method, is

 critical to a person’s dignity and autonomy. Continued enforcement of the REMS perpetuates




 mortality/2021/maternal-mortality-rates-2021.pdf (citing maternal mortality rate of 20.1 in 2019, 23.8 in 2020, and
 32.9 in 2021); Donna L. Hoyert, Maternal Mortality Rates in the United States, 2019, Centers for Disease Control and
 Prevention National Center for Health Statistics (Apr. 2021), https://www.cdc.gov/nchs/data/hestat/maternal-
 mortality-2021/E-Stat-Maternal-Mortality-Rates-H.pdf (describing maternal mortality rate of 20.1 in 2019 as
 “significantly higher than the rate for 2018,” which was 17.4).

 40
    Emily E. Petersen, et al., Racial/Ethnic Disparities in Pregnancy-Related Deaths—United States, 2007-2016,
 Centers for Disease Control and Prevention Morbidity and Mortality Weekly Report (Sept. 6, 2019),
 https://www.cdc.gov/mmwr/volumes/68/wr/mm6835a3.htm?s_cid=mm6835a3_w#T1_down.

 41
   See Nat’l Acads. of Sci., Eng. & Med., Birth Settings in America: Outcomes, Quality, Access, and Choice 122
 (2020), https://nap.nationalacademies.org/download/25636#.

 42
      Whelan & Goodwin, supra n.33, at 997.

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                                                                                                   App. 000841
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 22 of 46 Pageid#: 22
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 37 of 220 PageID 10350



 harmful and unnecessary barriers that make it more difficult to access essential healthcare and

 interferes with this decision-making.

     III.         Despite Acknowledging its Safety, FDA Has Continued to Saddle Mifepristone
                  with the REMS, A Uniquely Burdensome Regulatory Scheme

            78.      From the very beginning, FDA has overregulated mifepristone in ways that are

 unjustified and discriminatory. But even as decades of data has accumulated showing mifepristone

 to be one of the safest medications available in the United States, FDA has continued to subject

 mifepristone to uniquely burdensome restrictions with increasingly little reason for doing so. These

 restrictions are already irrational, but in light of the recent chaos surrounding mifepristone, they

 have also become intolerable and incompatible with Plaintiffs’ ability to meet the needs of their

 patients.

            79.      Under the FDCA, a new drug must undergo a rigorous examination to determine

 its safety and efficacy. See generally 21 U.S.C. § 355. For all prescription drugs, FDA ensures that

 certain safeguards are in place before it approves a medication. As part of this process, FDA may

 impose specific warnings, indications, and instructions.

            80.      A “Risk Evaluation and Mitigation Strategy” (“REMS”) is an unusual overlay of

 requirements, far outside of the norm, that FDA can choose to impose only when “necessary to

 ensure that the benefits of the drug outweigh the risks of the drug.” 21 U.S.C. § 355-1(a)(1).

            81.      The most burdensome type of REMS is “Elements to Assure Safe Use” (“ETASU”),

 which FDA imposes only if medically necessary due to a drug’s “inherent toxicity or potential

 harmfulness.” 21 U.S.C. § 355-1(f)(1). By statute, ETASU is only appropriate for drugs with

 serious side effects such as death, incapacity, or birth defects, and only where the risk of side effects

 is sufficiently severe that the drug requires ETASU for safe use. 21 U.S.C. §§ 355-1(b)(4),

 (f)(1)(A).

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                                                                                          App. 000842
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 23 of 46 Pageid#: 23
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 38 of 220 PageID 10351



         82.      REMS, and in particular REMS with ETASU, are extremely unusual: only 60

 REMS programs are in place, 56 of which include ETASU, among the more than 20,000

 prescription drug products approved by FDA and marketed in the U.S. Other than mifepristone,

 the drugs with ETASU are dangerous drugs like fentanyl and other opioids.

         83.      Over the years, FDA has imposed numerous requirements on mifepristone through

 the REMS and ETASU, including:

     x   An in-person dispensing requirement (or ban on direct to patient telehealth) (21 U.S.C.

         § 355-1(f)(3)(C)) that provided mifepristone be dispensed only in a clinic, medical office,

         or hospital by or under the supervision of a “certified provider,” who until 2016 could only

         be a physician. As a result, people could not access mifepristone by prescription from a

         brick-and-mortar or mail-order pharmacy. This requirement was temporarily suspended in

         2021 and permanently removed in 2023, enabling patients to access medication abortion

         by mail and opening the door for brick-and-mortar pharmacies to dispense mifepristone.

         Although it removed the in-person dispensing requirement, FDA imposed a mandate that

         pharmacies, like prescribers, be “certified.”

     x   A Prescriber Certification requirement (21 U.S.C. § 355-1(f)(3)(A)), which mandated that

         clinicians who prescribe mifepristone attest to their clinical abilities in a signed form kept

         on file by the manufacturer, and agree to comply with reporting and other REMS

         requirements.

               o Before 2016, only physicians could be certified mifepristone prescribers, although

                  advanced practice clinicians (nurse practitioners, nurse midwives, and physician

                  assistants) could provide mifepristone under the supervision of a physician.




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                                                                                       App. 000843
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 24 of 46 Pageid#: 24
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 39 of 220 PageID 10352



                o The certified prescriber requirement remains under the January 2023 REMS, but,

                   in 2016, FDA expanded who could be a certified prescriber to include other

                   clinicians, such as advanced practice clinicians.

     x    A Patient Agreement requirement (21 U.S.C. § 355-1(f)(3)(D)), mandating the prescriber

          and patient to review and sign a special form with information about the mifepristone

          regimen and risks, and requiring the prescriber to provide the patient with a copy and place

          a copy in the patient’s medical record. The same information contained in the patient form

          is also included in the “Medication Guide” that is part of the FDA-approved labeling

          provided to patients with mifepristone. This requirement remains part of the 2023 REMS.

          84.      None of these requirements were justified at any time in light of FDA’s repeated

 determination about the safety and efficacy of mifepristone.

    IV.         Over the Pleas of the Medical Community that Each Iteration of the REMS is
                Medically Baseless and Harms Patients and Providers, FDA has Maintained a
                REMS on Mifepristone for No Valid Reason

          85.      FDA reevaluated the provisions of the mifepristone REMS in 2016, and again in

 2019, 2021, and 2023, but it has continually decided to reimpose the REMS despite longstanding

 objections from the medical community and its own review of the data showing mifepristone’s

 safety and efficacy.

          86.      During FDA’s 2016 review of the REMS, dozens of medical experts and their

 organizations asked FDA to eliminate the REMS because of the harms it imposed on patients and

 providers without any medical benefit. Among those groups were the preeminent medical

 professional organizations in the United States, including the American College of Obstetricians

 and Gynecologists (ACOG), the American Public Health Association (APHA), and the Society of

 Family Planning (SFP).


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                                                                                       App. 000844
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 25 of 46 Pageid#: 25
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 40 of 220 PageID 10353



             87.    As one letter, signed by 30 organizational experts in reproductive rights and health,

 advanced: “[a]lthough the FDA may have decided 15 years ago that the balance of risk and burden

 came out in favor of restricting mifepristone’s indicated use and distribution, today both science

 and the current conditions surrounding patient access to abortion care call strongly for a

 reevaluation of the mifepristone label and REMS restrictions, especially its Elements to Assure

 Safe Use (ETASU).”43

             88.    The letter further urged FDA to “[c]onsider the current legal and social climate,”

 explaining that “[t]he overall legal and social climate around abortion care intensifies all of the

 burdens that the mifepristone REMS places on patients and makes it even more critical that the

 FDA lift medically unnecessary restrictions on the drug.” 44 The letter concludes:

             Mifepristone continues to hold immense promise for patient access to a safe and
             effective early abortion option, but medically unnecessary regulations are impeding
             its full potential. Extensive scientific and clinical evidence of mifepristone’s safety
             and efficacy, and the ever-increasing burden on patient access to abortion care,
             clearly demonstrate that mifepristone’s REMS program is not needed to protect
             patients. In light of the FDA’s statutory mandate from Congress to consider the
             burden caused to patients by REMS, and the agency’s own stated commitment to
             ensuring that the drug restrictions do not unduly burden patient access, we ask that
             the FDA lift mifepristone’s REMS . . . .45

             89.    In addition to requesting that FDA remove the REMS entirely, the letter made

 specific requests about several particularly baseless aspects of the REMS.

             90.    Specifically, the letter requested that FDA remove the restriction preventing

 advanced practice clinicians from becoming certified prescribers of Mifeprex. It stated that this



 43
    Letter from Soc’y of Fam. Plan. et al., to Stephen Ostroff, Acting Comm’r of Food & Drugs, Robert M. Califf,
 Deputy Comm’r for Med. Prods. & Tobacco & Janet Woodcock, Dir., Ctr. for Drug Evaluation & Rsch., U.S. Food
 & Drug Admin. 2 (Feb. 4, 2016) (hereinafter SFP Letter to FDA), attached hereto as Ex. K.

 44
      Id. at 5.

 45
      Id. at 6.


                                                       25

                                                                                               App. 000845
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 26 of 46 Pageid#: 26
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 41 of 220 PageID 10354



 limitation was “medically unnecessary and severely limits patients’ access to medication abortion

 care.”46

             91.     FDA modified the certified prescriber requirement, eliminating language that a

 certified prescriber had to be a physician, and instead providing that a healthcare provider may

 prescribe mifepristone so long as doing so is consistent with their state licensure. 47

             92.     The letter also requested the removal of the requirement that mifepristone only be

 dispensed in clinics, medical offices, or hospitals—effectively banning it from being dispensed by

 direct to patient telehealth. In addition to the fact that it was “not medically warranted,” the letter

 stated, the “requirement significantly curtails mifepristone’s potential to expand patient access to

 abortion care,” which is “especially significant in underserved and rural areas where access to a

 health care provider is already difficult, and for those with low incomes for whom taking off work

 or getting to a provider multiple times in short order is impossible due to cost or family needs.” 48

             93.     FDA decided to retain the in-person dispensing requirement in 2016, citing no

 medical risks associated with direct to patient telehealth, and stating in a conclusory fashion that

 this requirement ensures mifepristone is dispensed by or under the supervision of a certified

 prescriber.49

             94.     In 2021, FDA temporarily suspended the in-person dispensing requirement during

 the COVID-19 public health emergency, citing a review of studies demonstrating no increase in




 46
      Id. at 4.

 47
      See Ex. E (FDA 2016 Medical Review) at 79–80.

 48
      Ex. K (SFP Letter to FDA) at 2.

 49
      Ex. E (FDA 2016 Medical Review) at 89.


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                                                                                           App. 000846
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 27 of 46 Pageid#: 27
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 42 of 220 PageID 10355



 serious safety concerns with this change.50 FDA also noted that requiring patients to make in-

 person visits to a clinic solely to access mifepristone could “present additional COVID-related

 risks to patients and healthcare personnel.” 51

             95.     And, based on a 2021 review, FDA permanently removed the in-person dispensing

 requirement in January 2023, concluding that available data and information supported this

 modification to the REMS “to reduce burden on the health care delivery system and to ensure the

 benefits of the product outweigh the risks.”52 FDA, however, imposed a requirement that, like

 prescribers, pharmacies that dispense mifepristone be specially certified. 53

             96.     In 2016, the experts further asked FDA to: (1) “[e]liminate the Prescriber

 Agreement certification requirement” and (2) “[r]emove the confusing and unnecessary Patient

 Agreement.”54 Neither requirement was necessary for the safe distribution of mifepristone—

 especially considering the “many laws, policies, and ordinary standards of practice” to which

 health professionals are subject.55 The requirements also did not apply to drugs that carry more

 risk than mifepristone.56 The experts argued that the Patient Agreement “should be eliminated

 entirely” as it was “medically unnecessary and interferes with the clinician-patient relationship.” 57


 50
      Ex. J (Woodcock Letter) at 1–2.

 51
      Id. at 2.

 52
   U.S. Food & Drug Admin., Information About Mifepristone for Medical Termination of Pregnancy Through 10
 Weeks Gestation (Mar. 23, 2023), https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
 providers/information-about-mifepristone-medical-termination-pregnancy-through-ten-weeks-gestation.

 53
      Id. (“To become certified to dispense mifepristone, pharmacies must complete a Pharmacy Agreement Form.”)

 54
      Ex. K (SFP Letter to FDA) at 3–4.

 55
      Id. at 3.

 56
      Id.

 57
      Id. at 4.


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Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 28 of 46 Pageid#: 28
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 43 of 220 PageID 10356



            97.      The FDA expert review team unanimously recommended eliminating the Patient

 Agreement Form because it “contains duplicative information already provided by each healthcare

 provider or clinic,” “does not add to safe use conditions,” and “is a burden for patients.” 58

            98.      They were, however, overruled by the FDA Commissioner for no apparent reason. 59

                  a. Reimposing the Pre-2016 REMS Would Gravely Harm Plaintiffs’ Practices
                     and Patients

            99.      The harms of reimposing those parts of the REMS eliminated in 2016 (parts that

 would be reinstated if the Fifth Circuit’s decision in the Alliance Case takes effect in the Plaintiffs’

 states) are even greater than when FDA reviewed and removed these requirements initially—and

 exponentially so in the wake of the Supreme Court’s overruling of Roe and half the country moving

 to ban or severely restrict abortion. And the mountain of evidence and experience demonstrating

 safety, efficacy, and patient satisfaction in the absence of these requirements has only grown.

            100.     First, reinstating the physician-only requirement for certified prescribers retracts

 the pool of qualified mifepristone providers. And it does so after years of incremental progress to

 build a network of advanced practice clinicians (including nurse practitioners, nurse midwives,

 and physician assistants) with the training and experience to provide this critical care. Indeed, since

 2016, the number of states that permit clinicians other than physicians to provide abortion care has

 grown from 12 to 18.




 58
      Ex. H (2016 Summary Review) at 25.

 59
    U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., No. 020687Orig1s020, Mifeprex Risk Assessment
 and Risk Mitigation Review(s): Letter from Janet Woodcock, Dir., Ctr. for Drug Evaluation & Rsch., U.S. Food &
 Drug Admin., Re: NDA 020687, Supp 20, at 1 (Mar. 28, 2016) (hereinafter “Woodcock Patient Agreement Memo”),
 attached hereto as Ex. L.


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                                                                                              App. 000848
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 29 of 46 Pageid#: 29
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 44 of 220 PageID 10357



        101.    Plaintiffs WWH, Blue Mountain, and All Families all employ advanced practice

 clinicians who provide abortion care. Trust Women would want to use advanced practice clinicians

 to mail mifepristone if they are ultimately able to start their telehealth program.

        102.    In the case of All Families, the sole clinician prescribing and providing abortion is

 an advanced practice clinician. Reinstating the REMS’ physician-only requirement for certified

 prescribers will thus eliminate the sole mifepristone provider from the northwest region of

 Montana.

        103.    Second, reinstating the REMS requirement that mifepristone be dispensed only in

 a clinic, medical office, or hospital—and not via mail-order pharmacy—will eliminate abortion

 access for the large number of patients who have come to rely on direct to patient telehealth

 services, and destroy Plaintiffs’ virtual care models for mifepristone. Plaintiffs WWH, Blue

 Mountain, and All Families have all devoted substantial time and effort to developing telehealth

 abortion services. Their patients, many of whom are in rural or underserved communities, depend

 on telehealth services to access abortion care, particularly post-Roe. Trust Women Wichita, which

 has experienced a huge surge in patients seeking care following the criminalization of abortion in

 neighboring states, is interested in starting a direct to patient telehealth program if able, and

 intended to develop a telemedicine program involving direct to patient provision of medication

 abortion when the present uncertainty around mifepristone began.

        104.    At a minimum, Plaintiffs must be able to rely on the 2023 REMS to be able to

 continue providing their patients with high-quality, evidence-based abortion care.

            b. The 2023 REMS Also Gravely Harms Plaintiffs’ Practices and Patients

        105.    Yet, even the 2023 REMS erects unnecessary barriers to mifepristone. Experts have

 repeatedly told FDA to abandon three primary hurdles to accessing mifepristone that continue to

 plague Plaintiffs and their patients. Each restricts mifepristone without any valid medical basis.
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                                                                                       App. 000849
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 30 of 46 Pageid#: 30
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 45 of 220 PageID 10358



         106.     First, the 2023 REMS retains the Patient Agreement Requirement even though

 FDA experts unanimously recommended its abandonment in 2016. It requires a patient to certify:

 “I have decided to take mifepristone and misoprostol to end my pregnancy.” It must be signed by

 both the patient and provider, a copy must be placed into the patient’s medical record, and a copy

 must be given to the patient along with the Medication Guide.

         107.     This Patient Agreement Form risks the privacy of patients and providers by

 specifically identifying the patient as taking the medication for the purpose of ending their

 pregnancy—as opposed to, for instance, miscarriage management, for which the medication is also

 frequently prescribed.60

         108.     If someone obtains access to the patient’s medical record—which is all the more

 possible with states criminalizing abortion and imposing civil liability for people assisting others

 in accessing abortion—they will have evidence that the patient received the medication for

 abortion. This is a particular concern for patients who travel from a state where abortion is banned

 to a state where it is legal.

         109.     Further, patients receiving mifepristone for miscarriage management must also sign

 the Patient Agreement Form, requiring them to make a false and potentially traumatizing

 attestation that they are “decid[ing]” to “end [their] pregnancy” when they are experiencing a

 pregnancy loss.

         110.     The form also identifies the provider to people who have access to the patient

 record, potentially including, for example, a patient’s spouse, partner, or parent. This exposes

 providers and patients to threats of reprisal, especially in today’s climate of hostility to abortion.


 60
    See, e.g., ACOG Practice Bulletin No. 200, Early Pregnancy Loss, e197, e203 (Nov. 2018, reaff’d 2021),
 https://www.acog.org/clinical/clinical-guidance/practice-bulletin/articles/2018/11/early-pregnancy-loss; see also
 Courtney A. Schreiber et al., Mifepristone Pretreatment for the Medical Management of Early Pregnancy Loss, 378
 New Eng. J. Med. 2161 (2018).

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                                                                                                 App. 000850
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 31 of 46 Pageid#: 31
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 46 of 220 PageID 10359



         111.    There is no countervailing benefit in the face of these harms, as the information

 contained on the form is useless; it is duplicative of the information already provided to patients

 in the five-page Medication Guide that accompanies mifepristone. The comprehensive Medication

 Guide answers questions about symptoms, side effects, and eligibility, as does the provider when

 they counsel patients on the risks and benefits of treatment.

         112.    Second, the 2023 REMS retains the Certified Prescriber Requirement: mifepristone

 can only be prescribed by a healthcare provider who has undergone a “special[] certif[ication]”

 process. This “special certification” must be submitted to each certified pharmacy used by the

 provider and to the distributor if a provider intends to dispense in their office.

         113.    As plaintiffs in the Washington case attested, for many healthcare providers,

 “becoming specially certified is unduly burdensome and raises safety concerns.” Compl. ¶ 97,

 Washington v. FDA, No. 1:23-CV-3026, 2023 WL 2223480 (E.D. Wash. Feb. 23, 2023). Some

 providers “are deterred by the unusual step of having to become certified to prescribe the

 medication; others, misled by mifepristone’s REMS designation, misperceive it is a dangerous

 medication or out of the prescriber’s scope of practice; and still others are not comfortable having

 their names compiled in a list of medication abortion prescribers for fear that they or their families

 may be targeted by anti-abortion activists.” Id. This fear is particularly acute for clinicians who

 hold licenses in multiple states. Id.

         114.    These concerns, which FDA was made aware of as far back as 2016, are heightened

 now due to the growing criminalization and penalization of abortion, including laws that subject

 health care providers to criminal penalties and significant monetary liability. Id.

         115.    There is no reason that providers at Plaintiffs’ clinics, who are not party to the

 Washington case, should have to be subject to these same risks from being certified prescribers.



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                                                                                        App. 000851
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 32 of 46 Pageid#: 32
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 47 of 220 PageID 10360



 Nor should they be subject to the instability about their status as certified prescribers—caused most

 recently by the current chaos and dueling court orders. The medically baseless certified prescriber

 requirement contributes to the stigma around abortion care and abortion providers that Plaintiffs

 experience, and it restricts the number of available clinicians who might be able to be certified

 prescribers at Plaintiffs’ clinics to those who are willing to go through additional hurdles. Plaintiffs’

 patients should be able to access mifepristone from their trusted provider—whether it be the

 Plaintiff providers, or a primary care clinician in another practice.

         116.    Finally, the 2023 REMS imposes a Pharmacy Certification Requirement, which

 like for prescribers, mandates pharmacies be “specially certified” by the manufacturer. To certify,

 pharmacies must verify the status of “certified” providers and follow unnecessary and burdensome

 recordkeeping and training requirements not associated with any comparable medication. By

 limiting mifepristone dispensing to “certified” pharmacies, the REMS requires providers like

 Plaintiffs to track certified pharmacies, instead of allowing patients to decide from which pharmacy

 to pick up the medication, as they could do with numerous other prescription medications.

 Pharmacies, too, will have to track and confirm which prescribers are “certified” to ensure that,

 each time they seek to dispense mifepristone, they only dispense it to a patient whose prescription

 came from a certified prescriber.

         117.    As a practical matter, erecting this logistical “certification” barrier limits the

 number of pharmacies that dispense mifepristone, and thus limits access to mifepristone for

 Plaintiffs and their patients—just as the requirement that prescribers be certified has limited access

 to mifepristone. Although the 2023 REMS opens the door to allow brick-and-mortar pharmacies

 to dispense mifepristone, the mandate that they be certified may just as quickly shut that door.




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                                                                                          App. 000852
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 33 of 46 Pageid#: 33
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 48 of 220 PageID 10361



             118.   Simply put, the 2023 REMS retains unnecessary and harmful dispensing and

 prescribing requirements that threaten patient and provider privacy and continue to put

 mifepristone out of reach despite its exemplary safety record. As one recent study of clinicians and

 administrators put it, although mifepristone is safe and effective, the REMS are the “linchpin of a

 cycle of stigmatization that continues to keep mifepristone out of primary care practice.” 61

             119.   FDA has tacitly acknowledged that mifepristone is subject to discriminatory

 restrictions. In 2012, FDA approved without a REMS a higher-dose mifepristone product—

 Korlym—as treatment for Cushing’s syndrome. Patients prescribed Korlym take one to four 300

 mg pills daily—which is 1.5 to 6 times the recommended dose of mifepristone used for abortion

 care, which typically involves only one 200 mg pill. 62 FDA concluded that “[a]ny restrictions will

 impede access with little to no benefit to Cushing’s syndrome population” and that risks “can be

 adequately addressed through labeling,” as with other drugs. 63 Indeed, FDA identified two drugs—

 misoprostol and methotrexate—associated with pregnancy termination which are regulated only

 through labeling, not a REMS.64

             120.   And, as the American Academy of Family Physicians has summarized, numerous

 “other drugs with higher complication rates, such as acetaminophen, aspirin, loratadine, and




 61
   Danielle Calloway, Debra B. Stulberg & Elizabeth Janiak, Mifepristone Restrictions and Primary Care: Breaking
 the Cycle of Stigma Through a Learning Collaborative Model in the United States, 104 Contraception 24 (2021).

 62
   U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., No. 202107Orig1s000, Full Prescribing Information
 for           Korlym              (mifepristone),           at          3             (Feb.             2012),
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2012/202107Orig1s000Lbl.pdf.

 63
    U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., No. 202107Orig1s000, Korlym (mifepristone) Risk
 Assessment       and        Risk     Mitigation      Review(s)      9,     11       (Jan.      27,     2012),
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2012/202107Orig1s000RiskR.pdf       (hereinafter   Korlym
 Review), attached hereto as Ex. M.

 64
      Id. at 8.


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                                                                                               App. 000853
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 34 of 46 Pageid#: 34
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 49 of 220 PageID 10362



 sildenafil, do not have REMS restrictions.”65 Penicillin has a mortality rate three times greater than

 mifepristone.66 Viagra has a mortality rate more than six times greater than mifepristone. 67 Tylenol

 overdose is one of the most common causes of liver transplantation in the U.S.—it leads to 56,000

 emergency department visits, 2,600 hospitalizations, and 500 deaths per year in the United States. 68

 No REMS applies to any of these drugs.

            121.    Not even opioids—some of the most dangerous drugs on the market—are subject

 to similar restrictions. REMS applicable to opiates require opioid manufacturers to offer optional

 training—a far cry from the mandatory, burdensome requirements imposed on mifepristone.

 Indeed, according to FDA, “[t]here is no mandatory federal requirement that prescribers or other

 [healthcare providers] take the training and no precondition to prescribing or dispensing opioid

 analgesics to patients.”69

            122.    On June 21, 2022, ACOG and the American Medical Association (AMA) again

 urged FDA to eliminate the in-person dispensing and certification requirements, as “[b]arriers to

 accessing mifepristone do not make care safer, are not based on medical evidence, and create

 barriers to patient access to essential reproductive health care.”70



 65
    Am. Acad. Fam. Physicians Congress of Delegates, Resolution No. 506 (Co-Sponsored C) – Removing Risk
 Evaluation and Mitigation Strategy (REMS) Categorization of Mifepristone 2 (May 24, 2018),
 https://www.reproductiveaccess.org/wp-content/uploads/2019/02/Resolution-No.-506-REMS.pdf.

 66
      Greer Donley, Medication Abortion Exceptionalism, 107 Cornell L. Rev. 627, 651–52 (2022).

 67
      Id.

 68
      Agrawai & Khazaeni, supra n.20.

 69
    U.S. Food & Drug Admin., Opioid Analgesic Risk Evaluation and Mitigation Strategy (REMS) (Apr. 3, 2023),
 https://www.fda.gov/drugs/information-drug-class/opioid-analgesic-risk-evaluation-and-mitigation-strategy-rems.

 70
   Letter from Maureen G. Phipps, Am. Coll. Of Obstetricians & Gynecologists, and James L. Madara, CEO & Exec.
 Vice President, Am. Med. Ass’n, to Robert Califf, Comm’r, U.S. Food & Drug Admin. 2 (Jun. 21, 2022), attached
 hereto as Ex. N.


                                                         34

                                                                                                  App. 000854
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 35 of 46 Pageid#: 35
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 50 of 220 PageID 10363



             123.     The same year, ACOG, AMA, and many other groups filed a citizen petition to FDA

 seeking to remove the REMS and add miscarriage management to mifepristone’s indications.

             124.     The petition highlighted the same three troublesome remaining aspects of the

 REMS: the Patient Agreement Requirement, the Prescriber Certification Requirement, and the

 Pharmacy Certification Requirement.

             125.     As to the Patient Agreement Requirement, it should “be removed entirely because

 it is medically unnecessary and repetitive of informed consent, as a previous review conducted by

 [the FDA review team] determined in 2016.”71

             126.     As to the Prescriber Certification Requirement, it “serves no benefit to patient

 safety” and is “redundant and unnecessary.”72 Additionally, the petition noted the privacy and

 safety concerns inherent in a certification system.73 The petition also highlighted that because of

 the certification requirement, “clinicians who have already navigated mifepristone REMS

 compliance to provide abortion care . . . are almost always located in cities,” making access

 particularly difficult for people living in rural areas.74

             127.     And, the petition urged FDA not to include a certification requirement for

 pharmacies because “research . . . suggests that the pharmacy requirement is unnecessary to ensure

 that mifepristone’s benefits outweigh its risks and unduly burden[s] access.”75 Moreover, “[a]s




 71
    Citizen Petition, Docket No. FDA-2022-P-2425, from Am. Coll. Of Obstetricians & Gynecologists et al. to Lauren
 Roth, Assoc. Comm’r for Pol’y, U.S. Food & Drug Admin., at 12 (Oct. 4, 2022) (hereinafter ACOG Citizen Petition),
 attached hereto as Ex. O.

 72
      Id. at 13.

 73
      Id. at 13–14.

 74
      Id. at 14.

 75
      Id. at 15.


                                                        35

                                                                                                 App. 000855
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 36 of 46 Pageid#: 36
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 51 of 220 PageID 10364



 with the certified provider requirement, the burdens associated with the certified pharmacy

 requirement will also fall disproportionately on poor and rural [patients], contrary to the REMS

 statute.”76

             128.     FDA rejected the medical groups’ citizen petition.77 This is not surprising, as FDA

 has repeatedly brushed aside concerns raised by leading medical organizations and its own data

 that show that the REMS harms patients and providers and is medically baseless. The agency kept

 renewing the REMS—in 2016, 2019, 2021, and yet again in 2023. FDA retained these restrictions

 notwithstanding its periodic reviews of the post-marketing data, which have not identified any new

 safety concerns with the use of mifepristone for medical termination of pregnancy.

        V.         The REMS Has Always Been Contrary to the FDCA

             129.     FDA’s imposition of the REMS, including the 2023 REMS, is contrary to its

 statutory authority under the FDCA. As described above, a “Risk Evaluation and Mitigation

 Strategy” (REMS) is an unusual overlay of requirements outside of the norm that FDA can choose

 to impose only when “necessary to ensure that the benefits of the drug outweigh the risks of the

 drug.” 21 U.S.C. § 355-1(a)(1). And, FDA may impose an ETASU on a medication only if it is

 “associated with a serious adverse drug experience,” which is defined as a medication that “results

 in” death or “immediate risk of death,” “inpatient hospitalization or prolongation of existing

 hospitalization,” “persistent or significant incapacity or substantial disruption of the ability to

 conduct normal life functions,” or “a congenital anomaly or birth defect,” or that “may jeopardize




 76
      Id. at 16.

 77
    U.S. Food & Drug Admin., FDA-2022-P-2425-0003, Letter from Patrizia A. Cavazzoni, Dir., Ctr. for Drug
 Evaluation & Rsch., U.S. Food & Drug Admin., to Maureen G. Phipps, Am. Coll. Obstetricians & Gynecologists,
 denying Citizen Petition, Docket. No. FDA-2022-P-2425 (Jan. 3, 2023) (hereinafter ACOG Citizen Petition Denial),
 attached hereto as Ex. P.


                                                       36

                                                                                                App. 000856
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 37 of 46 Pageid#: 37
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 52 of 220 PageID 10365



 the patient and may require a medical or surgical intervention to prevent [such] an outcome.” 21

 U.S.C. §§ 355-1(f)(1)(A), (b)(4).

              130.    Mifepristone has never come close to meeting these criteria. Indeed, FDA itself has

 repeatedly concluded that serious adverse events following mifepristone use are “exceedingly

 rare.”78

              131.    The ETASU also violates the FDCA’s requirement that such restrictions “not be

 unduly burdensome on patient access to the drug, considering in particular . . . patients in rural or

 medically underserved areas,” and must “minimize the burden on the health care delivery system.”

 21 U.S.C. §§ 355-1(f)(2)(C)–(D).

        VI.      FDA’s Decision to Retain the REMS Contributes to the Current Chaos and
                 Ongoing Questioning of Mifepristone’s Safety

              132.    Ensuring protected access to mifepristone—in line with all medical evidence—is

 more important now than ever, with abortion rapidly becoming criminalized across large swaths

 of the nation, and with anti-abortion zealots seeking to destroy the ability of any person in any

 state to use mifepristone.

              133.    The only actors who have ever attempted to suggest that mifepristone is unsafe are

 anti-abortion ideologues who ignore the conclusions of the AMA, ACOG, and every other

 mainstream medical and public health organization to have addressed the issue. Instead, they

 invoke junk science and purported experts whose opinions have been thoroughly discredited. 79

              134.    Biased studies seeking to show that abortion by any method—whether medication

 or procedural—carries negative physical and mental health consequences have repeatedly been


 78
   Ex. E (FDA 2016 Medical Review) at 47; see also Ex. I (Mifepristone U.S. Post-Marketing Adverse Events
 Summary).

 79
      See, e.g., Ex. D (Citizen Petition Denial) at 6.


                                                         37

                                                                                          App. 000857
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 38 of 46 Pageid#: 38
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 53 of 220 PageID 10366



 deemed by the scientific community to be counter to the evidence. The National Academies

 concluded that “much of the published literature on” the topics of “abortion’s long-term effects”

 on health and wellbeing “fails to meet scientific standards for rigorous, unbiased research.” 80 When

 the National Academies considered only the “high-quality research” that met scientific standards,

 that research showed that “having an abortion does not increase a woman’s risk of secondary

 infertility, pregnancy-related hypertensive disorders, abnormal placentation . . . preterm birth,

 breast cancer, or mental health disorders.” 81

             135.    Anti-abortion idealogues have now resorted to challenging the decades-old 2000

 approval of mifepristone in the Alliance Case. See All. for Hippocratic Med., 2023 WL 2913725,

 at *3.82

             136.    Two courts agreed with the plaintiffs in the Alliance Case and issued stays to some

 degree of FDA’s actions on mifepristone, relying on the flawed science that the plaintiffs put forth.

 On April 7, 2023, a district court in Texas ordered an unprecedented stay of FDA’s longstanding

 approval of mifepristone. See All. for Hippocratic Med., 2023 WL 2825871, at *32. The court

 maintained that FDA’s 2000 approval of mifepristone ignored “safety concerns,” suggesting that

 the agency acquiesced to “political pressure to forego its proposed safety precautions.” Id. at *27.

 Even though the challenged approval has been in effect for over twenty years, the court—citing




 80
      National Academies Report, supra n.20, at 152.

 81
      Id. at 153.

 82
   See also Mot. for Leave to File Br. of Over 100 Reprod. Health, Rts. & Just. Orgs. as Amici Curiae in Support of
 Defs.-Appellants and the Mots. for Stay Pending Appeal at 6–9, All. for Hippocratic Med. v. FDA, No. 23-10362 (5th
 Cir. Apr. 11, 2023); Unopposed Mot. for Leave to File Br. of Med. & Pub. Health Soc’ys as Amici Curiae in Support
 of Defs.-Appellants at 7, All. for Hippocratic Med. v. FDA, No. 23-10362 (5th Cir. Apr. 11, 2023) (identifying
 numerous courts that have rejected plaintiffs’ experts and concluding that “[t]he so-called studies on which the District
 Court relied are not scientifically tested or sound; they are produced by anti-abortion advocacy groups or contain
 serious (and often well-documented) methodological flaws—or both.”).


                                                           38

                                                                                                        App. 000858
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 39 of 46 Pageid#: 39
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 54 of 220 PageID 10367



 nothing more than plaintiffs’ assertions in their brief—declared that medication abortion causes

 “physical and emotional trauma,” “mental and monetary costs,” and death. Id. at *29.

         137.    At the same time on April 7—almost to the minute—a district court in Washington

 issued an injunction in 17 states and the District of Columbia preventing FDA from deviating from

 the status quo—the 2023 REMS. The Washington court emphasized that it is “precisely FDA’s

 role” to make safety and efficacy determinations, however, based on the same record Plaintiffs

 present here, FDA “did not assess whether mifepristone qualifies for REMS and ETASU.”

 Washington, 2023 WL 2825861, at *8. Further, the district court found that FDA’s repeated

 determination that “[s]erious adverse events . . . are rare” and that mifepristone “is safe and

 effective through 70 days gestation,” along with its mystifyingly inconsistent approval of

 mifepristone for Cushing’s syndrome without a REMS, suggest that FDA has ignored an important

 aspect of the issue before it when it issued REMS requirements repeatedly without scientific basis.

 Id.

         138.    Then, on April 12, the United States Court of Appeals for the Fifth Circuit

 compounded the confusion wrought by the Texas district court order, staying the decision only in

 limited part. See All. for Hippocratic Med., 2023 WL 2913725, at *1. The panel stayed only the

 portion of the district court ruling that suspended FDA’s 2000 approval of mifepristone, while

 declining to stay the district court’s other holdings—essentially enjoining the 2016 and 2023

 REMS. Id. at *21.

         139.    Providers in states covered by the Washington injunction may proceed with

 abortion care as usual under the Fifth Circuit order, but the Plaintiffs here, and their states, are left

 out, as are their patients.




                                                    39

                                                                                          App. 000859
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 40 of 46 Pageid#: 40
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 55 of 220 PageID 10368



          140.     The U.S. Supreme Court entered a stay of the Texas district court decision through

 the appeals process of the preliminary injunction order entered by the district court, and possibly

 longer if the Court decides to take the case up at the preliminary injunction stage. However, the

 Fifth Circuit will hear argument in the case as soon as May 17, and uncertainty continues to

 abound.83

          141.     For these reasons, states are continuing to stockpile mifepristone (and even

 misoprostol) because of the day-to-day, week-to-week uncertainty about whether and how

 providers can use mifepristone.84

          142.     Plaintiffs, however, do not have the resources to stockpile years of mifepristone,

 nor are they able to accommodate massive shifts to their practice every 24 hours. They require

 certainty about their provision of mifepristone to maintain their medical practices and provide

 high-quality, evidence-based care to their patients.




 83
    See, e.g., Christine Fernando & Jeanine Santucci, Dueling Federal Rulings Plunge Future of Abortion Pill into
 Legal          Uncertainty,         USA           Today        (Apr.        8,       2023,           2:32         P.M.),
 https://www.usatoday.com/story/news/nation/2023/04/07/judge-revokes-fda-approval-key-abortion-drug-
 nationwide/11203402002 (describing providers’ rush to shift to misoprostol-only protocols due to legal uncertainty);
 C.A. Bridges, What is Mifepristone? Are Abortion Pills Legal in Florida?, Gainesville Sun (Apr. 17, 2023, 2:22 P.M.),
 https://www.gainesville.com/story/news/healthcare/2023/04/14/abortion-pills-florida-mifepristone-misoprostol-
 what-they-are-how-get-them/7766021001 (describing confusion as “patients and providers try to understand the new
 and shifting laws, lawsuits and court rulings”); Jan Johnson & Michael Martin, Supreme Court Ruling on Mifepristone
 Causes        Uncertainty       for      Advocates,       NPR        (Apr.     21,      2023,        11:30       A.M.),
 https://www.npr.org/2023/04/21/1171202676/abortion-pill-supreme-court (citing Michigan provider saying that
 “conflicting legal rulings and the wait for answers is complicating care and making it difficult to help patients”).

 84
    See, e.g., Reis Thebault et al., Democratic States Stockpile Abortion Pills as Access Rests in Courts, Wash. Post
 (Apr. 21, 2023), https://www.washingtonpost.com/nation/2023/04/21/blue-state-abortion-pill-access (describing six
 states, representing a quarter of the U.S. population, that “have publicly pledged to stockpile abortion drugs”); Jen
 Christensen, Concerned About the Courts, Some States and Universities are Stockpiling Abortion Drugs, CNN (Apr.
 12, 2023, 5:49 P.M.), https://www.cnn.com/2023/04/12/health/abortion-drugs-stockpile/index.html (University of
 Massachusetts and University of Washington stockpiling mifepristone; New York and California stockpiling
 misoprostol).


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                                                                                                       App. 000860
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 41 of 46 Pageid#: 41
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 56 of 220 PageID 10369



        VII.    Plaintiffs Do Not Need to File a Citizen Petition.

            143.    Plaintiffs are excused from any need to file a citizen petition under FDA regulations.

 See 21 C.F.R. §§ 10.30, 10.45. Such a filing would be futile because FDA has refused similar relief

 to that sought here when requested in 2020 by 21 states85 and in 2022 by ACOG.86 Moreover, when

 17 states and the District of Columbia filed the Washington lawsuit in 2023, which seeks identical

 relief, the FDA opposed it, asserting in its brief that its decision to maintain the REMS restrictions

 on mifepristone was “reasonable.” Defs.’ Resp. Opp. Pl. States’ Mot. Prelim. Inj. at 22, Washington

 v. FDA, No. 1:23-cv-3026-TOR (E.D. Wash. Mar. 17, 2023). There is no prospect that FDA would

 take a different view if Plaintiffs were required to submit a citizen petition now; there would only

 be harmful delay because the agency’s own rule allows it 180 days to respond to citizen petitions,

 see 21 C.F.R. § 10.30(e)(2), and it often takes considerably longer to respond.

                                            CLAIMS FOR RELIEF
                                                     COUNT I
        (Administrative Procedure Act – Agency Action in Excess of Statutory Authority and
                                        Contrary to Law)
            144.    Plaintiffs reallege and incorporate by reference allegations in each of the preceding

 paragraphs of this complaint.

            145.    FDA’s continued imposition of the REMS, and its promulgation of the mifepristone

 2023 REMS, was a final agency action that is causing Plaintiffs irreparable harm for which they

 have no other adequate remedy under 5 U.S.C. § 704.




 85
   Letter from Xavier Becerra, Cal. Att’y Gen, et al., to Alex M. Azar, Sec’y, U.S. Dep’t of Health & Hum. Servs. &
 Stephen Hahn, Comm’r, U.S. Food & Drug Admin. (Mar. 30, 2020), attached hereto as Ex. Q.

 86
      Ex. O (ACOG Citizen Petition); Ex. P (ACOG Citizen Petition Denial).


                                                         41

                                                                                                  App. 000861
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 42 of 46 Pageid#: 42
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 57 of 220 PageID 10370



        146.    This Court must “hold unlawful and set aside agency action” that is, among other

 things, “not in accordance with law,” “in excess of statutory jurisdiction, authority, or limitations,

 or short of statutory right” or “without observance of procedure required by law.” 5 U.S.C.

 § 706(2).

        147.    Through the actions set out above, Defendants violated 5 U.S.C. § 706(2)(C) by

 acting in excess of statutory authority and contrary to law in continuing to impose the REMS and

 promulgating the mifepristone 2023 REMS contrary to its authorization in the FDCA.

                                              COUNT II

      (Administrative Procedure Act – Agency Action that is Arbitrary and Capricious)

        148.    Plaintiffs reallege and incorporate by reference allegations in each of the preceding

 paragraphs of this complaint.

        149.    FDA’s continued imposition of the REMS, and its promulgation of the mifepristone

 2023 REMS, was a final agency action that is causing Plaintiffs irreparable harm for which they

 have no other adequate remedy under 5 U.S.C. § 704.

        150.    This Court must “hold unlawful and set aside agency action” that is, among other

 things, “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” 5

 U.S.C. § 706(2)(A).

        151.    Through the actions set out above, Defendants violated 5 U.S.C. § 706(2)(A) by

 acting arbitrarily and capriciously in continuing to impose the REMS and promulgating the

 mifepristone 2023 REMS.




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                                                                                        App. 000862
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 43 of 46 Pageid#: 43
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 58 of 220 PageID 10371



                                             COUNT III

           (Administrative Procedure Act—Action Contrary to Constitutional Right)

          152.   Plaintiffs reallege and incorporate by reference allegations in each of the preceding

 paragraphs of this complaint.

          153.   FDA’s promulgation of the mifepristone 2023 REMS was a final agency action that

 is causing Plaintiffs irreparable harm for which they have no other adequate remedy under 5 U.S.C.

 § 704.

          154.   This Court must “hold unlawful and set aside agency action” that is, among other

 things, “contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B).

          155.   FDA’s promulgation of the mifepristone 2023 REMS treated similarly situated

 parties differently without adequate justification, and therefore violates the constitutional

 guarantee of equal protection in violation of 5 U.S.C. § 706(2)(B).

                                             COUNT IV

                                         (Equal Protection)

          156.   Plaintiffs reallege and incorporate by reference allegations in each of the preceding

 paragraphs of this complaint.

          157.   As described above, Defendants violate the equal protection guarantee of the Due

 Process Clause of the Fifth Amendment to the United States Constitution.

          158.   Through the 2023 REMS, FDA reduces access to a critical and time-sensitive

 healthcare service needed by pregnant people. And FDA treats providers, pharmacists, and patients

 who prescribe, dispense, or use mifepristone worse than providers, pharmacists, and patients who

 prescribe, dispense, or use nearly every other medication. FDA’s actions are irrational and violate

 the Fifth Amendment under any standard of review.



                                                  43

                                                                                       App. 000863
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 44 of 46 Pageid#: 44
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 59 of 220 PageID 10372



                                    PRAYER FOR RELIEF

       159.   WHEREFORE, Plaintiffs pray that the Court:

                  a. Declare, pursuant to 28 U.S.C. § 2201, that mifepristone is safe and

                     effective and that Defendants’ approval of mifepristone is lawful and valid;

                  b. Declare, pursuant to 28 U.S.C. § 2201, that the mifepristone REMS violates

                     the Administrative Procedure Act;

                  c. Declare, pursuant to 28 U.S.C. § 2201, that the mifepristone REMS violates

                     the United States Constitution;

                  d. Enjoin Defendants, pursuant to 28 U.S.C. § 2202, from enforcing or

                     applying the mifepristone REMS;

                  e. Enjoin Defendants, pursuant to 28 U.S.C. § 2202, from taking any action

                     under the REMS against any providers in Virginia, Montana, or Kansas.

                  f. Award such additional relief as the interests of justice may require.

 DATED this 8th day of May, 2023.

                                                    Respectfully submitted,

                                                    /s/ Gail M. Deady
                                                    Gail M. Deady
                                                    Virginia Bar Number: 82035
                                                    Rabia Muqaddam*
                                                    Center for Reproductive Rights
                                                    199 Water Street, 22nd Floor
                                                    New York, New York 10038
                                                    Telephone: (917) 637-3600
                                                    Fax: (917) 637-3666
                                                    Email: gdeady@reprorights.org
                                                    Email: rmuqaddam@reprorights.org
                                                    Counsel for Plaintiffs

                                                    *Pro hac vice application forthcoming




                                               44

                                                                                   App. 000864
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 45 of 46 Pageid#: 45
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 60 of 220 PageID 10373



                                 CERTIFICATE OF SERVICE
        I hereby certify that on this 8th day of May, 2023, I filed the foregoing document with the

 Clerk of Court using the CM/ECF system, and I hereby certify that I will mail by United States

 Postal Service Certified Mail the document to the following non-CM/ECF participants:

               United States Department of Health & Human Services
               c/o General Counsel
               200 Independence Avenue, S.W.
               Washington, D.C. 20201

               Xavier Becerra, Secretary
               c/o General Counsel
               Department of Health and Human Services
               200 Independence Avenue, S.W.
               Washington, D.C. 20201

               United States Food and Drug Administration
               Chief Counsel, Food and Drug Administration
               ATTENTION: LITIGATION
               White Oak Building 31, Room 4544
               10903 New Hampshire Ave.
               Silver Spring, MD 20993-0002

               Robert M. Califf, Commissioner
               Chief Counsel, Food and Drug Administration
               ATTENTION: LITIGATION
               White Oak Building 31, Room 4544
               10903 New Hampshire Ave.
               Silver Spring, MD 20993-0002

               Attorney General Merrick Garland
               Attorney General of the United States
               U.S. Department of Justice
               950 Pennsylvania Avenue, NW
               Washington, DC 20530-0001

        I also hereby certify that on this 8th day of May, 2023, the foregoing document will be

 hand served to:

               U.S. Attorney Christopher Kavanaugh
               United States Attorney’s Office

                                                45

                                                                                    App. 000865
Case 3:23-cv-00019-RSB-JCH Document 1 Filed 05/08/23 Page 46 of 46 Pageid#: 46
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 61 of 220 PageID 10374



            Western District of Virginia
            U.S. Courthouse and Federal Building
            255 West Main Street, Room 130
            Charlottesville, Virginia 22902



                                               /s/ Gail M. Deady
                                               Gail M. Deady
                                               Virginia Bar Number: 82035
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                                               New York, New York 10038
                                               Telephone: (917) 637-3600
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                                               Email: gdeady@reprorights.org
                                               Counsel for Plaintiffs




                                          46

                                                                           App. 000866
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 62 of 220 PageID 10375




                               EXHIBIT 48

                    Declaration of Rebecca Tong




                                                                   App. 000867
Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 1 of 10 Pageid#: 496
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 63 of 220 PageID 10376



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA

    WHOLE WOMAN’S HEALTH ALLIANCE, on
    behalf of itself, its staff, and its patients; et al.,

                                     Plaintiffs,

            v.

    UNITED STATES FOOD AND DRUG
    ADMINISTRATION; et al.,                                  Case No. 3:23-cv-00019-NKM

                                      Defendants.



                    DECLARATION OF REBECCA TONG IN SUPPORT OF
                  PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

          1.      I am a Co-Executive Director of Trust Women Foundation (“Trust Women”). Trust

  Women operates clinics offering reproductive health care, including abortion, contraceptive

  services, and gender-affirming care, with a focus on providing access for those in underserved

  communities. Trust Women opened its first clinic, South Wind Women’s Center (doing business

  as “Trust Women Wichita”), in Wichita, Kansas on April 3, 2013. Trust Women opened a clinic in

  Oklahoma City, Oklahoma (“Trust Women Oklahoma City”) in 2016.

          2.      As Co-Executive Director of Trust Women, I oversee operations at both Trust

  Women Wichita and Trust Women Oklahoma City. I am familiar with all aspects of our policies

  and practices and am frequently in contact with Trust Women’s clinical staff and physicians. The

  facts I state here are based on my experience and information and knowledge I have obtained

  through my work for Trust Women.

          3.      I submit this declaration in support of Plaintiff’s Motion for a Preliminary

  Injunction.




                                                       1

                                                                                   App. 000868
Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 2 of 10 Pageid#: 497
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 64 of 220 PageID 10377



         4.      Trust Women Wichita provides reproductive health care, including both procedural

  and medication abortion, and contraceptive services.

         5.      Trust Women Wichita provides procedural abortions up to 21 weeks, 6 days of

  pregnancy, as measured from the first day of the patient’s last menstrual period (“LMP”).

         6.      Trust Women Wichita provides medication abortions up to 11 weeks LMP. The

  regimen used at Trust Women involves two medications, mifepristone and misoprostol. The

  patient takes the mifepristone at the clinic. The patient then takes the misoprostol approximately

  24 to 36 hours later outside of the clinic.

         7.      Trust Women Wichita has provided medication abortion since it opened in 2013,

  and the clinic’s safety record has been excellent. We have never faced a serious complication from

  medication abortion.

         8.      We used to provide these same services safely and effectively in our clinic in

  Oklahoma City, but we had to shutter abortion services when multiple abortion bans took effect in

  Oklahoma at or about the time Roe was overturned. We have pivoted our services to provide other

  care our Oklahoma City community needs, including gender-affirming care, and medication

  assisted treatment.

         9.      Until 2018, Trust Women Wichita offered a telemedicine clinic for medication

  abortion, but we were forced to stop that practice due to a Kansas state law. That law was very

  recently enjoined, and we are interested in restarting our telemedicine clinic if we are able to. We

  are particularly interested in pursuing the option to mail mifepristone, which would greatly expand

  our ability to help patients. We would start as soon as we can if mifepristone remains available and

  possible to dispense by direct to patient telehealth.




                                                    2

                                                                                       App. 000869
Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 3 of 10 Pageid#: 498
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 65 of 220 PageID 10378



        I.   Providing Abortions Post-Roe

         10.     I have worked at Trust Women since the Wichita clinic opened in 2013, and it has

  always been challenging to provide care in a hostile environment like Kansas or Oklahoma, where

  we are targets for harassment and violence. But, the last year has been the hardest I have ever

  experienced. Since even before the Supreme Court’s decision in Dobbs, our clinics have been in

  a constant state of whiplash from unending legal uncertainty around providing care. On the other

  side of this chaos are our very real patients who suffer every time we have to change course due

  to the latest legal or regulatory change or court decision. Now we have uncertainty even about

  whether and how we can use mifepristone to provide medication abortion. In the last year, we

  have had to modify every single system in our clinics. As healthcare providers, we need to plan

  ahead—we need certainty around whether and how we can see patients tomorrow or the next day

  without fearing that we will have to reorder our entire practice every 24 hours or turn patients

  away. We cannot look more than a few steps ahead because we cannot anticipate what the legal

  environment will look like next week.

       II.   The Mifepristone Risk, Evaluation, and Mitigation Strategy (“REMS”)

         11.     Mifepristone has long been subject to medically unnecessary requirements known

  as the REMS. The FDA has followed at least some of the science and changed these requirements

  over the years; but the REMS remains and continues to interfere with access. The requirements

  that providers and pharmacies be certified and patients and providers sign agreements do nothing

  to improve patient care. Rather, they significantly add to the operational and logistical burden of

  providing medication abortion. We have to use a special pharmacy other than the one we use for

  all other medications.




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                                                                                      App. 000870
Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 4 of 10 Pageid#: 499
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 66 of 220 PageID 10379



         12.      The REMS also contributes to the stigmatization of medication abortion. When

  patients read the medication guide, they feel they are taking something that is riskier than it is.

  Further, the information collected through this unnecessary bureaucracy puts patient and clinician

  privacy in jeopardy, which is particularly concerning now that abortion is criminalized with very

  limited exceptions in 13 states. Further, we are limited to hiring physicians that are willing to

  become certified prescribers and potentially expose themselves as abortion providers.

         13.      We have decades of evidence demonstrating that medication abortion with

  mifepristone is safe, effective, and, for many patients, preferable. It is bizarre to us that

  mifepristone is subject to a REMS when its risk profile is on par with Tylenol.

         14.      These requirements are severe and, in light of the chaos we have experienced in the

  last year, detailed below, they have become extremely difficult and sometime insurmountable for

  some patients. We are challenging them now so that we can devote more of our time to patient care

  and not senseless requirements that burden our ability to provide medication abortion, can

  compromise patient privacy and confidentiality, and have no medical benefit. Until this court can

  rule on this issue, we ask that the FDA be enjoined from deviating from our current status quo of

  providing medication abortion.

               a. S.B. 8 in Texas, its Oklahoma Copycats, and the Overturning of Roe

         15.      On September 1, 2021, before Roe was overturned, abortion was banned in Texas

  beyond approximately 6 weeks LMP due to the enactment of Texas S.B. 8. S.B. 8 was blocked and

  then un-blocked several times, sending massive shocks through the system of provision of care, as

  Trust Women Wichita and Trust Women Oklahoma City and our patients struggled to navigate the

  upheaval caused by abortion services being available and then unavailable repeatedly in Texas.




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                                                                                      App. 000871
Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 5 of 10 Pageid#: 500
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 67 of 220 PageID 10380



  Patients were frantic trying to be seen. The emotional toll that time took on patients cannot be

  overstated.

         16.     Then in Oklahoma, the state legislature started enacting no less than 4 abortion bans

  in succession with different prohibitions and penalties. First, in May 2022, a 6-week S.B. 8-style

  ban took effect, then a total S.B. 8-style ban with inconsistent exceptions, and then a 1910 criminal

  ban revived by Oklahoma’s trigger ban. Because the S.B. 8-style laws had immediate effect, we

  had to schedule patients in Trust Women Oklahoma City understanding that the next day we might

  not be able to see them. We watched the legislature and the Governor’s actions every day to the

  minute, in order to understand and try to guess when and how exactly these laws would be passed

  and signed. We had no idea when those laws would take effect. Ultimately, they did, and we had

  to immediately cease our abortion services in Oklahoma City.

         17.     After Roe was overturned in June 2022, Texas, Oklahoma, Missouri, and Arkansas

  began enforcing their trigger laws, banning abortion entirely in those states with criminal penalties.

         18.     I cannot express how devastating it is for patients when we have to call to tell them

  we cannot see them for an appointment they desperately want and need because a new legal change

  or court case has tied our hands. We have had patients threaten to harm themselves because they

  do not wish to be forced to birth and are terrified that they will not be able to receive care.

         19.     This wave of criminalization and civil liability has forced desperate patients to

  travel hundreds of miles to seek care. Trust Women Wichita, as one of the few remaining clinics

  somewhat close to Texas, Oklahoma, and other ban states, has seen a massive increase in patients

  seeking care due to abortion bans. In 2021, Trust Women Wichita saw around 1500 patients. In

  2022, we saw around 3500 patients. For the first 4 months of 2023, we have seen 2000 patients




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Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 6 of 10 Pageid#: 501
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 68 of 220 PageID 10381



  already—on pace for 6,000 for the year. Around two-thirds of our patients are coming from out

  of state.

          20.      Most of our patients are already parents. Often, they drive all night with their

  families in order to see us. Many of the patients we are now seeing have extremely complex

  pregnancies, with varying health conditions and previous c-sections. We now have people coming

  directly to us from hospitals in ban states because they cannot get care even in medical

  emergencies. In no other area of medicine are people treated this way.

          21.      In response, we have expanded to providing abortion services four days per week

  with more physicians. But, that expansion does not come close to meeting the need for patients

  seeking abortion care at Trust Women Wichita. The current call volume for appointments is so high

  that it could support filling appointments seven days a week, 24/7. Since S.B. 8 took effect, it is

  not uncommon for us to receive tens of thousands of calls a day.

                b. The Chaos Comes for Medication Abortion

          22.      Now, we face a new rollercoaster around the use of mifepristone. On April 7, a

  district court in Texas issued an order saying that mifepristone could no longer be used anywhere

  in the country and gave the FDA only a week to seek an emergency appeal.

          23.      We were shocked by this because regardless of what someone might think about

  the morality of abortion, decades of research shows that mifepristone is one of the safest drugs you

  can take with an extremely low rate of serious complications—it is as safe or safer than taking

  Tylenol, and it is less risky than many other drugs we use in our practice such as medications for

  sedation. We have never had a serious complication associated with medication abortion in our

  entire history. To the contrary, mifepristone is a medical advancement that improves the experience




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Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 7 of 10 Pageid#: 502
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 69 of 220 PageID 10382



  of abortion for many patients—it is simpler, less expensive, more private, and imposes less

  discomfort.

          24.    We immediately worked to develop medication abortion protocols for a

  hypothetical situation in which we would not be able to use mifepristone. In anticipation of the

  decision and after, we spent hours training staff on an alternative protocol. When the Texas decision

  came down, we reached out to hundreds of patients to re-do the consent process that is required in

  Kansas 24 hours in advance. We had to review the new protocol with patients. Around two dozen

  patients called us that week because they were confused about whether they could receive their

  abortion.

          25.     But that same day, a district court in Washington issued an order requiring the FDA

  to maintain the status quo for mifepristone but only in select states. Kansas was not included in

  that order.

          26.    We also use mifepristone for preparation for procedural abortions because we find

  that it prepares the cervix faster than misoprostol, which others use. We did not know how these

  orders would affect mifepristone when used for that purpose.

          27.    Then, on April 12, the Fifth Circuit put part of the Texas order on hold. The Fifth

  Circuit’s order said that while mifepristone could still be used, the FDA’s changes to the REMS

  from 2016 onward were no longer in effect. We understood this to mean that mifepristone was

  available but had to be prescribed as if we were rewinding 7 years of medical progress. The pre-

  2016 REMS effectively prevent a physician from writing a prescription for mifepristone that would

  allow a patient to pick the drug up at pharmacy. We were considering how to expand our

  telemedicine program, including using direct to patient telehealth, when mifepristone’s approval

  was suddenly up in the air. Mailing mifepristone would greatly expand the amount of care we are



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Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 8 of 10 Pageid#: 503
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 70 of 220 PageID 10383



  able to provide. We also weren’t sure if we could use the generic Genbiopro mifepristone we have

  used for years and acquired Danco’s mifeprex even though they are identical products.

           28.   We bought around $20,000 of Danco’s mifeprex that we did not even know we

  would ultimately be able to use, and we had to get registered with Danco. Trust Women is a small

  nonprofit, and we do not have the resources to stock years of mifepristone, but we bought what we

  could.

           29.   We were grappling with how to adjust when, hours before it was set to take effect,

  the U.S. Supreme Court put the Texas order on hold.

           30.   Throughout this time, we faced challenges in staffing the clinic. We work with 18

  doctors, and 16 of them fly in to Kansas to provide care. We had doctors on standby, but as changes

  occurred, we didn’t know exactly how to plan our physicians’ shifts.

           31.   We are not a part of any of these cases and have been left to sort out how—in all of

  this uncertainty—to continue to provide quality, evidence-based patient care. And so, for the third

  time in one year, we are going through a period where we have had to make rapid, senseless

  changes to our practice that have dramatically harmed patients.

           32.   Although the Supreme Court ultimately stayed that district court decision pending

  the appeals process in the Fifth Circuit and possibly a petition for certiorari, we remain extremely

  uncertain about our provision of mifepristone going forward, especially given that the Fifth Circuit

  is hearing argument in the case on May 17. Will we be able to use the mifepristone we have

  beyond a few weeks from now? If we can, under what conditions can we go ahead? What other

  decisions from the Texas court, other courts, or the FDA are going to interrupt our provision of

  mifepristone next?




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Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 9 of 10 Pageid#: 504
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 71 of 220 PageID 10384



         33.     Abortion is an essential and time-sensitive service that pregnant people need to

  have available in order to live their lives with dignity and independence, and to preserve their

  health and lives. I clearly recall a mother who was desperate to bring her daughter in for care after

  S.B. 8. They traveled 13 hours to see us. She called us every day for a week, and every hour on

  the day of their appointment to make sure they could be seen after they made the journey. This

  confusion and terror is the result of all of this legal chaos. It is simply cruel to put pregnant people

  through this insanity, and it is all but impossible for us as providers to navigate.

         34.     Though abortion is extremely safe, the risks and complexity increase as pregnancy

  progresses. Delays also increase the stress and burdens of maintaining an unwanted pregnancy.

  This is particularly true for patients who have a medical condition that makes pregnancy a

  significant health risk or who are pregnant as a result of sexual assault or incest.

         35.     And, being unable to have a medication abortion specifically causes significant

  harm to patients. Some patients prefer medication abortion with mifepristone because it allows

  them to complete the abortion in private or allows them to feel more in control of the procedure.

  For others, medication abortion with mifepristone may provide them with the flexibility they need

  to fit the abortion into their schedules. Because experiencing a medication abortion is nearly

  identical to a miscarriage, patients can choose not to reveal their abortion to disapproving partners,

  family, or friends. This is a particular benefit for those who may be victims of domestic violence

  who are trying to conceal the abortion from their abusive partners. Likewise, medication abortion

  may be preferred by patients who are victims of sexual assault because it avoids any re-

  traumatization that could occur with a surgical abortion. Medication abortion may also be

  medically indicated for some patients for a variety of reasons. At Trust Women Wichita in 2021,

  almost half of our abortion patients chose a medication abortion with mifepristone.



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                                                                                          App. 000876
Case 3:23-cv-00019-RSB-JCH Document 10-1 Filed 05/08/23 Page 10 of 10 Pageid#: 505
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 72 of 220 PageID 10385



          36.     If we are unable to get some certainty around our provision of medication abortion,

   we and our patients will continue to face disruptions and patients will thus be delayed in accessing

   care. We hope that the Court will preserve the status quo of our provision of mifepristone for the

   pendency of the litigation.



   DATED: 5/5/2023




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Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 73 of 220 PageID 10386




                               EXHIBIT 49

             Declaration of Nicole Smith PHD, MPH




                                                                   App. 000878
Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 1 of 12 Pageid#: 506
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 74 of 220 PageID 10387



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA



    WHOLE WOMAN’S HEALTH ALLIANCE; et al.,

                                       Plaintiffs,

            v.

    UNITED STATES FOOD AND DRUG
    ADMINISTRATION; et al.,

                                 Defendants.
                                                            Case No. 3:23-cv-00019-NKM




     DECLARATION OF NICOLE SMITH PHD, MPH, IN SUPPORT OF PLAINTIFFS’
                MOTION FOR A PRELIMINARY INJUNCTION
           NICOLE SMITH, PhD, MPH declares under penalty of perjury that the following is true

  and correct:

          1.      I am the Executive Director of Blue Mountain Clinic (the “Clinic”), a family

  practice and primary care services clinic in Missoula, Montana. Blue Mountain Clinic is one of

  the plaintiffs in this case.

          2.      For the past 46 years, Blue Mountain Clinic has provided patient-centered and

  evidence-based health care, education, and advocacy in Missoula County and beyond. Blue

  Mountain Women’s Clinic first opened in 1977 as the first and only abortion clinic in the state of

  Montana. In 1991, the Clinic expanded its health services to include comprehensive family medical

  care to better serve its community.

          3.      I have been the Executive Director of Blue Mountain Clinic since August 2021. As

  Executive Director, I oversee all aspects of the Clinic’s work, including the overall business

  operations of the Clinic, human resources and personnel management, fundraising, and budgeting,

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Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 2 of 12 Pageid#: 507
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 75 of 220 PageID 10388



  as well as day-to-day clinic operations. I supervise our two medical directors who, in turn, oversee

  clinical operations. As a result, I am familiar with all aspects of the Clinic’s work and patient care.

         4.      I am a fourth generation Montanan, and I have two decades of experience working

  on sexual and reproductive health in a variety of settings. Prior to joining Blue Mountain Clinic, I

  worked as a Research Scientist for the Center for Children, Families, and Workforce Development

  at the University of Montana College of Health. I have a PhD in Health Behavior from Indiana

  University’s School of Public Health, a Master’s degree in Public Health from Portland State

  University, and a Bachelor’s degree in Psychology from Carroll College. I have published twenty

  peer-reviewed academic research articles, including one peer-reviewed commentary on the safety

  and efficacy of mifepristone.

                                    Access to Abortion in Montana

         5.       Montana is a large and mostly rural state, with total size measuring over 147,000

  square miles and is the fourth largest state in the country. With just over one million residents,

  Montana ranks 44th in population size. However, the state’s population size grew by 11.5%

  between 2010 and 2021, highlighting the growing influx of new residents to the state. Montana is

  home to 13 federally recognized Tribes; seven sovereign Reservation communities are located in

  the state. Indigenous individuals comprise the state’s largest minority racial group, representing

  7% of Montana’s population. Indian Health Services, a federal program, is subject to the

  restrictions of the Hyde Amendment and therefore abortion care is not available through IHS

  clinics located in Reservation communities. The state’s largest population centers include Billings,

  Bozeman, Kalispell, Missoula, Helena, and Great Falls.

         6.      Abortion clinics are located in Billings, Missoula, Helena, Great Falls, and

  Whitefish, all except Billings are located on the western side of the state. The majority of residents



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Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 3 of 12 Pageid#: 508
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 76 of 220 PageID 10389



  living in eastern Montana must travel several hundred miles and up to seven hours of driving time

  one-way, to reach a brick-and-mortar abortion provider. The eastern-western regions of Montana

  are separated by the Continental Divide of the Rocky Mountains. This means that for all seasons

  except a short three-to-four months of summer, drivers will frequently encounter hazardous road

  conditions that add logistical and travel barriers to accessing health care in western Montana’s

  more urban city centers.

         7.      Montana is a critical site of access to abortion for people in the greater Northern

  Rockies and Plains regions. Abortion has never been as accessible in the region as it should be,

  but, since the U.S. Supreme Court overruled Roe, access has grown exponentially worse. Each of

  Montana’s neighboring states—North Dakota, South Dakota, Wyoming, and Idaho—have passed

  draconian abortion bans, meaning that, today, Montana is bordered on all sides by states that have

  banned abortion, or where a court order has blocked an abortion ban. Despite escalating legislative

  attacks, discussed more below, Montana itself has retained a baseline for access to abortion, as a

  result of strong state constitutional protections for abortion.

                           Blue Mountain Clinic’s Practice and Our Patients

         8.      Blue Mountain Clinic fully integrates family medicine, mental health counseling,

  reproductive and sexual health care, comprehensive gender-affirming care, and suboxone therapy

  into its medical practice. The Clinic has four full-time primary health care providers who are

  licensed to practice in Montana: two physicians and two physician assistants. We also have one

  licensed clinical social worker (LCSW) on staff who provides mental healthcare and counseling

  services.

         9.      The Clinic serves over 3,000 patients per year, accounting for over 7,000 visits. For

  many of them, Blue Mountain Clinic is their medical home—they turn to us whenever they need



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Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 4 of 12 Pageid#: 509
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 77 of 220 PageID 10390



  health care.

         10.     About 25% of Blue Mountain Clinic’s patients travel more than 50 miles (which

  takes approximately one hour or longer one-way, given weather and road conditions) to access

  services at the Clinic. Some travel even further, for example, from Deer Lodge—which is about

  85 miles and over an hour and a half away. Others make use of the direct-to-patient telehealth

  program for abortion, and do not need to make this in-person trip.

         11.     Blue Mountain Clinic’s family medicine practice offers care from pediatric care to

  elder care, and includes wellness exams, internal medicine, preventative care, and mental health.

  All four of the Clinic’s primary health care providers serve patients as part of the Clinic’s family

  medicine practice.

         12.     Blue Mountain Clinic’s abortion care practice offers two options: medication

  abortion up to 11 weeks LMP and procedural abortion up to 21.6 weeks LMP. There are a few

  regimens for medication abortion, including mifepristone-misoprostol and misoprostol alone. For

  over two decades, Blue Mountain Clinic has used an evidence-based mifepristone-misoprostol

  regimen, and we have always had at least one provider who is a certified mifepristone prescriber.

         13.     In 2022, the Clinic launched its direct-to-patient telehealth program for medication

  abortion. This model enables patients to access abortion care without having to travel to the Clinic

  for an abortion. Patients consult with a provider remotely, and after counseling on the patient’s

  options, including the risks and benefits of each, a review of patient medical history, confirmation

  of the patient’s eligibility for medication abortion, and obtaining informed consent, the provider

  writes a prescription for medication abortion and abortion pills are mailed to the patient in

  Montana.

         14.     One of Blue Mountain Clinic’s physicians provides both procedural and medication



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Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 5 of 12 Pageid#: 510
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 78 of 220 PageID 10391



  abortion care, five days a week. Each physician assistant provides medication abortion in-person

  and via direct-to-patient telehealth, four days a week. Blue Mountain Clinic also has one locum

  (contract) physician who works in the Clinic on a contract basis, primarily to provide abortion care

  up to 21.6 weeks LMP or when no other clinician is available. Because the Clinic’s physician

  assistants provide medication abortion, the Clinic prioritizes scheduling physicians to care for

  patients in need of procedural abortions.

         15.      In 2022, Blue Mountain Clinic provided about 400 abortions. Almost 40% of those

  abortions were for patients who are insured through Medicaid (which covers abortion care in

  Montana), and who are the most financially vulnerable in the state. Our patients seek abortion care

  for a variety of health, family, economic, and personal reasons. Many are parents who have decided

  that they cannot parent another child at that time, and some are young people who do not feel ready

  to carry a pregnancy to term because they want to pursue school or work opportunities. Others

  face serious health issues that make it dangerous to continue a pregnancy, some are in abusive

  relationships; and some patients we care for are pregnant as a result of rape or incest.

         16.     The availability of abortion care enables patients not to forego educational and

  economic opportunities due to unplanned childbirth, to provide care to existing family members,

  to avoid raising children with an absent, unwilling, or abusive partner, and to prevent health harms,

  pain, and suffering that can arise from carrying pregnancies to term and giving birth.

                           The 2023 REMS are Harmful and Unnecessary

         17.     Mifepristone is incredibly safe and effective, and our patients are highly satisfied

  with the medication abortion regimen they have been accessing for years. No other similarly safe

  drug is subject to a byzantine set of rules that do not advance patient care. Instead, the REMS

  simply contributes to the incorrect idea that mifepristone is unsafe and prevents it from being more



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Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 6 of 12 Pageid#: 511
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 79 of 220 PageID 10392



  widely accessible.

         18.     Requiring our patients to sign the Patient Agreement and to have the Medication

  Guide adds unnecessary logistical mandates while providing care and it suggests to patient, and to

  the public, that mifepristone is unsafe when it is not. Despite the far greater risk that continuing a

  pregnancy and giving birth can entail, there is no requirement that our prenatal patients be given

  several pages of special instruction about the option of continuing a pregnancy—beyond what

  informed consent requires. For patients experiencing miscarriage, stating they are taking

  mifepristone “to end my pregnancy” can add confusion and pain to an already distressing

  experience.

         19.     Requiring prescribers of mifepristone and pharmacies that dispense mifepristone

  be specially certified means mifepristone is simply not as widely available as it should be. Blue

  Mountain Clinic is a family practice, that, unlike many other family practices, incorporates

  abortion care—and goes through the extra hurdles that sometimes requires. But, we—and our

  fellow family practice providers—should be able to simply write a prescription for mifepristone

  that our patients can pick up at their local pharmacy, as we do with all other medications with a

  similar safety and efficacy profile. Requiring both the clinician prescriber and the pharmacy to go

  through additional steps to be certified means, as a practical matter, mifepristone will be less

  available for our patients than medications that are just as critical to patient care and of comparable

  safety. We know from documented research that many family medicine, internal medicine, and

  OB/GYNs want to prescribe mifepristone for abortion care, but their hospital or clinic regulations

  prevent them from becoming certified prescribers because of the hyper-regulations of REMS




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Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 7 of 12 Pageid#: 512
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 80 of 220 PageID 10393



  requirements for this medication.1 Removing the REMS regulations would significantly expand

  the available pool of health care providers who could and who would prescribe mifepristone for

  abortion care and for miscarriage management.

          20.     The REMS requirements are severe and, in light of the chaos we have experienced

  in the last year, and how irrational these regulations are, the disruptions and the misinformation

  that has resulted, has become increasingly harmful. We are challenging them now so that we can

  devote more of our time to patient care and not to senseless paperwork that has the potential to

  compromise patient privacy and confidentiality and does not make administration of mifepristone

  any safer than it already is.

             The REMS Contributes to the Chaos for Abortion Providers and Our Patients

          21.     Blue Mountain Clinic has provided abortion care for over 46 years. The chaos and

  uncertainty about the status of mifepristone—because it is used in abortion care, and, for that

  reason, it is subject to special, unnecessary rules— is part and parcel of the disruption that Blue

  Mountain Clinic has had to endure simply because it provides abortion care.

          22.     This year’s state legislative session was one of the most heated on record. At one

  point, Blue Mountain Clinic was advocating against 13 egregious bills which seek to significantly

  restrict abortion access, and another five bills which discriminate against LGBTQ Montanans. The

  bills also perpetuate lies and inflammatory language meant to shame and stigmatize. None of them

  improve health outcomes or increase access to healthcare for families. Multiple proposed laws and

  policies included immediate or near-immediate effective dates, indicating that, should they become

  law, they could require Blue Mountain to immediately retool or fundamentally overhaul our



  1
   Silpa Srinivasulu, et al., US clinicians’ perspectives on how mifepristone regulations affect access to
  medication abortion and early pregnancy loss care in primary care, 104 Contraception 92 (July 2021),
  https://www.sciencedirect.com/science/article/pii/S0010782421001335.

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Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 8 of 12 Pageid#: 513
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 81 of 220 PageID 10394



  practice.

         23.      Blue Mountain Clinic is now also contending with the threats to mifepristone. The

  clinic developed medication abortion protocols to implement should mifepristone be considered

  unusable as a result of any court order in the Texas Alliance case. Because we had only been

  certified prescribers with GenBioPro, the manufacturer of generic mifepristone, we ensured our

  clinicians were also certified prescribers with Danco, the manufacturer of Mifeprex, the brand

  name mifepristone, should that become the only version we could use—even though they are the

  same product.

         24.      And we have tracked the fast-paced, dizzying legal process, the outcome of which

  could, at a moment’s notice, impact whether and how Blue Mountain prescribes mifepristone.

  First, on April 7, the Texas court issued a ruling claiming to take mifepristone off the market, while

  putting the order on hold for 7 days. Five days later, on April 12, the Fifth Circuit indicated it was

  further modifying mifepristone’s status—although the drug would still be on the market, we were

  going back to a time when a pre-2016 version of the REMS governed, and the generic had not yet

  been approved. Two days later, the U.S. Supreme Court kept this on hold until April 19 and then

  extended that until April 21. On April 21, the U.S. Supreme Court issued a stay of the Texas court’s

  preliminary injunction, pending appeal of that injunction at the Fifth Circuit and pending any

  request that the Supreme Court review what the Fifth Circuit decides.

         25.      I also understand that another lawsuit was filed in Washington State by 17 states

  and the District of Columbia, where a court enjoined the FDA enforcing the Alliance order in those

  states. Montana did not join with the other plaintiffs in that case, and Blue Mountain is not

  protected by that order. Instead, Montana’s attorney general has asked to intervene in that case to

  restrict access to mifepristone, despite pre-viability abortion being legal in Montana.



                                                    8

                                                                                        App. 000886
Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 9 of 12 Pageid#: 514
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 82 of 220 PageID 10395



         26.     During this period of instability, Blue Mountain marked on March 29 the 30-year

  anniversary of the devastating arson which destroyed the clinic in 1993. As we reflect on that

  somber anniversary, we are once again working to provide high-quality care in an environment

  meant to stoke anger and violence. And the disruptions in the delivery of health services—whether

  caused by direct harassment and violence, or obstruction and intimidation in the form of constantly

  changing laws and policies that impact the care we provide—harm our patients in similar ways.

  As Willa Craig, the Executive Director of the Clinic at the time of the 1993 firebombing, said then,

  it is not only our patients seeking abortion care who are impacted by anti-abortion harassment, but

  also “our prenatal patients, the families that we have served over the years in every way, by

  delivering their babies and immunizing their children, to the patients of our internist who provides

  care for our many elderly patients, and our therapist who spends much of her time in adoption

  counseling.”

         27.     Our busy family practice works to be nimble and accommodating—to best serve

  our patients and our staff. One of our physicians, whose family medicine practice includes abortion

  care, is currently booked months out for family medicine appointments. Abortion is time-sensitive

  health care, and Blue Mountain Clinic works to schedule appointments for patients seeking

  abortion care as soon as we are able to. We are the only clinic in Montana that provides abortion

  care five days per week. The threat of ever-changing law and policy disrupts and strains our

  clinicians, administrative staff, and confuses our diverse patient population, to the point where

  patients may believe medication abortion is no longer a legal option for them. Each of us needs to

  be able to plan, to know what our schedule will look like the next day or the next week (to the best

  we are able), and so any energy spent on emergencies is about emergent issues our patients bring

  to us— emergencies should not be foisted upon us by courts or legislators.



                                                   9

                                                                                       App. 000887
Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 10 of 12 Pageid#: 515
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 83 of 220 PageID 10396



                              Disrupting Access to Mifepristone By Mail

          28.     Although Blue Mountain Clinic’s direct-to-patient telehealth abortion program for

   medication abortion is relatively new, it is critical for our patients who face the most challenges

   accessing in-person care, including those who would be traveling from more rural areas,

   Indigenous individuals who must travel from Reservation communities where there is no abortion

   access, people with disabilities, and people who struggle with gas money or those who do not have

   adequate transportation (like vehicles that can handle Montana’s harsh winter weather). People

   who need to keep their abortion confidential because they live with an abusive partner, people who

   do not have control over their work schedule, or those who have to arrange for childcare, also

   benefit from the comparative ease of our direct-to-patient telehealth program.

          29.     For some, the requirement of an in-person visit is insurmountable and would cause

   patients to forgo abortion care. Others would try to manage the logistical arrangements—from time

   off of work or school, to childcare, and adequate transportation—but gathering the money for all

   of that can take time, pushing people further into pregnancy, and increasing the actual costs of

   obtaining an abortion later in pregnancy. Delay means a person continues to endure the symptoms

   and risks of pregnancy, and it can mean they are pushed too far to be eligible for a medication

   abortion or pushed beyond the point at which abortion is available in Montana.

          30.     As already noted, Montana is a huge and mostly rural state. Accessing medication

   abortion via direct-to-patient telehealth can be the difference between accessing abortion care or

   not. Reinstating a ban on dispensing mifepristone by mail would take mifepristone off the table as

   an option for these patients, who otherwise may be unable to make the in-person visit for a

   procedural abortion. As the FDA already acknowledges, there is simply no valid reason to turn the

   clock back and reimpose this barrier to a safe, effective medication that has been on the market for



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                                                                                        App. 000888
Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 11 of 12 Pageid#: 516
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 84 of 220 PageID 10397



   23 years.

                              Restricting Certified Prescribers to Physicians

          31.     Blue Mountain Clinic has long relied on advanced practice clinicians to provide

   care, including abortion care. We currently have two physician assistants, both of whom provide

   medication abortions, and one of whom has done so for over 15 years. They are both exceptional,

   compassionate providers who our patients rely on for sensitive, essential care. State law has

   required that physician assistants practice under the supervision of a physician (for any care they

   provide, not only abortion care). Just last month, however, Montana passed a law (which also took

   effect immediately) that removed the physician supervision requirement, paving the way for

   further expansions in access to care for Montanans.

          32.     At the very same time, the REMS threatens to move mifepristone provision

   backward. Reinstating a requirement that permits advance practice clinicians, including PAs, to

   provide mifepristone, but requiring that a physician be the certified mifepristone prescriber—to

   order and prescribe the medication—makes no sense, undermines the licenses and contributions

   of advance practice clinicians, and overall, will limit access to this safe, essential medication.

          33.     Additionally, I understand that rolling back to the pre-2016 REMS threatens

   patients’ access to mifepristone from All Families Healthcare, where the only clinician is a nurse

   practitioner. Blue Mountain Clinic is the next closest provider—though still approximately a three-

   hour drive one-way. When there was no abortion provider in the Kalispell area from around 2014

   to 2018, before All Families Healthcare opened in 2018, Blue Mountain Clinic’s clinicians were

   far busier with abortion patients. Reinstating the physician-only restriction for certified

   mifepristone providers would propel us backward and would increase travel barriers for

   Montanans for no valid reason whatsoever.



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                                                                                          App. 000889
Case 3:23-cv-00019-RSB-JCH Document 10-2 Filed 05/08/23 Page 12 of 12 Pageid#: 517
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 85 of 220 PageID 10398



           34.     Decades of evidence and experience demonstrate that medication abortion with

   mifepristone is safe, effective, and the preferred option for many patients. As people in the health

   care field, we are trained to follow evidence and experience. There is no reason to continue

   maintaining the REMS at all. At a minimum, however, maintaining the 2023 REMS as the legal

   processes proceed would provide Blue Mountain Clinic, our providers, and patients, some

   certainty and stability.




   Nicole Smith




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                                                                                        App. 000890
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 86 of 220 PageID 10399




                               EXHIBIT 50

        Declaration of Helen Weems MSN, APRN-FNP




                                                                   App. 000891
Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 1 of 10 Pageid#: 518
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 87 of 220 PageID 10400



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA



    WHOLE WOMAN’S HEALTH ALLIANCE, et al.,

                                   Plaintiffs,

            v.

    UNITED STATES FOOD AND DRUG
    ADMINISTRATION, et al.,

                                    Defendants.
                                                              Case No. 3:23-cv-00019-NKM




          DECLARATION OF HELEN WEEMS MSN, APRN-FNP, IN SUPPORT OF
             PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
          HELEN WEEMS, MSN, APRN-FNP declares under penalty of perjury that the following

  is true and correct:

          1.      I am a nurse practitioner licensed to practice in Montana, and one of the plaintiffs

  in this case. I am the founder, owner, and sole clinician at All Families Healthcare (“All Families”),

  a sexual and reproductive health clinic in Whitefish, Montana, which opened in 2018.

          2.      I am also the only clinician providing abortion care in Northwest Montana. The

  next closest abortion provider is almost a 3-hour drive away, each way. Before All Families opened

  in 2018, the Northwest region had been without an abortion provider since 2014. And, prior to

  2014, another advanced practice clinician—Susan Cahill, a physician assistant—was the only

  abortion provider in the region for many years.

          3.      I have a master’s degree of science in nursing, family practice, from Vanderbilt

  University in Nashville, Tennessee. I am an advanced practice registered nurse, and I have been



                                                    1

                                                                                        App. 000892
Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 2 of 10 Pageid#: 519
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 88 of 220 PageID 10401



  board certified in family practice since 1999. I have full and independent practice authority in

  Montana—I do not practice in any official collaborative or supervisory relationship with a

  physician. I also have independent prescriptive authority from the Montana Board of Nursing.

  Additionally, I have a U.S. Drug Enforcement Authority (“DEA”) license, which permits me to

  prescribe schedule II through V controlled substances.

           4.    For 22 years, I have provided health care services as a certified nurse practitioner.

  I have always provided patient-centered care based on trust and respect for my patients’ decisions

  and use that same approach at All Families.

           5.    All Families serves nearly 600 patients per year, accounting for approximately

  2,000 patient visits. We provide comprehensive sexual and reproductive health care services,

  including LGBTQ+ care and gender-affirming care; gynecological exams; same-day access to the

  full spectrum of contraceptive options, including insertion of IUDs and implants; diagnosis and

  treatment of sexually transmitted infections; miscarriage management; and abortion services.

           6.    At All Families, I provide medication abortion up to 11 weeks LMP and aspiration

  abortions up to 12 weeks and 6 days LMP. In 2022, I provided approximately 260 abortions.

  Medication abortion makes up well over half of the abortion care I provide—so far in 2023,

  medication abortion has been between 65% and 90% of the total abortion care I provide each

  month.

           7.    There are multiple regimens for medication abortion, including with mifepristone

  and misoprostol and with misoprostol alone. Since I became a certified mifepristone provider in

  2018, I have used a mifepristone-misoprostol regimen for medication abortion. Patients obtain the

  medications from me at the clinic, or via mail after a telehealth visit (also called “direct-to-patient”

  telehealth). During a telehealth visit, I consult with a patient remotely about their available options,



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                                                                                          App. 000893
Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 3 of 10 Pageid#: 520
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 89 of 220 PageID 10402



  review their prior medical history, and confirm the patient is eligible for medication abortion. I

  then write a prescription for mifepristone and misoprostol, which are dispensed via mail to the

  patient in Montana.

          8.     The mifepristone-misoprostol regimen for medication abortion is safe, effective,

  and evidence-based, and mifepristone is one of the safest medications available. While

  misoprostol-only is also a safe, effective, and evidence-based regimen used worldwide for

  medication abortion, mifepristone is a medical advancement that is preferable for many patients.

  The mifepristone-misoprostol regimen tends to have fewer uncomfortable side effects for patients.

  Evidence suggests that mifepristone is more effective than misoprostol alone, meaning there is a

  lower likelihood of ongoing pregnancy which would require follow up care—either additional

  medication or a procedure. Where both regimens are available, I prefer to use the mifepristone-

  misoprostol regimen. And my patients deserve the benefit of that medical progress.

          9.     My patients seek abortion services for a variety of reasons: some lack the financial

  means to raise a child; others are not ready to become a parent; many have physical and emotional

  health issues that would be exacerbated by continuing a pregnancy. In every circumstance, my

  patients deserve to be able to make the best decision for themselves, in consultation with the people

  they trust.

          The 2023 REMS Has Imposed Unnecessary Restrictions on Patients and Providers

          10.    As a small, sole clinician practice in Whitefish, Montana, I am used to being nimble

  and innovative, to best serve my patients. As an abortion provider, however, each year, I am forced

  to confront increasing instability from hostile policies meant to undermine—not improve—the

  care I provide my patients.

          11.    The uncertain status of mifepristone is yet another one of those measures. The mere

  fact that it is subject to a REMS without any valid reason contributes to the idea that mifepristone
                                                   3

                                                                                        App. 000894
Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 4 of 10 Pageid#: 521
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 90 of 220 PageID 10403



  is unsafe and provides anti-abortion activists with unfortunate opportunities to further interfere

  with its accessibility.

          12.     The additional paperwork—the Patient Agreement and Medication Guide—

  suggests to patients that there is something to be concerned about with mifepristone, above and

  beyond other drugs that are equally safe.

          13.     For example, just before the Patient Agreement was updated in 2023, it included a

  statement that patients agreed to bring the Medication Guide to an emergency room in the rare

  event that they sought such care. But there is no reason for patients to take the Guide with them.

  And doing so can expose them to anti-abortion harassment and hostility in a health care setting

  where they deserve and should be able to expect compassion and care. Patients who take

  mifepristone for miscarriage are at the same risk because the Guide speaks about taking

  mifepristone for abortion.

          14.     The current Patient Agreement and Medication Guide can continue to be confusing

  for patients. For instance, both instruct that a patient take misoprostol 24 to 48 hours buccally after

  mifepristone. That does not account for the evidence-based protocol for vaginal administration of

  misoprostol, in which a patient takes misoprostol 6 to 72 hours following mifepristone. This

  protocol can be preferable for some patients who need or want more control over the timing of the

  medication abortion process—for example, for emotional reasons, or childcare or work

  constraints.

          15.     The special certification requirements for prescribers and pharmacists gate-keep

  access to mifepristone for no valid reason. Pharmacy certification means mifepristone is only

  available at select pharmacies that go through the hoops to become certified. It puts up an

  unnecessary roadblock for pharmacies that effectively prevents me from writing a prescription for



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Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 5 of 10 Pageid#: 522
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 91 of 220 PageID 10404



  mifepristone a patient could pick up at local pharmacy as they do for many medications. And the

  prescriber certification and agreement requirements are unnecessary roadblocks for health

  professionals who can otherwise prescribe medications under their state licenses.

                   The Increasingly Hostile Legal and Policy Environment in Montana

         16.       When my clinic opened, I had to sue the State to block a criminal law that prevented

  me from providing abortion care because I am a nurse practitioner, rather than a physician. No

  similar law prevents me from providing the identical care to patients who need it to manage a

  miscarriage. The law I challenged prevented me from providing abortion care simply because it is

  abortion care. That law has been blocked since shortly after All Families opened in 2018. But, with

  each step in the judicial process, I wait for a court to decide whether I will be able to continue to

  provide abortion care I have been providing safely in Montana for 5 years.

         17.       In 2021, during the COVID-19 pandemic—which itself caused health care

  practices to quickly adjust to new circumstances—I and other Montana abortion providers waited

  on whether a court would block a set of abortion restrictions. One of those laws would have ended

  All Families’ medication abortion by mail program, which had then become (and remains) critical

  to reach patients whose schedules make it challenging to make an in-person clinic visit or who live

  hours away, in remote rural areas of this vast state, or who opt to have an abortion in the privacy

  of their home.

         18.       Again this year, the State passed numerous restrictions on abortion, some with

  immediate or near-immediate effective dates. Individually and together, these policies could—on

  a moment’s notice—decimate access to abortion care in Montana, which, today is bordered on all

  sides by states that have banned abortion, or where a court order has put a ban on hold. The

  instability into which mifepristone has been thrown—and therefore thrown my clinic and my

  patients—is no different.
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                                                                                        App. 000896
Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 6 of 10 Pageid#: 523
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 92 of 220 PageID 10405



                              The Chaos Created by the Texas Alliance Case

         19.     In advance of the Texas district court’s ruling in the Alliance case, I developed

  medication abortion protocols without mifepristone. On Friday, April 7, the Texas ruling came

  down, apparently ordering mifepristone off the market. But the order would not take effect for 7

  days. Then on Wednesday, April 12, the Fifth Circuit ruled, apparently ordering that, although

  mifepristone might still be on the market, we were going backward almost a decade, to the pre-

  2016 rules under which the generic form of the drug was no longer approved; I, as a nurse

  practitioner, could not be a certified mifepristone prescriber as I have been for 5 years; and All

  Families apparently would not be able to maintain its mifepristone by mail program with

  mifepristone. Additionally, for several years I had been a certified prescriber with GenBioPro (the

  generic manufacturer). After the Fifth Circuit ruled, I communicated with Danco (the manufacturer

  of the brand name drug) to ensure I remained a certified prescriber with Danco in case even though

  they are the same product, the generic became unavailable as the Fifth Circuit ruled—and

  assuming there was a way I could remain a certified prescriber as a nurse practitioner at all.

         20.     While still trying to sort through which set of rules abortion care might be governed

  by on Monday, the U.S. Supreme Court granted on Friday, April 14, another short pause—until

  11:59 pm Eastern Time on Wednesday, April 19. That stay was then extended another two days,

  until Friday, April 21, at 11:59 pm Eastern. As I waited for notice from yet another court, I had to

  consider: When I saw patients on Tuesday, April 25, what set of restrictions would mifepristone

  be subject to? Would I be able to prescribe it? How much notice will my patients and I have? And

  what will the next weeks and months bring in this legal back and forth?

         21.     On Friday, April 21, the U.S. Supreme Court issued a stay that kept the status quo—

  the lower court orders would not take effect pending the Fifth Circuit’s consideration of the appeal,

  and through the U.S. Supreme Court’s review of that appeal, if that review occurs. For the next
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                                                                                        App. 000897
Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 7 of 10 Pageid#: 524
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 93 of 220 PageID 10406



  few weeks, then, mifepristone would remain available, subject to 2023 restrictions. The legal back

  and forth, however, is not over. I still need to pay close attention to rapid legal developments in

  cases I am not involved in—unlike most other health care providers.

         22.     This is not how any other type of health care is practiced. It is not how any other

  small business is expected to operate. And it is not how any other patients are treated. Patients need

  to know whether they will be able to have their appointment the next day. I need to know whether

  I will see a patient the day they are scheduled. Especially as a small, solo practice, I need to know

  that when I buy medication, I will be able to use it. The instability and disruption my patients and

  I face simply because I provide and they seek abortion care is unrelenting, unjust, and unnecessary.

  It is also a deliberate effort to eliminate access to safe, compassionate abortion care.

         23.     I understand that a competing lawsuit brought in federal district court in

  Washington by 17 states and the District of Columbia has resulted in an order enjoining the FDA

  from enforcing the Alliance order in those states. Montana did not join that case initially, and I am

  not protected by that order. In fact, Montana’s attorney general had asked to join the case as an

  intervenor to restrict the availability of mifepristone.

         24.     The threat of court orders turning back time to try to reinstate restrictions on

  mifepristone that were in place years ago remains. For example, the changes to the FDA’s

  regulations that the Fifth Circuit ordered on April would be devastating to my practice.

                   Restricting Certified Mifepristone Prescribers to Physicians Only

         25.     Reinstating the physician-only certified prescriber requirement would mean I could

  no longer prescribe mifepristone as I have done for the last 5 years. As the only clinician at All

  Families, I am also the only certified mifepristone prescriber. Although the pre-2016 REMS

  permitted advance practice clinicians to provide mifepristone under the supervision of a physician



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Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 8 of 10 Pageid#: 525
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 94 of 220 PageID 10407



  who is a certified prescriber, I do not work with a physician, and do not need a physician to

  prescribe mifepristone. As the only clinician at All Families and the only abortion provider in

  Northwest Montana, reverting to the old physician-only certified prescriber requirement could

  leave patients with no mifepristone provider.

          26.     Advanced practice clinicians have been critical to maintaining or restoring access

  to abortion in this region—including access to mifepristone—and this requirement would once

  again cut off that access.

          27.     Additionally, the requirement denies patients access to their chosen provider if that

  provider is me simply because I am a nurse practitioner. I have developed trusting relationships

  with my patients who come to me seeking intimate care. For 5 years I have provided that care with

  respect and compassion, free of judgment. This has made All Families a staple in Whitefish,

  beloved by the community. But preventing patients from accessing a safe, effective medication

  from me—for no other reason than an arbitrary distinction based on my credentials, not my

  experience or expertise—and in conflict with state licensure, makes no sense. It is unnecessary,

  disruptive for the patient, and strips them of a right to see a provider they trust.

          28.     Further, All Families’ access to mifepristone will impact people from across

  Montana who seek medication abortion from me. Under the reinstated requirement, those patients,

  too, could seek this elsewhere—at one of the few clinics with physicians who provide abortion

  services in this state.

          29.     As the FDA itself concluded, restricting certified mifepristone prescribers to

  physicians only goes against overwhelming evidence and experience, including in Montana, which




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                                                                                         App. 000899
Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 9 of 10 Pageid#: 526
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 95 of 220 PageID 10408



  demonstrate that advanced practice clinicians independently provide safe and effective abortion

  care on par with our physician counterparts. A consensus in the medical community agrees.1

          30.     Just as there is no reason to single out abortion care from the other care I provide,

  there is no reason to single out the mifepristone-misoprostol regimen simply because I am the

  clinician prescribing it. I can continue to prescribe potentially dangerous and addictive drugs,

  including, for example, Tylenol with codeine. Mifepristone is demonstrably safer than these

  medications, and, as the FDA itself knows, there is simply no valid reason to go backward and

  limit access to it.

                                     Banning Mifepristone By Mail

          31.     More than half of all the abortion care I provide is medication abortion and more

  than half of the medication abortion care I provide is medication abortion by mail. That expansion

  in care opened up when a court order blocked the FDA from enforcing the in-person dispensing

  requirement in 2020. The FDA then temporarily suspended the requirement in 2021 and solidified

  that by updating the REMS in 2023 to eliminate this requirement.

          32.     The availability of mifepristone by mail has been critical to my patients. It provides

  flexibility and discretion, particularly for those who cannot take time from work, find childcare,

  or whose privacy would be jeopardized by making an in-person visit. It is also ideal for my many

  patients who live in the remote, rural regions of the state, which can be hours from All Families or

  the nearest clinic. Some live in the northeastern part of the state, about 9-10 hours away, and would

  otherwise have to travel through treacherous mountain passes and inclement weather to access




  1
   E.g., Nat’l Academies of Sciences, Engineering, and Medicine, Committee on Reproductive
  Health Services, The Safety and Quality of Abortion Care in the United States (2018); Tracy A.
  Weitz, et. al., Safety of Abortion Performed by Nurse Practitioners, Certified Nurse Midwives, and
  Physician Assistants Under a California Legal Waiver, 103 Am J. Pub. Health 454-461 (2013).
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Case 3:23-cv-00019-RSB-JCH Document 10-3 Filed 05/08/23 Page 10 of 10 Pageid#: 527
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 96 of 220 PageID 10409



   abortion care. Patients may not have gas money or cars that can reliably and safely make it on

   these roads.

          33.     As the FDA’s own decision to remove the ban on dispensing mifepristone via mail,

   reinstating the ban on mailing would propel patient care backward, with absolutely no benefit.

          34.     Before launching the medication abortion by mail program, patients would cancel

   or not show up to in-person appointments. During follow up calls, patients would say that

   something came up that made making the appointment impossible: they could not take off from

   work, a family member did not show up to take care of the kids, their car had broken down or

   could not handle the weather, they could not afford gas to travel to the clinic, or they could not

   discretely attend the appointment for fear of someone finding out. Since starting our telehealth and

   mail program, cancellations or no-shows are far more rare, and patients are able to access private,

   time-sensitive, safe and effective abortion care.

          35.     There is no basis to continue any of these restrictions in light of the established

   safety of mifepristone.

          36.     Providing high-quality abortion care in an increasingly hostile environment is

   challenging enough without having to contend with the fallout from the Texas Alliance case. At a

   minimum, having certainty that the status quo of regulation to which mifepristone was subject on

   April 7, 2023, applies, would allow All Families to continue to provide basic, safe, and effective

   care for our patients.



   DATED: May 5, 2023




   Helen Weems, APRN-FNP


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                                                                                        App. 000901
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 97 of 220 PageID 10410




                               EXHIBIT 51

               Declaration of Amy Hagstrom Miller




                                                                   App. 000902
Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 1 of 12 Pageid#: 528
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 98 of 220 PageID 10411



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA

    WHOLE WOMAN’S HEALTH ALLIANCE, on
    behalf of itself, its staff, and its patients; et al.,

                                     Plaintiffs,

            v.

    UNITED STATES FOOD AND DRUG
    ADMINISTRATION; et al.,

                                      Defendants.              Case No. 3:23-cv-00019-NKM



                 DECLARATION OF AMY HAGSTROM MILLER IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

          AMY HAGSTROM MILLER hereby declares under penalty of perjury that the following

  statements are true and correct.

          1. I provide the following testimony based on my personal knowledge and review of

  Whole Woman’s Health Alliance’s, Whole Woman’s Health’s, and Whole Woman’s Health of the

  Twin Cities, LLC’s business records in support of Plaintiffs’ Motion:

          2.       The clinics I operate are independent abortion providers, or abortion clinics that

  are not affiliated with any national organization (such as Planned Parenthood). Independent

  abortion providers provide approximately 60% of abortion care in the country.

          3.       I have been working in the abortion care field since 1989. I have done virtually

  every clinic job over the past three decades, from receptionist to sonographer to pathology

  technician to surgical assistant to counselor. I have spent thousands of hours talking with

  abortion patients over the course of my career. In my current role, I oversee all operations at the

  WWH and WHHA clinics as well as WWH’s Virtual Program, from staff management, to clinic




                                                                                        App. 000903
Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 2 of 12 Pageid#: 529
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 99 of 220 PageID 10412



  security, to clinical services for patients. I am thoroughly familiar with all aspects of abortion

  clinic operations and patient care.

          4.     WWH was founded in 2003 and we have been providing medication abortion

  from the beginning. I, along with our clinicians, management, and staff, have lived through each

  iteration of the FDA’s changes to the approval, labeling, and safety requirements of mifepristone.

  We have operated within the constraints of the Risk Evaluation and Mitigation Strategy

  (“REMS”) which, far from improving our patients’ experience with mifepristone, has made it

  more burdensome and difficult for patients to access. While each iteration of the REMS has

  posed challenges to our staff and our patients, the last several weeks have been the most

  challenging.

                               Whole Woman’s Health of Charlottesville

          5.     I am the President and Chief Executive Officer (“CEO”) of Whole Woman’s

  Health Alliance (“WWHA”).

          6.     WWHA is a nonprofit organization incorporated under Delaware law. Its mission

  is to provide abortion care in underserved communities, shift the stigma around abortion in our

  culture, and ensure that every pregnant person deserves the compassion, respect, and dignity of

  being able to safely and legally end a pregnancy.

          7.     WWHA currently operates abortion clinics in Charlottesville, Virginia,

  Bloomington, Minnesota, and South Bend, Indiana.

          8.     As President and CEO of WWHA, I oversee all aspects of the organization’s

  work.

          9.     Whole Woman’s Health of Charlottesville (“WWH of Charlottesville”) provides

  abortion services up to 16 weeks, as dated from the first day of the patient’s last menstrual period



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Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 3 of 12 Pageid#: 530
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 100 of 220 PageID 10413



  (“LMP”), including medication abortion up to 11 weeks LMP. We provide medication abortion

  up to 11 weeks consistent with evidence-based practice around the country.

         10.     Since WWH of Charlottesville started providing medication abortion in October

  2017, it has been providing it using the FDA approved mifepristone/misoprostol regimen.

         11.     WWH of Charlottesville does not currently have any advanced practice clinicians

  providing abortion care but is actively recruiting for such providers.

         12.     The patients we treat at WWH of Charlottesville largely travel to our clinic from

  small towns or rural areas of Virginia without abortion providers or from out of state. Most

  patients travel from at least 1.5-2 hours away, and most require financial assistance to cover the

  cost of their abortion. WWH of Charlottesville serves large swaths of Appalachia, including

  patients from West Virginia, Kentucky, and Tennessee (where abortion is now banned) and

  Georgia (where a 6-week ban is in effect). WWH of Charlottesville provides abortion care to

  approximately 750 patients per year, and approximately 60% of those receive medication

  abortion.

                                Whole Woman’s Health of Alexandria

         13.     I am also the President and CEO of Whole Woman’s Health, LLC (“WWH”).

         14.     WWH currently operates an abortion clinic in Alexandria, Virginia, d/b/a Whole

  Woman’s Health of Alexandria (“WWH of Alexandria). WWH also operates abortion clinics in

  Baltimore, Maryland and Albuquerque, New Mexico.

         15.     As President and CEO of WWH, I am responsible for the management of these

  clinics and therefore am familiar with our finances and operations, including the services we

  provide and the communities we serve.




                                                   3

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Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 4 of 12 Pageid#: 531
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 101 of 220 PageID 10414



         16.     WWH of Alexandria provides abortion services up to 16 weeks LMP, including

  medication abortion up to 11 weeks LMP.

         17.     WWH of Alexandria originally opened in 2019 under the name Whole Woman’s

  Health and Family Center and began using the d/b/a name Whole Woman’s Health of Alexandria

  in 2022. Since opening, it has provided medication abortion using the FDA approved

  mifepristone/misoprostol regimen.

         18.     WWH of Alexandria currently employs a nurse practitioner who provides

  medication abortion to patients in-clinic, and has employed other advanced practice clinicians in

  the past. Since the clinic opened, nurse practitioners have provided around 1,500 medication

  abortions, which is more than 40% of the total medication abortions.

         19.     WWH of Alexandria serves a remarkably diverse population of patients, most of

  whom require financial assistance, and 6-7 languages are spoken by both our patients and our

  staff. Because WWH of Alexandria is close to a large airport, many of our patients travel to us by

  plane from states where abortion in banned. Patients travel from West Virginia, Kentucky,

  Tennessee, and Georgia, and other states in the deep south, including many patients from Texas.

  WWH of Alexandria provides abortion care to approximately 2,300 patients per year, and

  approximately 64% of those receive medication abortion.

                          Whole Woman’s Health’s Virtual Abortion Care

         20.     I am also the President and CEO of Whole Woman’s Health of the Twin Cities,

  LLC, which has operated a virtual healthcare program since August of 2021 that provides

  telehealth services for medication abortion in Virginia, Maryland, Minnesota, New Mexico, and

  Illinois (“WWH’s Virtual Program”).




                                                  4

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Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 5 of 12 Pageid#: 532
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 102 of 220 PageID 10415



          21.     WWH’s Virtual Program provides telehealth medication abortion services up to

  11 weeks LMP using the FDA approved mifepristone/misoprostol regimen.

          22.     WWH’s Virtual Program provides medication abortion to approximately 2,400

  patients per year, and the majority of those patients seek telehealth in Virginia. Around half of

  our virtual patients live in the states where we provide telehealth, while the other half travel to

  those states from other places. For our Virginia patients specifically, around half are Virginians

  who choose telehealth over coming to a clinic in person. Many patients require funding to pay

  for their telehealth abortion, both for the visit and any associated travel to the states where

  telehealth is available.

                        The REMS Has Led to Chaos in the Healthcare System

          23.     As abortion providers who, until Roe v. Wade was overturned in June 2022

  operated abortion clinics in Texas, we are no stranger to the instability created by anti-abortion

  laws and policies. The chaos regarding the legal status of mifepristone over the last several

  weeks is reminiscent of our prior experiences in Texas and elsewhere.

          24.     Before being forced to close our Texas clinics in 2022, WWH and WWHA

  operated multiple abortion clinics in Texas. For years, regulatory interference in Texas caused us

  to endure constant service disruptions, ranging from changing our medical practices and

  protocols, to mandatory construction remodeling, to temporary or permanent closures due to

  rapid fire judicial orders. The result was incredibly destabilizing for our staff and patients. As

  those outside the field fail to grasp, healthcare practices cannot change overnight.

          25.     For example, in 2013, Texas passed House Bill 2, a law that required all abortion

  facilities to be licensed ambulatory surgical facilities and all abortion providers to have local

  hospital admitting privileges. Because WWH lacked sufficient physicians with admitting



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                                                                                         App. 000907
Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 6 of 12 Pageid#: 533
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 103 of 220 PageID 10416



  privileges in Beaumont and Austin, we had to shut those clinics down. Additionally, our clinic in

  McAllen was shut down for eleven months and was only reopened because of an injunction

  awarded by a district court. Ironically, one of our physicians in Austin was able to obtain

  admitting privileges in Fort Worth, and so he commuted by plane in order to keep our clinic in

  Fort Worth open. While H.B. 2 was ultimately struck down in 2016 as unconstitutional by the

  Supreme Court, WWH was severely strained by the litigation.

         26.     In early 2020, we had a similar experience when the Texas Governor issued a

  COVID-19 executive order that forced all of the abortion providers in the state to stop providing

  abortions for around three weeks. While there were brief periods of time during those three

  weeks when court orders technically permitted us to reopen, practically speaking, it was

  impossible to call patients back quickly enough before another court order shut down abortion

  access once again.

         27.     In 2021, we again faced on-again off-again chaos when S.B. 8, the 6-week

  abortion ban enforced via a vigilante bounty-hunting scheme, took effect. A district court entered

  a preliminary injunction that was only in effect for several days before another court order

  reversed it again, leaving us with whiplash. While our Texas clinics continued to provide

  abortions under 6 weeks until Roe was overturned, we never recovered.

         28.     Now, our remaining clinics in Virginia and other states where abortion remains

  legal are facing extreme destabilization to patient care once again. First, on April 7, a district

  court in Texas issued an order saying that mifepristone could no longer be used anywhere in the

  country and gave the FDA only a week to seek emergency appeals. We immediately worked to

  develop protocols for non-mifepristone medication abortion protocols. But that same day, a

  district court in Washington issued an order requiring the FDA to maintain the status quo for



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Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 7 of 12 Pageid#: 534
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 104 of 220 PageID 10417



  mifepristone but only in select states. While most of the states where WWH operates were

  included in that order, Virginia was not. We were left to figure out how, if at all, our use of

  mifepristone for patients in Virginia would need to differ from the rest of the country.

         29.     Then on April 12, the Fifth Circuit put part of the Texas order on hold. The Fifth

  Circuit’s order only added to the confusion, as it said that while mifepristone could still be used,

  the FDA’s changes to the REMS from 2016 onward were no longer in effect. Presumably this

  meant the court intended us to go back in time and use non-evidence based, outdated protocols

  for medication abortion. But did this apply to our clinics nationwide, or only in Virginia? We

  were still scrambling to make sense of this order when, hours before it was set to take effect, the

  U.S. Supreme Court put it on hold, but only for a couple days. That order was extended until

  April 21, 2023.

         30.     For our leadership and staff, the last few weeks have been extremely disruptive.

  We have devoted significant time to developing multiple new protocols that we do not know if

  we will ever need to use. We have re-written clinic procedures and patient consent forms. We

  have tried to prepare staffing for increased demand for procedural abortions and increased need

  for after-hours call. We have been doing our own medical research, reading studies to help

  inform new policies and procedures. When the Fifth Circuit’s order came out, we also had to

  start looking for paperwork we haven’t used in a decade and that may no longer exist. We have

  clinicians who have only ever worked in our virtual program and clinics that no longer have the

  equipment to comply with the 2016 REMS. In one week, we had four separate all staff meetings.

  All of this takes time, energy, and resources. This is time that is taken away from patient care.

         31.     Our patients are suffering too. We are seeing an increased call volume from

  confused and even panicked patients: many patients think that medication abortion is already



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Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 8 of 12 Pageid#: 535
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 105 of 220 PageID 10418



  banned, and others are understandably confused about whether or not their appointments have

  been canceled. Pregnant people are scared that their rights are already gone, again.

          32.      We are also seeing an increased demand for procedural abortions because patients

  think that medication abortion is already banned. This is particularly challenging for clinics to

  manage because post-Dobbs, with abortion entirely banned in 13 states, there are many fewer

  clinics able to absorb the demand for procedural abortions. Telehealth has been instrumental in

  allowing clinics to meet the demand for abortions, and estimates indicate that after Dobbs,

  abortions provided via telehealth increase 137%.1

          33.      Throughout this dizzying time, our clinicians and staff—none of whom are party

  to any of the existing litigation—have been left to make sense of conflicting court orders, explain

  them to patients, and find some way to continue on with quality, evidence-based patient care.

  Neither we nor our patients have had any say in the matter. As a longstanding abortion provider, I

  know that regulatory interference with patient care creates chaos, and that chaos is by design.

          34.      The disruptions and constant instability have been extremely damaging to the

  emotional wellbeing of the abortion healthcare taskforce. As abortion bans took effect

  nationwide, our staff in Virginia and elsewhere watched their colleagues in Texas lose their jobs

  after decades of dedication to providing abortion care. Now they wonder if they will be next.

          35.      At base, the medically unnecessary REMS restrictions, with their burdens on

  patients and clinicians, and the unfounded safety concerns they have generated, have

  significantly contributed to the chaos surrounding medication abortion provision.




  1
   #WeCourt Report, Society of Family Planning (April 11, 2023), https://www.societyfp.org/wp-
  content/uploads/2023/03/WeCountReport_April2023Release.pdf.

                                                         8

                                                                                                 App. 000910
Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 9 of 12 Pageid#: 536
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 106 of 220 PageID 10419



                  Restricting Certified Mifepristone Prescribers to Physicians Only

         36.     Whole Woman’s Health clinics currently employ and seek to employ advanced

  practice clinicians (“APCs”) like nurse practitioners to provide medical services within their

  scope of practice, including administering or dispensing medication abortion. WWH of

  Alexandria, for example, only has physicians providing abortion Thursday through Saturday, so

  employing APCs allows the clinic to offer abortions for the rest of the week and frees up clinic

  space and resources for later abortion cases over the weekend. Yet under the physician-only

  certified prescriber requirement in the REMS for mifepristone, APCs can only provide

  mifepristone if done so under a certified prescriber and supervisory relationship. The FDA

  eliminated this requirement of the REMS in 2016 precisely because it was overly onerous and

  medically unnecessary.

         37.     Reinstating the physician-only certified prescriber requirement would complicate

  WWH’s operations and recruiting of APCs with no benefit to patient care.

                                    Banning Mifepristone by Mail

         38.     Telehealth has been a significant innovation in the provision of medical care,

  particularly to underserved and rural communities. The COVID-19 pandemic in particular led to

  significant improvement in patient access to and comfort with using telehealth services for any

  number of medical conditions. The optimal use of telehealth in the provision of abortion care,

  however, depends on the ability to dispense mifepristone remotely. Because the REMS still

  prohibit clinicians from writing a prescription for mifepristone, the only remote option for

  distribution of mifepristone is by mail.




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Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 10 of 12 Pageid#: 537
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 107 of 220 PageID 10420



          39.      If clinicians are required to dispense mifepristone in person, their patients are

   forced to travel to the clinic to pick up the medication, even if doing so requires significant travel

   and other logistical challenges.

          40.      After temporarily suspending the in-person requirement during the COVID-19

   pandemic, the FDA updated the REMS in January of 2023 to permanently eliminate the

   requirement.

          41.      For WWH and our patients, this change in the REMS was huge. It allowed us to

   build out our telehealth practice and begin working with a mail order pharmacy to dispense

   mifepristone.

          42.      In turn, WWH’s Virtual Program has been critical in allowing WWH to meet the

   demand for abortions from patients traveling from states where abortion is now banned. The

   program allows us to free up clinic space and appointment times for patients who either prefer

   procedural abortion or who need a procedural abortion, particularly patients traveling from out of

   state. At our clinics nationwide, we are seeing many more patients pushed later into pregnancy

   by abortion bans in their states, so we have been forced to find ways to serve more patients in

   need of second trimester abortions. Telehealth has been instrumental in that effort.

          43.      For example, expanding our virtual program to New Mexico allowed us to

   continue seeing patients traveling from Texas, even after our Texas clinics were forced to close.

   Even though we now have a clinic site in New Mexico, almost all of our patients seeking

   telehealth in New Mexico travel from out of state. The virtual program allows patients to reduce

   their travel time and expense and helps ease clinic congestion. This is particularly important




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Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 11 of 12 Pageid#: 538
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 108 of 220 PageID 10421



   because the New Mexico clinics, who have been inundated with patients traveling from out of

   state since Roe v. Wade was overturned, often have a 3-week wait for appointments.2

                                           Harm of the 2023 REMS

           44.     While the FDA’s decisions to follow at least some of the science and remove

   many onerous and medically unnecessary restrictions on mifepristone over the years has helped

   our patient access care, barriers still remain. The requirements that providers and pharmacies be

   certified and patients and providers sign agreements do nothing to improve patient care. Rather,

   they significantly add to the operational and logistical burden of administering and dispensing

   medication abortion, reduce the pool of clinicians we can hire to provide medication abortion,

   and incorrectly leave some with the impression that mifepristone is less safe than it is. Critically,

   these requirements effectively prevent a physician from writing a prescription for mifepristone

   that would allow a patient to pick the drug up at their local pharmacy.

           45.     We have decades of evidence demonstrating that medication abortion with

   mifepristone is safe, effective, and preferable for many patients. In our experience, patients

   prefer medication abortion for a variety of reasons, including: it is less medicalized; it is more

   private and allows patients, particularly those in abusive relationships, to play off their abortion

   as a miscarriage to protect their own safety; it can be done on the patient’s schedule; it allows the

   patient to have more control; it is more appropriate for some survivors of sexual assault; and it is

   medically indicated for some common health conditions like fibroids or obesity and certain kinds

   of cervical anatomy.




   2
    See Elise Kaplan, ‘They’re Fearful’: What New Mexico Abortion Providers are Seeing as Their Patient Numbers
   Soar, Albuquerque Journal (Mar. 25, 2023), https://www.abqjournal.com/2585163/theyre-fearful-what-new-mexico-
   abortion-providers-are-seeing-as-their-numbers-of-patients-soar.html.

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Case 3:23-cv-00019-RSB-JCH Document 10-4 Filed 05/08/23 Page 12 of 12 Pageid#: 539
 Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 109 of 220 PageID 10422



          46.     I think it is high time that the FDA eliminated the REMS altogether. It is the

   evidence-based and patient-centered thing to do.

          47.     At a minimum, it is critical to the care of our patients, the sustainability of our

   medical clinics, and the retention of our clinicians and staff that the 2023 REMS be maintained

   while this and other litigation proceeds.

   Dated: May 8, 2023




                                         ______________________________

                                         Amy Hagstrom Miller




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Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 110 of 220 PageID 10423




                                EXHIBIT 52

                   Declaration of Connie Cantrell




                                                                   App. 000915
  Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.606 Page 9 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 111 of 220 PageID 10424




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10
                       UNITED STATES DISTRICT COURT
11                    EASTERN DISTRICT OF WASHINGTON

12     STATE OF WASHINGTON, et al.,            NO. 1:23-cv-03026

13                       Plaintiffs,           DECLARATION OF
                                               CONNIE CANTRELL
14          v.

15     UNITED STATES FOOD AND
       DRUG ADMINISTRATION, et al.,
16
                         Defendants.
17

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                                                         ATTORNEY GENERAL OF WASHINGTON
       DECLARATION OF                          1              Complex Litigation Division
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.607 Page 10 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 112 of 220 PageID 10425




   1           I, Connie Cantrell, declare as follows:

  2            1.       I am over the age of 18, am competent to testify as to the matters

  3     herein, and make this declaration based on my personal knowledge.

  4            2.       I am the Executive Director of Cedar River Clinics, an organization

  5     that provides direct patient services, including birth control and abortion, and

  6     works to preserve and ensure access to reproductive and sexual healthcare. As

  7     Executive Director, I am responsible for an organization with four clinic locations

  8     and a telemedicine program in Washington State. I have served in this role since

  9     2017. Before that, I spent about a decade as Cedar River Clinic's Director of

 10     Operations and served for approximately 14 years as a Clinic Manager in Cedar

 11     River's Yakima clinic. I have also held the role of Certified Health Assistant, and

 12     Surgical Tech, and briefly served as a volunteer when I first joined Cedar River

 13     Clinics in 1992. All told, I have been with Cedar River Clinics for more than

 14     thirty years.

 15            3.       Early in my career at Cedar River Clinics, I received training as a

 16     Certified Health Care Assistant. I worked under the supervision of Attending

 17     Physicians to provide direct patient care for patients seeking abortions, including

 18     providing patient counseling, pre and post abortion care, and assisting in abortion

 19     procedures. I am also familiar with medication abortions.

 20           4.        Cedar River Clinics has locations in Renton, Seattle, Tacoma, and

 21     Yakima. Our reproductive health care clinics offer first and second trimester

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        DECLARATION OF                                2          ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.608 Page 11 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 113 of 220 PageID 10426




     1   abortions, birth control, STI testing and treatment, cancer screenings, annual

  2      exams, and more. We have a LGBTQ wellness program which includes gender

  3      affirming care for transgender/non-binary patients. We offer both in-clinic and

  4      telemedicine services and are a member of the Reproductive and Sexual Health

  5      Program with the Washington Department of Health.

  6             5.    Cedar River Clinic was founded in Yakima in 1979 with subsequent

  7      locations being added when provider owners retired or wanted to close.

  8      Expanding abortion access is one of our priorities but we had to make the difficult

  9      decision to close our Yakima clinic in 2010. However, after hearing from patients

 10      traveling to us from Eastern Washington about the increasing wait times, we did

 11      a community needs assessment which led to our decision to reopen our Yakima

 12      location. Due to COVID, we expedited to begin our reopening as a telemedicine

 13      satellite site and last year, we opened for in-person care. Due to the reversal of

 14      Roe v. Wade, we expedited the plans to further expand the clinical space in

 15      Yakima so we can reopened fully to offer abortion procedures in March of 2023 .

16             6.     When the Yakima clinic resumes providing surgical abortions in

17       March 2023, it will be only one of a small handful of full-service abortion clinics

18       in Eastern Washington.

19       The Impact of Dobbs

20             7.     For nearly 45 years, Cedar River Clinics had been providing first

21       and second trimester abortion to individuals from across Washington State and

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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.609 Page 12 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 114 of 220 PageID 10427




  1    those traveling from out of state or internationally. Many of those patients had

  2    to travel due to restrictive laws. Since the Dobbs v. Jackson Women's Health

  3    Organization decision in June 2022 and subsequent abortion bans, Cedar River

  4    Clinics are experiencing a rising tide in the volume of individuals coming to

  5    Washington from other states to seek an abortion. It is not limited to our region;

  6    we are serving patients from across the country especially the South and Midwest

  7    who are being impacted by the abortion bans in their states.

  8           8.     Based on my own and my staffs observation, in the post-Dobbs

  9     landscape, it has also been harder for individuals to understand their options when

 10     seeking abortion care. There is significant confusion among individuals,

 11     especially individuals traveling to Washington from states criminalizing abortion

 12     or restricting abortion access, regarding what is legal and what consequences they

 13     may face in their home jurisdiction. At Cedar River Clinics, we make it a priority

 14     to educate patients and inform them of their rights. Because of Dobbs we are

 15     seeing an increasing need to devote resources to patient education, reassurance,

 16     and outreach.

 17           9.     We have also seen an escalation in protesters since Dobbs. This

 18    includes protesters blocking patients from driving up to our clinics and harassing

 19    staff, patients, and their support people at the clinic entrance. In addition to the

20     mental and emotional burden this imposes, this means clinics need to devote

21     more resources to managing this issue and provide security.

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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.610 Page 13 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 115 of 220 PageID 10428




  1    The Importance of Mifepristone

  2           I 0.   Mifepristone is one of a two-drug regimen that is the standard of

  3     care for medication abortions and miscarriage management. Medication

  4     abortions have become increasingly prevalent in Washington in the last several

  5     years. Cedar River Clinics offers medication abortion in-clinic and through

  6     telemedicine. Today, medication abortions make up approximately 40% of all the

  7     abortions Cedar River Clinics perform.

  8           11.    If mifepristone is removed from the market, it will have a

  9     devastating impact on individuals trying to access abortion. If patients are unable

 10     to access mifepristone, their options may only be a misoprosto1-only abortion or

 11     surgical abortion. Returning to a one-drug, misoprostol-only protocol for

 12     medication abortion and miscarriage management will harm patients.

 13     Misoprostol is less effective and has more severe side effects. Moreover,

 14     misoprostol-only abortions typically require more doses over a longer period of

 15     time, and thus take longer to complete than abortions using a combination of

 16     mifepristone and misoprostol.

 17           12.    Surgical abortion will be the other option for patients who do not

 18     have access to mifepristone. There are a multitude of reasons why a patient may

 19     prefer a medication abortion to surgery including personal preference and matters

 20     of privacy and safety. Medication abortion offers greater privacy for patients,

 21     some of whom may fear being seen by community members or by an abuser if

 22

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                                                                             App. 000920
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.611 Page 14 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 116 of 220 PageID 10429




  1     forced to visit a known abortion clinic. Patients often prefer not to face protesters.

  2     Other individuals may not have the ability to travel to a clinic location for a

  3     variety of reasons, including being unable to take time away from work, childcare

  4     concerns, or to afford the cost of transportation. Although we subsidize care and

  5     abortion funds help as much as possible, the cost of surgical abortion is also

  6     prohibitive for many patients.

  7            13.   Clinics would also very likely see a higher number of second

  8     trimester surgical abortion cases if mifepristone is removed from the market.

  9     Arranging time off work, arranging childcare, and making travel plans for a

 10     surgical abortion takes time and could push some abortions into the second

 11     trimester.

 12            14.    For clinics themselves, surgical abortions require more time, money,

 13     and resources for staff, and to subsidize patient care. This means clinics would

 14     serve fewer individuals and abortion would become less accessible for all.

 15

 16            I declare under penalty of perjury under the laws of the State of

 17     Washington and the United States of America that the foregoing is true and

 18

 19
        correct.

               DATED this -Z.\      day of   -1\1.\>   )2,u.M'a-7 , 2023, at Seattle, WA.

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 21                                              ConQ~W/
 22

                                                         6          ATIORNEY GENERAL OF WASHINGTON
        DECLARATION OF                                                    Complex Litigation Division
        CONNIE CANTRELL                                                  800 Fifth Avenue, Suite 2000
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Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 117 of 220 PageID 10430




                                EXHIBIT 53

                      Declaration of Paul Dillon




                                                                   App. 000922
 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.648 Page 51 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 118 of 220 PageID 10431




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       First Assistant Attorney General
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       Civil Rights Division Chief
 5     ANDREW R.W. HUGHES, WSBA #49515
       LAURYN K. FRAAS, WSBA #53238
 6     Assistant Attorneys General
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10
                       UNITED STATES DISTRICT COURT
11                    EASTERN DISTRICT OF WASHINGTON

12     STATE OF WASHINGTON, et al.,            NO. 1:23-cv-03026

13                       Plaintiffs,           DECLARATION OF PAUL
                                               DILLON IN SUPPORT OF
14          v.                                 MOTION FOR PRELIMINARY
                                               INJUNCTION
15     UNITED STATES FOOD AND
       DRUG ADMINISTRATION, et al.,
16
                         Defendants.
17

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                                                         ATTORNEY GENERAL OF WASHINGTON
       DECLARATION OF PAUL DILLON              1              Complex Litigation Division
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                                                                     App. 000923
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.649 Page 52 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 119 of 220 PageID 10432




 1           I, Paul Dillon, declare as follows:

 2           1.     I am over the age of 18, am competent to testify as to the matters

 3     herein, and make this declaration based on my personal knowledge.

 4           2.     I am the Vice President for Public Affairs of Planned Parenthood of

 5     Greater Washington and Northern Idaho (PPGWNI). I have worked for PPGWNI

 6     since 2015, and have been in my current role since 2018.

 7           3.     In my role as Vice President of Public Affairs for PPGWNI, I am

 8     responsible for managing outreach in support of PPGWNI’s mission to providing

 9     exceptional health care services, honest education and fearless advocacy. I

10     represent PPGWNI in the communities we serve and within the affiliate as an

11     executive leader.

12     A.    Access to Abortion in Washington
13           4.     PPGWNI operates 11 clinics throughout central and eastern

14     Washington, with locations in Spokane, Spokane Valley, Pullman, Walla Walla,

15     Moses Lake, Sunnyside, Pasco, Kennewick, Wenatchee, Yakima, and

16     Ellensburg. Each clinic offers medication abortions. Procedural abortions are

17     only available at our clinics in Spokane, Kennewick, and Yakima.

18           5.     Washington has a strong legacy of protecting abortion rights. But

19     rights aren’t rights without access. In central and eastern Washington access to

20     abortion is quite limited.

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                                                             ATTORNEY GENERAL OF WASHINGTON
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.650 Page 53 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 120 of 220 PageID 10433




 1           6.      Of the 20 central and eastern Washington counties within

 2     PPGWNI’s territory, only nine have abortion providers to my knowledge.1

 3     Because a majority of counties do not have abortion providers, and because those

 4     that do have only very few abortion providers, many pregnant people in central

 5     and eastern Washington have to travel a long way for medical care. For example,

 6     if someone lives in Republic, Washington, their nearest clinic providing abortion

 7     care is PPGWNI’s clinic in Spokane, approximately three to three-and-a-half

 8     hours away.

 9           7.      PPGWNI’s clinics are all located in medically underserved

10     communities. PPGWNI sees a high percentage of patients on Medicaid. In central

11     Washington in particular, PPGWNI serves a large population of monolingual

12     Spanish-speakers, many of whom are migrant farmworkers. Access to abortion

13     care is still very limited for these and other populations PPGWNI serves.

14     B.    The Impacts of Dobbs
15           8.      The Supreme Court’s Dobbs decision overturning Roe v. Wade has

16     created significant barriers for PPGWNI’s efforts to provide abortion care, even

17     as abortion remains legal in Washington.

18
19
             1
20            The 11 central and eastern Washington counties without abortion

21     providers to my knowledge are: Klickitat, Okanogan, Douglas, Ferry, Stevens,

22     Pend Oreille, Adams, Lincoln, Columbia, Garfield, and Asotin Counties.

                                                              ATTORNEY GENERAL OF WASHINGTON
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.651 Page 54 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 121 of 220 PageID 10434




 1           9.      With three of our clinics (Spokane, Spokane Valley, and Pullman)

 2     so close to the border, PPGWNI has long seen patients from Idaho. But since

 3     Dobbs, we have seen a significant increase in out-of-state patients.

 4           10.     In January 2023, PPGWNI saw an increase of 25% in total abortion

 5     patient visits compared to January 2022. We saw a 75% increase in Idaho patients

 6     from January 2023 compared to January 2022. This includes a 36% increase for

 7     procedural abortion patient visits and 90% increase for medication abortion visits

 8     from Idaho.

 9           11.     Our clinics in Pullman and Kennewick saw the biggest changes. In

10     our Pullman clinic, we now have an outright majority of patients—53% in 2022

11     and likely higher in 2023—coming from Idaho. This is up from 39% in 2021.

12           12.     Further, with the closure of PPGWNI’s Boise clinic, we have started

13     to see an influx of out-of-state patients at our Kennewick and Walla Walla clinics.

14     These clinics have not historically treated many out-of-state patients, but they are

15     now the closest clinics for many people in southern Idaho.

16           13.     Since Dobbs, We have also started to see patients come from as far

17     away as Texas and Florida.

18           14.     This increase in patient volume has led to longer wait times to see

19     providers in PPGWNI’s clinics including up to three weeks for smaller sites like

20     Wenatchee and Walla Walla. These longer wait times can have serious

21     repercussions because abortion is a time-sensitive service. In many cases, a

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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.652 Page 55 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 122 of 220 PageID 10435




 1     three-week wait may put someone past the point where a medication abortion is

 2     possible.

 3     C.    The Importance of Mifepristone
 4           15.    As I noted above, all of PPGWNI’s clinics provide medication

 5     abortions using mifepristone. Mifepristone is a very important medicine for

 6     PPGWNI’s patients and providers.

 7           16.    Lack of access to mifepristone has negative consequences for

 8     patients seeking abortion as well as providers.

 9           17.    When patients are not able to access mifepristone, their options are

10     misoprostol-only abortions or procedural abortions.

11           18.    Based on many conversations with PPGWNI providers, I am aware

12     that misoprostol-only medication abortions lead to more severe side-effects like

13     bleeding, cramping, flu-like symptoms, and nausea. Moreover, misoprostol-only

14     abortions typically require more doses of misoprostol over a longer period of

15     time, and thus take longer to complete than mifepristone/misoprostol abortions.

16     This means that a patient undergoing a misoprostol-only abortion is likely to

17     spend additional days in discomfort and cramping until their abortion is complete.

18           19.    Procedural abortion is the other option for patients who do not have

19     access to mifepristone. For patients who, for whatever reason, are unable to

20     obtain mifepristone within the first 10 weeks of pregnancy, procedural abortion

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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.653 Page 56 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 123 of 220 PageID 10436




 1     may be their only option. While procedural abortion is extremely safe and

 2     effective, it has several disadvantages compared to medication abortions.

 3           20.    Unlike mifepristone, which is available at each of PPGWNI’s

 4     11 clinics, including via telehealth appointments, and can be mailed to patients

 5     in Washington, PPGWNI can only provide procedural abortions at three of its

 6     locations. Consequently, patients who need procedural abortions, but live far

 7     away from PPGWNI’s clinics that provide it, may face significant travel barriers.

 8     And due to the lesser availability, patients requiring procedural abortions

 9     generally face longer wait times for appointments, which can lead to significant

10     stress and other complications.

11           21.    Procedural abortion is also considerably more expensive—both for

12     PPGWNI and patients. Medication abortion costs $700. For procedural care, if

13     gestation is 19 weeks to 21 weeks, the cost can range between $1,450–$1,850.

14     Beyond the cost of the procedure itself, patients undergoing procedural abortions

15     often have to pay for things like travel and lodging, neither of which is necessary

16     for a patient who simply receives mifepristone in the mail.

17           22.    Furthermore, medication abortions are simply preferable to many

18     patients. A patient undergoing a procedural abortion must come into the clinic,

19     undergo a medical procedure, spend time in the recovery room, etc. By contrast,

20     a patient undergoing a medication abortion can be in the comfort and safety of

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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.654 Page 57 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 124 of 220 PageID 10437




 1     home, in a supportive environment, with Netflix and a heating pad, if they so

 2     choose.

 3     D.    The 2023 Mifepristone REMS
 4           23.    While we were grateful for the removal of the in-person requirement

 5     with the FDA’s recent updates to REMS for mifepristone, it still created an

 6     unnecessary pharmacy certification requirement that it does not impose for other,

 7     equally or less safe, medications. This creates additional barriers to access for

 8     patients who are travelling to our health centers from out of state and need

 9     time-sensitive care. Unfortunately, the updated REMS also retains longstanding

10     requirements that providers be specially certified in order to prescribe

11     mifepristone and that patients sign a special form in order to receive their

12     prescription, a challenge at a time of provider shortages throughout central and

13     eastern Washington. Permanently removing the REMS in its entirety is critical to

14     reducing the disproportionate harms of abortion restrictions.

15     E.    Threats to Abortion Providers
16           24.    Abortion remains highly stigmatized throughout much of the area

17     PPGWNI serves. PPGWNI clinics—including our providers and patients—have

18     been subject to violence and harassment.

19           25.    In 1996, PPGWNI’s Spokane Valley clinic was bombed by

20     anti-abortion extremists. In 2015, an arsonist set fire to PPGWNI’s clinic in

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22

                                                              ATTORNEY GENERAL OF WASHINGTON
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.655 Page 58 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 125 of 220 PageID 10438




 1     Pullman. In 2020, PPGWNI’s Spokane clinic received a bomb threat. In 2021,

 2     PPGWNI’s Spokane Valley clinic had its windows smashed.

 3           26.    PPGWNI providers and patients are also subject to routine

 4     harassment and intimidation from anti-abortion activists at our clinics. Recently,

 5     protestors associated with the “Church at Planned Parenthood” have gathered at

 6     PPGWNI clinics in an effort to disrupt clinic operations. These protesters have

 7     yelled at and verbally harassed patients, and have frequently interfered with clinic

 8     operations, including by blocking driveways and sidewalks. One group member

 9     in Yakima followed a PPGWNI provider to their home.

10           27.    In 2021, a judge on the Spokane County Superior Court concluded

11     that the group violated a Washington law prohibiting interference with health

12     facilities and permanently enjoined the group from interfering with PPGWNI’s

13     clinic operations. Earlier this year the Court ordered the group to pay $110,000

14     in damages to PPGWNI, as well as attorneys’ fees. Even so, the group has

15     continued its protests and communicated to us that they intend to come back even

16     harder.

17           28.    This is part of a pattern since Dobbs, in which PPGWNI has seen

18     protests intensify. According to our security data, protest activity post-Dobbs is

19     50% higher than it was in 2021.

20           29.    We have also seen these efforts to disrupt our operations spread to

21     clinics where they did not previously occur. For example, we did not normally

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                                                                ATTORNEY GENERAL OF WASHINGTON
       DECLARATION OF PAUL DILLON                   8                Complex Litigation Division
                                                                     800 Fifth Avenue, Suite 2000
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.656 Page 59 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 126 of 220 PageID 10439




 1     have protests at our Wenatchee clinic, but since Dobbs, we have seen regular

 2     protests there.

 3           30.    In addition to the harassment and violence, PPGWNI routinely faces

 4     cybersecurity threats from hackers trying to obtain information about patients and

 5     providers. Most commonly, we receive phishing emails that seek to obtain patient

 6     records and provider addresses. Because of the heightened risk of cybsersecurity

 7     attacks, every PPGWNI staff member has to undergo annual IT security training.

 8           31.    Due to these various threats to PPGWNI’s clinics, providers, and

 9     patients, we have had to devote considerable resources to security and patient

10     privacy.

11           32.    All PPGWNI clinics have security cameras and employ security

12     guards to be on-site whenever the clinics are open. Clinics have locking

13     vestibules known as “man traps” to ensure unauthorized people cannot enter the

14     clinics. The clinics are also now equipped with bulletproof glass, following the

15     incident in Spokane Valley in which the clinic’s windows were smashed.

16           33.    PPGWNI also maintains rigorous standards around patient privacy.

17     We prohibit filming or recording equipment on site, maintain secure waiting

18     areas and a rigorous check-in process, require providers to badge in and escort

19     patients, etc. Nonetheless, we still face issues with protesters trying to film

20     patients and providers, record license plates, and otherwise harass patients and

21     providers.

22

                                                              ATTORNEY GENERAL OF WASHINGTON
       DECLARATION OF PAUL DILLON                  9               Complex Litigation Division
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.657 Page 60 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 127 of 220 PageID 10440




 l           I declare under penalty of perjury under the laws of the State of
 2    Washington and the United States of America that the foregoing is true and
 3    correct.
 4          DATED this 17th day ofFebrnary 2023, at Spokane, Washington.
 5
 6                                       PAULDILLON
                                         Vice President of Public Affairs
 7                                       Planned Parenthood ofGreater
                                         Washington and Northern Idaho
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                                EXHIBIT 54

                   Declaration of Cynthia Harris




                                                                   App. 000933
 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.775 Page 178 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 129 of 220 PageID 10442




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10
                       UNITED STATES DISTRICT COURT
11                    EASTERN DISTRICT OF WASHINGTON

12     STATE OF WASHINGTON, et al.,            NO. 1:23-cv-03026

13                       Plaintiffs,           DECLARATION OF
                                               CYNTHIA HARRIS
14          v.

15     UNITED STATES FOOD AND
       DRUG ADMINISTRATION, et al.,
16
                         Defendants.
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                                                         ATTORNEY GENERAL OF WASHINGTON
       DECLARATION OF CYNTHIA                  1              Complex Litigation Division
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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.776 Page 179 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 130 of 220 PageID 10443




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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.777 Page 180 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 131 of 220 PageID 10444




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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.778 Page 181 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 132 of 220 PageID 10445




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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.779 Page 182 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 133 of 220 PageID 10446




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 Case 1:23-cv-03026-TOR ECF No. 4-1 filed 02/24/23 PageID.780 Page 183 of 386
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 134 of 220 PageID 10447




                        Exhibit A




                                                                 App. 000939
       Washington State Sexual & Reproductive Network
                    Abortion Service Sites
                                    San Juan               Whatcom
                                                                                                                        Pend
                                                                                   Okanogan           Ferry             Oreille
                                                            Skagit                                            Stevens
                                          Island
                          Clallam                         Snohomish

                           Jefferson
                                               Kitsap                    Chelan    Douglas
                                                             King                                      Lincoln     Spokane
                           Grays
                           Harbor Mason
                                                                        Kittitas        Grant
                                                        Pierce                                        Adams        Whitman
                                         Thurston

                             Pacific            Lewis                                                              Garfield
                                                                        Yakima                  Franklin
                                                                                                              Columbia
                           Wahkiakum       Cowlitz                                                                         Asotin
                                                                                       Benton
                                                        Skamania                                     Walla Walla

                                                                      Klickitat
              Legend                            Clark
               Procedural & MAB




App. 000940
               MAB Only
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                                    Washington State Department of Health | 1
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 136 of 220 PageID 10449




                                EXHIBIT 55

   Two years after Missouri banned abortion, navigating
      access still involves fear, confusion – Missouri
                        Independent




                                                                   App. 000941
9/17/24, 12:21 PM                    2 years after Missouri banned abortion, navigating access still involves fear, confusion • Missouri Independent
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                        Page 137 of 220 PageID 10450

                                                                  PART OF STATES NEWSROOM
                                                                                                                        


                                 HEALTH CARE


                                2 years after Missouri banned abortion,
                                navigating access still involves fear,
                                confusion
                                The U.S. Supreme Court overturned the constitutional right to an
                                abortion two years ago. Since then, thousands of Missourians
                                sought other ways to access the medical procedure
                                BY: ANNA SPOERRE - JUNE 24, 2024            5:55 AM

                                                                




                               The message “You are not alone, support is here” is painted on the window of the Planned
                              Parenthood Great Plains on Friday in Overland Park, Kansas (Anna Spoerre/Missouri
                              Independent).



                                When Missouri outlawed abortion two years ago, Nicole was far
                                more worried for her grown children than for herself.

                                It had been two decades since she last gave birth, when she suffered
                                a serious stroke during labor followed by severe postpartum
                                depression. She was outraged that the U.S. Supreme Court
                                overturned the constitutional right to abortion, but pregnancy was
                                in Nicole’s past.

                                That changed a couple weeks later, when her IUD failed.

                                “Are you kidding me?” she recalls thinking, looking around at the
                                life she and her husband had built together in southwest Missouri.

                                In her 40s and living in a state where virtually every abortion is now
                                banned, Nicole — who asked to only be identified by her middle
                                name for fear of prosecution — was among the first of thousands of
                                                                                                                              App. 000942
https://missouriindependent.com/2024/06/24/2-year-anniversary-missouri-abortion-ban/                                                                   1/11
9/17/24, 12:21 PM                    2 years after Missouri banned abortion, navigating access still involves fear, confusion • Missouri Independent
         Case 2:22-cv-00223-Z   Document
                       Missouri women     195-5
                                      forced       Filed abortion
                                             to navigate 10/11/24access
                                                                     Page
                                                                        in a 138 of 220 PageID 10451
                                                                             post-Roe
                                world.

                                On June 24, 2022, Missouri became the first state in the country to
                                respond to the U.S. Supreme Court’s landmark ruling in Dobbs v.
                                Jackson Women’s Health, striking down Roe v. Wade and the
                                constitutional right to an abortion. The Republican-run state
                                quickly enacted its trigger law banning all abortions with limited
                                exceptions in cases of medical emergencies.

                                In the two years since, countless women like Nicole have faced
                                already tough decisions made more excruciating by having to find
                                discreet ways to manage their own health or travel far from home
                                for care.

                                Missouri already had some of the strictest abortion regulations in
                                the country, pushing most women seeking access to the procedure
                                out of state. But the end of Roe raised the stakes, leaving women in
                                Missouri — which already has some of the highest maternal
                                mortality rates in the country — fearful that in the most extreme
                                cases, the ban could mean their death.




                                 A recovery room at the Planned Parenthood Great Plains office is pictured on Friday in
                                Overland Park, Kansas (Anna Spoerre/Missouri Independent).

                                Last year, approximately 2,860 Missourians traveled to Kansas last
                                year for abortions, and 8,710 traveled to Illinois, according to the
                                Guttmacher Institute, a reproductive rights research group that
                                closely tracks abortion data. But they made up only about 10% of
                                the total abortion patients in each state.

                                After Dobbs, Missourians’ access to care in states like Kansas and
                                Illinois became precarious as abortion bans became more
                                widespread.

                                “In a matter of months, we started serving patients from Texas and
                                Arkansas and Oklahoma,” Emily Wales, CEO and president of
                                Planned Parenthood Great Plains, said of the time immediately

                                                                                                                              App. 000943
https://missouriindependent.com/2024/06/24/2-year-anniversary-missouri-abortion-ban/                                                                   2/11
9/17/24, 12:21 PM                    2 years after Missouri banned abortion, navigating access still involves fear, confusion • Missouri Independent
         Case 2:22-cv-00223-Z
                       followingDocument   195-5 “Missourians
                                the Dobbs decision. Filed 10/11/24   Page
                                                                had to really139 of 220 PageID 10452
                                                                              compete
                                for too few appointments.”

                                The longer wait times at clinics and barriers to traveling for
                                abortions has led Missourians to increasingly consider self-managed
                                abortions.

                                That includes Nicole, who received an envelope at home marked
                                with international postage containing Mifepristone and
                                Misoprostol after consulting an online doctor she found through
                                Plan C, a nonprofit that helps people find providers.

                                Missourians navigate abortion access after Dobbs
                                For Nicole, the decision to end her most recent pregnancy was
                                simple. To continue felt unsafe, she said, and she and her husband
                                didn’t want to start over raising a child.

                                But the conversations that followed were kept strictly between the
                                husband and wife.

                                With pervasive uncertainty around whether or not women could be
                                prosecuted for self-administering medication abortions in Missouri,
                                the stakes are higher than ever for those trying to end unwanted or
                                medically complicated pregnancies.

                                It’s why Nicole didn’t tell her pastor at church. She didn’t tell friends
                                or family. Nicole didn’t even tell her gynecologist, fearing she would
                                be reported by someone in their corner of the state where anti-
                                abortion messaging proliferates billboards, bumper stickers and
                                handwritten signs staked into yards.

                                Ultimately, Nicole couldn’t imagine fleeing her state for the
                                procedure. She wanted to be home.

                                “I felt really angry that I would have to leave my community,” she
                                said. “It’s not a shameful thing, it’s a procedure. It’s a medical health
                                care procedure.”




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         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                        Page 140 of 220 PageID 10453

                                     Emergency care for pregnant women at stake
                                     in Supreme Court case, Missouri doctor warns
                                                                   When a woman experiencing a second
                                                                   trimester miscarriage came into the hospital
                                                                   bleeding through her clothes, Dr. Jennifer
                                                                   Smith couldn’t immediately help her. Not while
                                                                   her fetus still had a heartbeat. Too scared to
                                                                   wait for the miscarriage to progress far enough
                                     to be admitted to the hospital in Missouri, the woman and her husband …
                                     Continue reading


                                           Missouri Independent                                                0




                                In the six months after the Dobbs decision, the number of self-
                                managed medication abortions rose by more than 26,000 across the
                                U.S. according to a study published in JAMA, the American Medical
                                Association’s journal.

                                While medication abortions are overall very safe, effective and
                                approved by the FDA to end pregnancies up to 10 weeks, there is
                                some risk associated with any medication. Self-managing an
                                abortion alone, without a local medical provider’s guidance, can be
                                nerve-wracking.

                                In the unlikely situation that Nicole started hemorrhaging, she and
                                her husband mapped out the closest Kansas hospital that would
                                have the level of care they needed.

                                When the time came, they both took a day off work and snuggled
                                on the couch. Nicole pressed a heating pad to her abdomen to
                                soothe the cramps, which she described as similar to period pains.
                                Then came the relief.

                                After the abortion, her husband got a vasectomy. She kept the IUD.
                                Despite their precautions, sex is now accompanied by paranoia as
                                Nicole counts down the days to her period each month.

                                She ordered extra abortion medication in case anyone she knows
                                might need it. And despite the nearly two years since her abortion,
                                Nicole said she still can’t shake the absurdity she felt hunkering
                                down in her home that day.

                                “I make decisions for myself every day, and I make good decisions,”
                                she said. “The audacity that people think I can’t make the best
                                healthcare decisions for myself — it’s hard for me to put into words
                                how upsetting it is.”

                                ‘I am desperate’
                                                                                                                              App. 000945
https://missouriindependent.com/2024/06/24/2-year-anniversary-missouri-abortion-ban/                                                                   4/11
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                       Stories ofDocument 195-5 toFiled
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                                                            pregnancies   141 of 220
                                                                        proliferate the PageID 10454
                                internet.

                                Reddit is increasingly a gathering place for those seeking answers
                                and assurance. Many of the posts — all anonymous — illustrate how
                                terrified many Missourians are.

                                In one post from mid-June, a 23-year-old woman from Missouri
                                feared she was pregnant by her abusive boyfriend but didn’t have
                                the money to travel for an abortion.

                                “I will drink an entire bottle of vodka if I have to idc,” she wrote.
                                Other anonymous users quickly took to the page to offer other
                                solutions.

                                In a 2023 post, someone inquired about getting an abortion for
                                their pregnant 15-year-old sister in Missouri without parental
                                consent.

                                “This experience is causing her to have suicidal thoughts, crippling
                                anxiety, and extreme depression,” the user wrote. “All of which she
                                already had before this. I need help. I am desperate. I do not want to
                                lose my baby sister.”




                                 Instructions on what to expect during a visit to Planned Parenthood Great Plains sits on a
                                desk in the waiting room on Friday in Overland Park, Kansas (Anna Spoerre/Missouri
                                Independent).

                                Even for those who work in abortion-rights advocacy, navigating an
                                abortion post-Roe is anxiety-inducing.

                                Maggie Olivia first got pregnant while living in St. Louis in 2020.
                                She was on birth control at the time.

                                Because of Missouri’s “targeted regulation of abortion providers”
                                laws, including mandatory pelvic exams for medication abortions
                                and 72-hour waiting period between the initial appointment and a
                                surgical abortion, she was encouraged to go to a Planned
                                Parenthood in Illinois.

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                                                                              guided
                                Olivia into her appointment just across the Mississippi River and
                                reassured her ahead of the procedure. She was so moved by their
                                kindness that Olivia went on to volunteer with the group, and now
                                serves as a senior policy manager with the abortion-rights group.

                                In the months after the Dobbs decision, Olivia, like many in
                                abortion advocacy work, was navigating the ever-changing
                                landscape of abortion access. At the same time, Olivia said she was
                                mistakenly denied her birth control prescription by a pharmacist
                                after switching contraceptive methods.

                                When a pregnancy test came back positive several weeks later,
                                Olivia’s first call was to her boss, who she said offered immediate
                                support and guidance.

                                “But even that close proximity to the reality of the crisis doesn’t
                                make being pregnant when you don’t want to be any less
                                horrifying,” she said.

                                Unlike with her first pregnancy, Olivia decided not to tell her health
                                care providers in Missouri.

                                But after ending up in the emergency room for unrelated reasons,
                                her pregnancy was noted in her records. Months later, Olivia said
                                she was denied access to an unrelated medication because her
                                medical records said she was pregnant, compounding the fear she
                                already had of being punished in some way for having an abortion,
                                however legal, in Illinois.

                                “It was very upsetting,” Olivia said. “And I had thought that I had
                                taken steps to be precautious.”

                                When she had her second abortion at the same Illinois clinic from
                                two years prior, she also had an IUD placed.

                                “Your access to abortion doesn’t need to be attached to some
                                traumatic, horrifying situation in of itself,” Olivia said. “Being
                                pregnant when you don’t want to be is scary enough, is horrifying
                                enough.”

                                Higher stakes for providers
                                When a sonographer approaches Dr. Jennifer Smith, a St. Louis OB-
                                GYN, her heart drops.

                                “Every time I look at a fetal ultrasound, it takes on new intensity
                                and new anxiety,” she said, concerned that her patient will have a
                                diagnosis they can’t be of help with in Missouri.

                                Missouri physicians are balancing medically complex pregnant
                                patients with legal restrictions that could land them in prison for up
                                to 15 years if they perform an abortion the state finds was
                                unnecessary, and, therefore, illegal.


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https://missouriindependent.com/2024/06/24/2-year-anniversary-missouri-abortion-ban/                                                                   6/11
9/17/24, 12:21 PM                    2 years after Missouri banned abortion, navigating access still involves fear, confusion • Missouri Independent
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                        Page 143 of 220 PageID 10456




                                 Ra’Maia Dillard, an ultrasound technician at Planned Parenthood Great Plains prepares to
                                see a docket of 29 patients on Friday in Overland Park, Kansas (Anna Spoerre/Missouri
                                Independent).

                                No providers have been prosecuted at this point, but the ways
                                something could go wrong keep Smith up at night. So, too, does the
                                future of not only maternal health care, but also motherhood in
                                Missouri.

                                “Missouri women are afraid to be pregnant in Missouri,” Smith said.
                                “They are so worried that they might die while pregnant, or that
                                they may get pregnant with a baby with anomalies and have no
                                options because they live in Missouri.”

                                While Smith is often helping women who want to be pregnant, a
                                couple miles across the river in Illinois sits the regional logistics
                                center for Planned Parenthood of the St. Louis Region and
                                Southwest Missouri. There, three patient navigators help those
                                trying to end their pregnancies.

                                Kenicia Page, the call center manager, said she saw a tremendous
                                increase in callers from the West Palm Beach area, more than 1,100
                                miles south, when Florida’s ban went into place on May 1.

                                Right now, she says the clinic receives about 100 calls a day.

                                They act as pseudo travel planners and financial aid counselors,
                                helping book transportation and finding funding for patients.

                                Despite the comparative proximity, transportation can still be a
                                headache for some Missourians, particularly those in rural parts of
                                the state without access to public transportation like Greyhound
                                buses or Amtrak, Page said. Sometimes, when the patient doesn’t
                                have a vehicle, nor access to public transportation or car rental
                                services, their next best option is to rent a U-Haul to drive to their
                                appointment.

                                But more often, Page said, she hears from Missourians trying to find
                                and afford child care, or from minors who need a legal guardian to
                                give consent for financial assistance. Some days Page still finds
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                                                 to Missouri callers thatPage  144isof
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                                                                                     illegal
                                within their state borders, and that they will likely have to take a
                                multi-day trip to Illinois to get care.

                                Page recently spoke with a woman who was homeless and living in a
                                hotel with her children. She had no child-care options, nor a place
                                to stay after the procedure. Page’s team helped connect the woman
                                to funders who assisted with the day care fees and made sure she
                                had a safe place to recover overnight in Illinois.

                                Their work is done when they get the final call or text from a patient
                                saying they’ve returned home safely.

                                “It gives you that extra energy or extra push, determination, to
                                continue to do what you do,” Page said. “Because it is definitely
                                making a difference.”

                                Alison Dreith’s hotline through Midwest Access Coalition, an
                                abortion fund based in Illinois, used to serve a majority of Missouri
                                clients. As of mid-June, only 26 of the total 1,052 callers this year
                                were from Missouri. Now most of her calls come from Texas,
                                Indiana and Tennessee as patients from red states crowd clinics in
                                Illinois and Kansas.

                                “Every time a new state goes,” Dreith said, “it has the ripple effect
                                that reaches the Midwest.”

                                The need for child care is a refrain for patients, particularly lower-
                                income Missourians,traveling to Kansas overnight for the
                                procedure, said Wales, with Planned Parenthood Great Plains.

                                The short drive from Kansas City to Wyandotte or Johnson
                                counties in Kansas has expanded from a fissure to a canyon for
                                some patients. Those requesting medication abortions are usually
                                seen within a week, but patients needing in-clinic abortions can
                                wait two or three weeks to be seen, Wales said.

                                “We have to explain that we may be close to you, but we are seeing
                                patients from around the region,” she said. “It doesn’t make it easier,
                                necessarily, to get an appointment.”




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9/17/24, 12:21 PM                    2 years after Missouri banned abortion, navigating access still involves fear, confusion • Missouri Independent
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                        Page 145 of 220 PageID 10458




                                 Denise Baker, a reproductive health assistant at Planned Parenthood Great Plains
                                prepares patient paperwork behind the clinic’s front desk on Friday in Overland Park,
                                Kansas(Anna Spoerre/Missouri Independent).

                                Wales said many patients are also coming to them later in
                                gestational age, and increasingly with fetal abnormalities. This is a
                                theme across the country, as patients work to find an appointment,
                                save up money and arrange time off work.

                                Because of the increase in demand, Planned Parenthood Great
                                Plains will soon start seeing patients for abortions in Pittsburg,
                                making it the fourth Kansas clinic to offer the procedure. She hopes
                                that will cut down on drive times for Missourians in regions
                                including Joplin and Springfield.

                                Julie Burkhart, co-owner of Hope Clinic, an abortion provider in
                                Granite City, Illinois, has seen the number of Missourians served at
                                her clinic more than triple since 2019. But even so, the percentage
                                of total patients from Missouri has gone from more than 60% to
                                less than half as patients from 28 states made their way to her clinic
                                near the Mississippi River last year.

                                Wait times hover between one and two weeks. In May, the clinic saw
                                732 abortion patients; 45 were from Missouri.

                                Funding needs have skyrocketed since Roe fell, and she’s seen the
                                number of Missouri patients seeking abortions in their second
                                trimester increase to 17% this year. Before Roe, it was closer to 8%
                                for all patients.

                                “With Roe falling, people who don’t have to think about abortion
                                access every day don’t quite know where to look, who to call, who to
                                talk to,” Burkhart said. “It’s put people in more desperate situations.”


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                                                          Illinois University, she most recently worked at the Kansas City Star where
                                                          she focused on storytelling that put people at the center of wider issues.
                                                          Before that she was a courts reporter for the Des Moines Register.

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                                EXHIBIT 56

         CVS and Walgreens plan to sell abortion pill
      mifepristone at pharmacies after FDA rule change




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9/17/24, 12:22 PM                                                                    Abortion: CVS and Walgreens will sell mifepristone in pharmacies
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        BREAKING NEWS




    HEALTH AND SCIENCE


    CVS and Walgreens plan to sell abortion pill mifepristone at
    pharmacies after FDA rule change
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    KEY POINTS
        Walgreens and CVS both plan to get certified to dispense the abortion pill mifepristone to patients in states
        where abortion remains legal.


        The FDA dropped long-standing restrictions this week that prevented retail pharmacies from offering
        mifepristone.


        Mifepristone has become a central flashpoint in the political battle over abortion at the state level in the
        wake of the Supreme Court overturning Roe v. Wade.




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https://www.cnbc.com/2023/01/05/abortion-cvs-and-walgreens-will-sell-mifepristone-in-pharmacies.html                                                                         1/5
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    services, in Santa Teresa, New Mexico, on June 15, 2022.
    Robyn Beck | AFP | Getty Images




    Walgreens           and CVS       will sell the prescription abortion pill mifepristone after the Food and Drug Administration
    this week dropped a long-standing rule that prevented drug stores from doing so.

    The decision by the two largest drug store chains in the U.S. will significantly expand access to mifepristone in
    states where abortion is legal. The companies cannot offer the pill in states that have completely banned abortion in
    the wake of the Supreme Court decision that overturned Roe v. Wade.


    The FDA on Tuesday changed its regulations to allow retail drug stores to dispense mifepristone so long as they
    complete a certification process. The agency dropped a long-standing rule that required patients to obtain the
    abortion pill in-person at clinics, hospitals and other certified health-care providers.

    Walgreens plans to get certified and is working through the registration and training of its pharmacists to dispense
    mifepristone consistent with federal and state law, spokesperson Fraser Engerman said. CVS also plans to get
    certified in states where it is legal to do so, spokesperson Amy Thibault said.

    This means patients in many parts of the U.S. will effectively be able to obtain mifepristone like other prescription
    medications, either in-person at a retail pharmacy or through the mail. Patients will still need to obtain their
    prescription from a certified health-care provider.

    Mifepristone has become a central flashpoint in the political battle over abortion at the state level in the wake of the
    Supreme Court overturning Roe v. Wade. Several conservative groups have asked a federal court in Texas to
    overturn the FDA’s approval of mifepristone.

    Mifepristone is the most common way to terminate a pregnancy in the U.S. Some 51% of abortions were performed
    with mifepristone in 2020, according to the Centers for Disease Control and Prevention.

    The FDA first approved mifepristone more than 20 years ago in 2000 as a method to terminate early pregnancies,
    but the pill long had strict regulations around how it could be dispensed to patients. Medical organizations such as
    the American College of Obstetricians and Gynecologists had long argued that those regulations lacked a scientific
    basis and were rooted in politics.

    Mifepristone is approved to end a pregnancy through the 10th week. It is used in combination with another pill
    called misoprostol. Mifepristone stops the pregnancy from continuing and misoprostol induces contractions that
    empty the uterus.



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                                                                                                                                App. 000957
https://www.cnbc.com/2023/01/05/abortion-cvs-and-walgreens-will-sell-mifepristone-in-pharmacies.html                                                           4/5
9/17/24, 12:22 PM                                                        Abortion: CVS and Walgreens will sell mifepristone in pharmacies
           Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                                             Page 153 of 220 PageID 10466
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                                                                                                                                                         App. 000958
https://www.cnbc.com/2023/01/05/abortion-cvs-and-walgreens-will-sell-mifepristone-in-pharmacies.html                                                                   5/5
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 154 of 220 PageID 10467




                                EXHIBIT 57

    In Washington state, pharmacists are poised to start
            prescribing abortion drugs - NPR




                                                                   App. 000959
9/17/24, 12:25 PM                      In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
        Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24
    HOURLY NEWS
                                                                                                 Page 155 of 220 PageID 10468
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   Shots

    POLICY-ISH

   In Washington state, pharmacists are poised to start prescribing abortion
   drugs
   UPDATED MARCH 1, 2024 · 2:56 PM ET

   By Patrick Adams




   Mifepristone is a medication typically used in combination with misoprostol to bring about a medical abortion.
   Soumyabrata Roy/NurPhoto via Getty Images




   Update: On March 1, major pharmacy chains CVS and Walgreens announced they
   had been certified to begin dispensing mifepristone at select locations in states
   where abortion is legal. The effort described in this story would go a step further

                                                                                                                            App. 000960
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                          1/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
       Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 156 of 220 PageID 10469
   than that, allowing pharmacists themselves to prescribe the abortion medication,
   without a physician.

   Over the past several months, a handful of community pharmacies in states where
   abortion remains legal have begun to take advantage of a new rule that allows
   them to fill prescriptions for the abortion pill mifepristone. Prior to the rule
   change, which was finalized last January by the Food and Drug Administration,
   pregnant people had to get the drug directly from their doctor or by mail if using
   telemedicine, depending on the laws in their state.


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   Reproductive health experts have said relaxing that requirement could help ease
   the growing burden on abortion clinics in states where abortion is legal. And
   perhaps nowhere is the potential for that greater than in Washington state, where
   efforts are underway to open up access to medication abortion in a radical new
   way: by training pharmacists not only to dispense abortion pills but also to
   prescribe them to their walk-in patients.

   "We think this could have a huge impact in our state," says Don Downing, a
   professor emeritus of clinical pharmacy at the University of Washington in Seattle.
   Medication abortion now accounts for more than half of abortions in the U.S.

   Last spring, Downing and colleagues launched the Pharmacy Abortion Access
   Project to provide community pharmacists in Washington with training on
   screening for medication abortion eligibility, prescribing abortion pills, and
   dispensing them from their brick-and-mortar stores — a streamlined model of care
   that currently exists nowhere else in the United States.

   "This is about meeting women where they are," says Downing, adding that close to
   90% of Americans live within 5 miles of a community pharmacy and that patients
   visit their pharmacist almost twice as frequently as they visit their primary care
   physician. "We do believe this can serve as a model for other states."

                                                                                                                            App. 000961
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        2/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 157 of 220 PageID 10470




   And it may be more than a matter of physical access. Pharmacists are consistently
   rated among the most trusted health care providers, he says. "So we think there
   may be people — possibly many people — for whom it's too frightening, too
   stigmatizing to go to a doctor but who, as we've seen over the years, are very
   comfortable coming to us."




   Last spring, pharmacist Don Downing and colleagues launched the Pharmacy Abortion Access Project to provide
   community pharmacists in Washington with training for prescribing medication abortion.
   Mike Kane for NPR



                                                                                                                            App. 000962
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        3/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
       Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 158 of 220 PageID 10471
   There are 10 pharmacists in the first cohort, and Downing expects them to start
   prescribing in the next few weeks. But word is spreading, he says. More and more
   calls are coming in. And Downing frequently finds himself explaining how a law
   passed more than 40 years ago first opened the way for this model, by making it
   possible for pharmacists in Washington to prescribe any FDA-approved drug.


   Redefining the pharmacy
   In 1979, Washington became the first state in the nation to enact legislation
   allowing for the formation of collaborative practice agreements, or CPAs. Under
   the agreements, a licensed prescriber such as a physician or a nurse practitioner
   can delegate to a pharmacist the authority to prescribe a given drug and
   administer it to patients.

   This step opened the way for pharmacists to expand their scope of practice in
   Washington — and Downing has spent his career working to expand it further.

   As a doctoral student in the mid-1970s, Downing was part of a growing push led
   by the Indian Health Service to use pharmacists to reach underserved
   communities. Concerned about the low immunization rates among Native
   Americans long neglected by the federal government, he helped Native activists in
   Seattle build the country's first urban tribal clinic. After graduating, he went to
   work with other tribes, serving as a pharmacist medical provider on reservations
   throughout the region.

   Those experiences opened Downing's eyes to the vast inequities in access to basic
   health services — and the untapped potential for pharmacists to help close that
   gap. In the early 1990s, he and colleague Jackie Gardner, a professor of
   epidemiology at UW, began training community pharmacists to administer flu
   shots and other vaccines, leading to the launch of the first formalized training
   program in 1994. Today, pharmacists in all 50 states routinely administer vaccines.




                                                                                                                            App. 000963
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        4/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
        Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 159 of 220 PageID 10472
   Following that success, Downing, Gardner and other colleagues at UW partnered
   with the nonprofit PATH to develop the nation's first pharmacist-provided
   emergency contraception program. At the time, women who needed emergency
   contraception had to schedule a doctor's appointment, which often meant taking
   time off from work or school, finding transportation and arranging for child care.
   "We knew there was unmet demand," says Downing. "But we had no idea how
   much."

   When the pilot project started in 1998, they had hoped to reach about 1,500
   women, he says, "and we thought we were being optimistic." By the end of the
   following year, they'd enrolled close to 12,000, with pharmacists in Washington
   writing more prescriptions for emergency contraception in a single month than the
   state's doctors had written in the previous year.

   Emergency contraception is now over-the-counter, but having pharmacists
   prescribe it was an important step, says Elisa Wells, a co-founder of the abortion
   rights group Plan C, who helped start the project while working at PATH. "And for
   something like emergency contraception, where there's a clock ticking — and this
   is true for abortion as well — that convenience is crucial."

   Downing also worked for years to get pharmacists reimbursed for these clinical
   services by insurers. Finally, in 2015, Washington's Gov. Jay Inslee signed a law
   making Washington the first state in the nation to formally recognize pharmacists
   as medical providers and require that they not be excluded from health insurance
   provider networks.

   "That allowed pharmacists in Washington to function at the full extent of their
   licensure and training," said Jenny Arnold, chief executive officer of the
   Washington State Pharmacy Association, noting that pharmacists today typically
   complete a doctorate degree and many go on to do residencies. "There's a lot more
   they can do than just make sure the patient gets the right meds in the bottle."




                                                                                                                            App. 000964
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        5/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
       Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 160 of 220 PageID 10473
   And yet in many states, she says, pharmacists are still greatly underutilized. While
   all states now allow pharmacists to enter into a collaborative practice agreement,
   most limit pharmacists' prescriptive authority to certain patients, circumstances
   or types of drugs. Washington's law governing CPAs is one of the broadest and
   most flexible, allowing the clinicians themselves to decide what to prescribe and
   to whom.

   In Washington, nearly every pharmacist is signed onto a CPA, says Arnold. In
   addition to prescribing contraceptives and giving flu shots, many pharmacists
   have long played a lead role in managing chronic conditions — everything from
   heart disease and hypertension to diabetes, depression and pain. "Pharmacists
   are very integrated into their communities," she says. "They're open on evenings,
   weekends and holidays, and oftentimes you don't need an appointment to see
   one."


   Obstacles to providing medication abortion
   That doesn't mean every pharmacist in Washington is going to start prescribing
   abortion pills, Arnold says.

   For one, many say they lack sufficient knowledge of medication abortion, which is
   not covered by pharmacy school curricula. That's where Downing's training
   program fills a gap, guiding pharmacists through a "no-test" protocol designed for
   evaluating patients remotely, without the need for ultrasound, pelvic exam or
   bloodwork. The protocol includes guidelines for appropriate patient selection,
   treatment regimen and follow-up care, and it excludes patients with symptoms of,
   or risk factors for, ectopic pregnancy.

   The largest U.S. study of no-test screening for medication abortion to date found
   it to be safe and effective, with outcomes similar to those for patients who
   received in-person care.

   There are several administrative hurdles, too — both for the pharmacist and the
   pharmacy that employs them.

   While the FDA now allows retail pharmacies to dispense mifepristone, it also
   requires those pharmacies to undergo a new certification process. Currently, just
   one pharmacy in Washington is known to have been certified. Major pharmacy
   chains CVS and Walgreens announced on March 1 that they have been certified to
   start dispensing mifepristone. A spokesperson for Walgreens told NPR that the
   company will begin dispensing it in a phased rollout at locations in New York,
   Pennsylvania, Massachusetts, California, and Illinois.




                                                                                                                            App. 000965
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        6/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 161 of 220 PageID 10474




   To become certified, a pharmacy must meet a number of regulations related to
   record-keeping, adverse-event reporting and more. Pharmacies must also appoint
   a representative to ensure mifepristone is distributed in compliance with the
   FDA's Risk Evaluation and Mitigation Strategies program, or REMS, the stringent
   set of rules by which the agency regulates certain drugs.

   Among them is the requirement that doctors and other health care providers —
   including pharmacists — who wish to prescribe mifepristone first register with one
   of the two licensed manufacturers.

   That requirement has long been a significant barrier for primary care physicians,
   particularly those who work for religiously affiliated health systems. Indeed,
   though they've been capable of prescribing mifepristone since its approval in
   2000, just a small fraction of family physicians and other clinicians currently offer
   medication abortion.

   In Washington state, most primary care is provided by Catholic-owned or federally
   funded clinics — and for both of these, "the REMS makes it very difficult for a
   provider to 'register' to prescribe," says Emily Godfrey, a professor of family
   medicine and of obstetrics and gynecology at UW and the principal investigator
   for Access, Delivered, a project that helps primary care providers integrate
   telehealth medication abortion into their clinical practice. "And of course,
   pharmacists at these institutions would face the same hurdles."


   Viability in other states
   Nevertheless, interest in pharmacist-led provision of medication abortion appears
   to be growing, and not only in Washington. A bill pending in the New York State
   Assembly would grant pharmacists the authority to provide abortion medications
   under a "standing order" or non-patient specific prescription — the same way
   pharmacists administer vaccines and dispense naloxone, the opioid overdose
   reversal drug.

   And in California, researchers at the University of California, San Diego recently
   reported the results of a proof-of-concept pilot study in which a pair of
   pharmacists safely and effectively provided medication abortions under the study
   protocol.

                                                                                                                            App. 000966
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        7/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 162 of 220 PageID 10475




   "We want pharmacists to be able to practice in the current environment, but we
   also want to train them to be ready for what's coming five years from now," in
   terms of expanded scope of practice, says Sally Rafie, the founder of Birth Control
   Pharmacist and a co-author of the study. Last spring, Rafie and colleagues
   published the results of a survey study of more than 900 pharmacists and
   pharmacy students in California that found that 75% "would be willing to
   prescribe abortion medications to their pharmacy clients if allowed by law."

   A limited number of pharmacists in California may already be legally allowed to
   prescribe mifepristone if they've gotten an advanced practice certification. Rafie
   says she's hopeful that in the future the state may establish a pathway for all
   pharmacists to prescribe the drug.




                                                                                                                            App. 000967
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        8/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 163 of 220 PageID 10476




   Don Downing, near his home just east of the University District in Seattle. Downing has worked his whole career to
   expand the role of pharmacists in Washington state.
   Mike Kane for NPR




   Legal challenges to mifepristone
   Meanwhile, a serious legal challenge to the FDA's nearly 25-year-old approval of
   mifepristone continues to threaten access to the drug across the country.

   The Supreme Court is considering whether the FDA may be required to roll back
   changes it had made in recent years to make the drug more accessible, including
   allowing it to be sent through the mail and prescribed by health care providers
   who are not physicians.

   Until the Supreme Court issues a decision later this year, mifepristone remains
   available under the current rules.

   "Medication abortion is extremely safe and extremely effective," said Ushma
   Upadhyay, a professor at the University of California, San Francisco School of
   Medicine and a chair of the Society of Family Planning's #WeCount project, an
   ongoing tally of abortions in the U.S.

   In October, Upadhyay and colleagues reported that despite abortion bans in 14
   states and new limits imposed in seven others, the past year saw a slight uptick in


                                                                                                                            App. 000968
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        9/16
9/17/24, 12:25 PM                    In Washington state, pharmacists may soon prescribe and dispense mifepristone : Shots - Health News : NPR
       Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 164 of 220 PageID 10477
   abortions across the country, with major increases in states where abortion
   remains legal.




   "All of the moves made to shore up access in the legal states — things like
   expanding insurance coverage of abortion, more protections for providers and
   building up the telehealth infrastructure — are having a real impact," she says.
   Pharmacist prescribing of mifepristone puts the drug a step closer to over-the-
   counter, she adds. "It's one stop. And to be able to get your medication the same
   day, to not have to wait for it to come in the mail — that is huge."

   Patrick Adams is a freelance journalist based in Atlanta.

     pharmacists     pharmacies     mifepristone     medication abortion     abortion drug




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https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-prescribe-dispense-abortion-pill-mifepristone                        10/16
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 165 of 220 PageID 10478




                                EXHIBIT 58

       CVS and Walgreens to dispense the abortion pill
                mifepristone - NBC News




                                                                   App. 000970
9/17/24, 12:26 PM                                          CVS and Walgreens to dispense the abortion pill mifepristone
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                    Page 166 of 220 PageID 10479

    ABORTION RIGHTS


    CVS and Walgreens to start dispensing the abortion pill mifepristone
    The two pharmacy chains said they received certification to dispense mifepristone, following a rule change the Food and Drug
    Administration issued last year.




           Medication abortion made up more than half of all U.S. abortions in 2020, according to the Guttmacher Institute.
      Justin Merriman / Bloomberg via Getty Images




    March 1, 2024, 2:36 PM CST

    By Chloe Atkins

    CVS and Walgreens announced on Friday that they will soon start dispensing mifepristone, one of the two drugs
    used for medication abortions, in states where abortion is allowed.


    The two large pharmacy chains said they had received certification to dispense mifepristone, following a rule
    change the Food and Drug Administration finalized in January 2023.

                                                                                                                          App. 000971
https://www.nbcnews.com/health/health-news/cvs-walgreens-dispense-abortion-pill-mifepristone-rcna141396                                 1/3
9/17/24, 12:26 PM                                          CVS and Walgreens to dispense the abortion pill mifepristone

    The Case 2:22-cv-00223-Z
        FDA decision broadened theDocument     195-5
                                  availability of        Filed
                                                  abortion pills 10/11/24     Page 167 to
                                                                 by allowing pharmacies ofdispense
                                                                                           220 PageID
                                                                                                   them to10480
                                                                                                           patients in
    person or or by mail, though neither CVS nor Walgreens are sending the medication by mail yet. Previously, patients
    were required to pick up the medication in person at a clinic, medical office or hospital.


    Mifepristone is the first of two pills used in medication abortions. The second is misoprostol.

    The FDA policy still requires pharmacies to meet certain requirements and complete a set of forms to get certified to
    sell mifepristone — that's the process CVS and Walgreens have completed.

    Walgreens said it will begin dispensing mifepristone pills within a week — consistent with state laws — in select
    locations in California, Illinois, Massachusetts, New York and Pennsylvania.


    “We are beginning a phased rollout in select locations to allow us to ensure quality, safety, and privacy for our
    patients, providers, and team members,” Walgreens said in a statement.

    CVS said it is “working with manufacturers and suppliers to secure the medication and are not yet dispensing it” in
    any of their pharmacies.


    The statement added that pharmacies will begin to fill prescriptions in Massachusetts and Rhode Island in the
    “weeks ahead,” then “will expand to additional states, where allowed by law, on a rolling basis.”


    CVS and Walgreens said mifepristone will be only dispensed at their physical pharmacy locations, though Walgreens
    added that home delivery via a courier service will be available for customers at select locations in accordance with
    state and federal laws.


    Pharmacies in states where abortion is banned will not sell mifepristone.


    Medication abortion made up more than half of all U.S. abortions in 2020, according to the Guttmacher Institute, a
    research organization that advocates for abortion access.




                                                                                                                          App. 000972
https://www.nbcnews.com/health/health-news/cvs-walgreens-dispense-abortion-pill-mifepristone-rcna141396                                 2/3
9/17/24, 12:26 PM                                               CVS and Walgreens to dispense the abortion pill mifepristone
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                            Page 168 of 220 PageID 10481




           Boxes of mifepristone. Allen G. Breed / AP file




    Following the CVS and Walgreens announcements, President Joe Biden issued a statement praising the change.

    “With major retail pharmacy chains newly certified to dispense medication abortion, many women will soon have
    the option to pick up their prescription at a local, certified pharmacy—just as they would for any other medication,”
    Biden said. “I encourage all pharmacies that want to pursue this option to seek certification.”


    CVS and Walgreens’ announcements come as the Supreme Court is poised to hear oral arguments in March in a
    high-stakes case that takes aim at FDA policies that have expanded access to mifepristone in recent years. It will be
    the first significant abortion case before the Supreme Court since its decision in Dobbs v. Jackson Women's Health
    Organization overturned the constitutional right to abortion.




               Chloe Atkins


    Chloe Atkins reports for the NBC News Investigative Unit, based in New York. She frequently covers crime and courts, as well as the intersection of
    reproductive health, politics and policy.




                                                                                                                                  App. 000973
https://www.nbcnews.com/health/health-news/cvs-walgreens-dispense-abortion-pill-mifepristone-rcna141396                                                   3/3
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 169 of 220 PageID 10482




                                EXHIBIT 59

                 Pharmacy Directory - GenBioPro




                                                                   App. 000974
9/17/24, 12:27 PM                                                          Pharmacy Directory - GenBioPro
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                         Page 170 of 220 PageID 10483



                                                                             (/)

                                           FOR PRESCRIBERS (/FOR-PRESCRIBERS) FOR PHARMACIES
                                           (HTTPS://GENBIOPRO.COM/ABOUT-MIFEPRISTONE-
                                           PHARMACY/) FOR PATIENTS (/FOR-PATIENTS)

                                    Prescribing Information | Important Safety Information (/important-safety-information)




                                                PUTTING
                                                ACCESS
                                                INTO
                                                PRACTICE
                                                 MEDICAL ABORTION ON YOUR
                                                 TERMS




    Pharmacy Directory


    Here is a list of pharmacy locations that distribute mifepristone.




                                                                                                                             App. 000975
https://genbiopro.com/roster#fade                                                                                                          1/9
9/17/24, 12:27 PM                                               Pharmacy Directory - GenBioPro
        Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 171 of 220 PageID 10484
    Not all certified pharmacies dispensing GenBioPro generic mifepristone have elected to be listed here. If you wish to use a
    pharmacy to dispense, please email info@genbiopro.com (mailto:info@genbiopro.com). We can help you find your nearest
    certified pharmacy.




    National pharmacies
    CVS Pharmacy (https://www.cvshealth.com/womens-health.html)
    Pharmacy chain filling prescriptions in California, Colorado, Connecticut, DC, Delaware, Hawai'i, Illinois, Massachusetts,
    Maryland, Maine, Michigan, Minnesota, New Hampshire, New Jersey, Nevada, New Mexico, New York, Oregon,
    Pennsylvania, Rhode Island, Virginia, Vermont, and Washington.

    Honeybee Health (https://honeybeehealth.com/)
    Mail-order pharmacy filling prescriptions in multiple states.




    Regional pharmacies


                                       Arizona
                                       Fairmont Pharmacy
                                       (https://www.fairmontpharmacy.com/)
                                       5068 N. Central Ave.
                                       Phoenix, AZ


                                       California
                                       AllCare Pharmacy (https://allcarerx.net/)
                                       331 Main St.
                                       Salinas, CA

                                       Auburn Pharmacy and Compounding
                                       5643 Auburn St., Suite B
                                       Bakersfield, CA

                                       CureStat Rx (https://curestatrx.com/)
                                       6725 Mesa Ridge Rd., Suite 230
                                       San Diego, CA

                                       Haller’s Pharmacy and Medical Supply
                                       (https://www.hallerspharmacy.com/)
                                       37323 Fremont Blvd.
                                       Fremont, CA

                                       Komoto Pharmacy
                                       (http://www.komotopharmacy.com)
                                       1017 Ellington St.
                                       Delano, CA



                                                                                                        App. 000976
https://genbiopro.com/roster#fade                                                                                                 2/9
9/17/24, 12:27 PM                                          Pharmacy Directory - GenBioPro
         Case 2:22-cv-00223-Z Document   195-5 Filed 10/11/24 Page 172 of 220 PageID 10485
                              Ming and H Drugs (http://www.minghdrugs.com)
                                    1717 Ming Ave.
                                    Bakersfield, CA

                                    Normandy Pharmacy
                                    5112 Hollywood Blvd.
                                    Los Angeles, CA

                                    Normandy Pharmacy 2
                                    12914 B. Sherman Way
                                    North Hollywood, CA

                                    Pucci’s Pharmacy (https://www.puccirx.com/)
                                    3257 Folsom Blvd.
                                    Sacramento, CA

                                    SMP Pharmacy Northridge
                                    (https://smppharmacy.com/)
                                    18546 Roscoe Blvd., #102
                                    Northridge, CA

                                    St. Mary’s Pharmacy
                                    (https://fresno.medicineshoppe.com/)
                                    3150 E. Shields Ave., Suite 105
                                    Fresno, CA

                                    Sun Pharmacy
                                    2559 S. King Rd., Suite B10
                                    San Jose, CA

                                    TLC Medical Arts Pharmacy
                                    (https://www.tlcmedicalartspharmacy.com/)
                                    1500 W. West Covina Pkwy., #100
                                    West Covina, CA

                                    USC Medical Plaza Pharmacy
                                    (https://pharmacies.usc.edu/pharmacies/medical-
                                    plaza-pharmacy/)
                                    1510 San Pablo St., Suite 144
                                    Los Angeles, CA

                                    Wellspring Pharmacy
                                    (https://www.wellspringrx.com/)
                                    4184 C Piedmont Ave.
                                    Oakland, CA


                                    Connecticut
                                    St. Francis Rx #1
                                    100 Woodland St.
                                    Hartford, CT

                                    St. Francis Rx #2
                                    131 Coventry St.
                                    Hartford, CT

                                                                                            App. 000977
https://genbiopro.com/roster#fade                                                                         3/9
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         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                   Page 173 of 220 PageID 10486
                                    Maryland
                                    SMP Pharmacy Mid-Atlantic
                                    (https://smppharmacy.com/)
                                    9601 Blackwell Rd., #230
                                    Rockville, MD

                                    UMMC Pharmacy at Redwood
                                    (https://www.umms.org/ummc/locations/redwood-
                                    pharmacy)
                                    11 Paca St.
                                    Balitmore, MD




                                    Nevada
                                    A1C Pharmacy (https://a1cpharmacy.com/)
                                    4601 West Sahara Avenue, #P
                                    Las Vegas, NV

                                    Renown Pharmacy
                                    (https://www.renown.org/Health-
                                    Services/Pharmacy)
                                    21 Locust St.
                                    Reno, NV

                                    Renown Pharmacy
                                    (https://www.renown.org/Health-
                                    Services/Pharmacy)
                                    75 Pringle Way
                                    Reno, NV

                                    Renown Pharmacy
                                    (https://www.renown.org/Health-
                                    Services/Pharmacy)
                                    10101 Double R Blvd.
                                    Reno, NV


                                    New York
                                    Beacon Pharmacy
                                    (https://www.beaconpharmacyrx.com/)
                                    103 Main St.
                                    Port Washington, NY

                                    Genesee Campus Apothecary
                                    (http://www.rochesterhealth.com/healthcaredirect
                                    ory/aprofile/AXXXXXXXX/the-genesee-campus-
                                    apothecary)
                                    89 Genesee St.
                                    Rochester, NY


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         Case 2:22-cv-00223-Z Document   195-5 Filed 10/11/24
                              Glen Head Pharmacy
                                                                                Page 174 of 220 PageID 10487
                                    (https://www.glenheadrx.com/)
                                    699 Glen Cove Ave.
                                    Glen Head, NY

                                    Globe Drug Store (https://globedrugstore.net/)
                                    405 86th St.
                                    Brooklyn, NY

                                    Hunold Pharmacy
                                    (https://www.hunoldpharmacy.com/)
                                    94 Main St.
                                    Port Washington, NY

                                    Medford Chemists
                                    (https://rx.medfordchemists.com/)
                                    5608 Route 112
                                    Medford, NY

                                    Roslyn Pharmacy (https://www.roslynrx.com/)
                                    1314 Old Northern Blvd.
                                    Roslyn, NY

                                    Sunway Pharmacy
                                    5723 5th Ave.
                                    Brooklyn, NY


                                    Rhode Island
                                    Lifespan Pharmacy (http://lifespan.org)
                                    593 Eddy St., Davol Building
                                    Providence, RI


                                    South Carolina
                                    Sweetgrass Pharmacy and Compounding
                                    (https://www.sweetgrasspharmacy.com/)
                                    3485 Park Avenue Blvd.
                                    Mt. Pleasant, SC


                                    Texas
                                    Halowells
                                    2522 Westminster St.
                                    Pearland, TX


                                    Washington
                                    Jim’s Pharmacy & Home Health
                                    (https://jimsrx.com/)
                                    424 E. Second St.
                                    Port Angeles, WA


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         Case 2:22-cv-00223-Z Document   195-5 Filed 10/11/24 Page 175 of 220 PageID 10488
                              Ostrom's Drug & Gift (https://ostroms.com/)
                                             6414 NE Bothell Way
                                             Kenmore, WA


                                             Wisconsin
                                             Meriter Outpatient Pharmacy
                                             (https://www.unitypoint.org/madison/outpatient-
                                             pharmacy.aspx)
                                             202 S. Park St.
                                             Madison, WI




         IMPORTANT SAFETY INFORMATION


             Mifepristone tablets, 200 mg is indicated, in a regimen with misoprostol, for the medical termination of intrauterine
             pregnancy through 70 days gestation.
             IMPORTANT SAFETY INFORMATION

                WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR BLEEDING
                Serious and sometimes fatal infections and bleeding occur very rarely following spontaneous, surgical, and medical
                abortions, including following Mifepristone tablets, 200 mg use. No causal relationship between the use of
                Mifepristone tablets, 200 mg and misoprostol and these events has been established.
                       Atypical Presentation of Infection. Patients with serious bacterial infections (e.g., Clostridium sordellii) and
                       sepsis can present without fever, bacteremia, or significant findings on pelvic examination following an
                       abortion. Very rarely, deaths have been reported in patients who presented without fever, with or without
                       abdominal pain, but with leukocytosis with a marked left shift, tachycardia, hemoconcentration, and general
                       malaise. A high index of suspicion is needed to rule out serious infection and sepsis.
                       Bleeding. Prolonged heavy bleeding may be a sign of incomplete abortion or other complications and
                       prompt medical or surgical intervention may be needed. Advise patients to seek immediate medical
                       attention if they experience prolonged heavy vaginal bleeding.
                Because of the risks of serious complications described above, Mifepristone tablets, 200 mg is available only
                through a restricted program under a Risk Evaluation and Mitigation Strategy (REMS) called the mifepristone
                REMS Program.
                Before prescribing mifepristone, inform the patient about the risk of these serious events. Ensure that the patient
                knows whom to call and what to do, including going to an Emergency Room if none of the provided contacts are
                reachable, if they experience sustained fever, severe abdominal pain, prolonged heavy bleeding, or syncope, or if
                they experience abdominal pain or discomfort, or general malaise (including weakness, nausea, vomiting, or
                diarrhea) for more than 24 hours after taking misoprostol.



             Contraindications
                    Administration of Mifepristone tablets, 200 mg and misoprostol for the termination of pregnancy (the “treatment
                    procedure”) is contraindicated in patients with any of the following conditions:
                           Confirmed or suspected ectopic pregnancy or undiagnosed adnexal mass (the treatment procedure will not
                           be effective to terminate an ectopic pregnancy)
                           Chronic adrenal failure (risk of acute adrenal insufficiency)
                           Concurrent long-term corticosteroid therapy (risk of acute adrenal insufficiency)
                           History of allergy to mifepristone, misoprostol, or other prostaglandins (allergic reactions including
                           anaphylaxis, angioedema, rash, hives, and itching have been reported)
                           Hemorrhagic disorders or concurrent anticoagulant therapy (risk of heavy bleeding)
                           Inherited porphyrias (risk of worsening or of precipitation of attacks)
                    Use of Mifepristone tablets, 200 mg and misoprostol for termination of intrauterine pregnancy is contraindicated in
                    patients with an intrauterine device (“IUD”) in place (the IUD might interfere with pregnancy termination). If the
                    IUD is removed, Mifepristone tablets, 200 mg may be used.

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         Case 2:22-cv-00223-Z
           Warnings and Precautions Document 195-5 Filed 10/11/24                              Page 176 of 220 PageID 10489
             Infection and Sepsis
                    As with other types of abortion, cases of serious bacterial infection, including very rare cases of fatal septic shock,
                    have been reported following the use of Mifepristone tablets, 200 mg. Healthcare providers evaluating a patient
                    who is undergoing a medical abortion should be alert to the possibility of this rare event. A sustained (> 4 hours)
                    fever of 100.4°F or higher, severe abdominal pain, or pelvic tenderness in the days after a medical abortion may be
                    an indication of infection.
                    A high index of suspicion is needed to rule out sepsis (e.g., from Clostridium sordellii) if a patient reports abdominal
                    pain or discomfort or general malaise (including weakness, nausea, vomiting, or diarrhea) more than 24 hours after
                    taking misoprostol. Very rarely, deaths have been reported in patients who presented without fever, with or without
                    abdominal pain, but with leukocytosis with a marked left shift, tachycardia, hemoconcentration, and general malaise.
                    No causal relationship between Mifepristone tablets, 200 mg and misoprostol use and an increased risk of infection
                    or death has been established. Clostridium sordellii infections have also been reported very rarely following
                    childbirth (vaginal delivery and caesarian section), and in other gynecologic and non-gynecologic conditions.
             Uterine Bleeding
                    Uterine bleeding occurs in almost all patients during a medical abortion. Prolonged heavy bleeding (soaking through
                    two thick, full-size sanitary pads per hour for two consecutive hours) may be a sign of incomplete abortion or other
                    complications, and prompt medical or surgical intervention may be needed to prevent the development of
                    hypovolemic shock. Counsel patients to seek immediate medical attention if they experience prolonged heavy
                    vaginal bleeding following a medical abortion.
                    Women should expect to experience vaginal bleeding or spotting for an average of 9 to 16 days. Women report
                    experiencing heavy bleeding for a median direction of 2 days. Up to 8% of all subjects may experience some type of
                    bleeding for 30 days or more. In general, the duration of bleeding and spotting increased as the duration of the
                    pregnancy increased.
                    Decreases in hemoglobin concentration, hematocrit, and red blood cell count may occur in patients who bleed
                    heavily.
                    Excessive uterine bleeding usually requires treatment by uterotonics, vasoconstrictor drugs, surgical uterine
                    evacuation, administration of saline infusions, and/or blood transfu­sions. Based on data from several large clinical
                    trials, vasoconstrictor drugs were used in 4.3% of all subjects, there was a decrease in hemoglobin of more than 2
                    g/dL in 5.5% of subjects, and blood transfusions were administered to ≤ 0.1% of subjects. Because heavy bleeding
                    requiring surgical uterine evacuation occurs in about 1% of patients, special care should be given to patients with
                    hemostatic disorders, hypocoagulability, or severe anemia.
             Mifepristone REMS Program
             Mifepristone tablets, 200 mg is available only through a restricted program under a REMS called the mifepristone REMS
             Program, because of the risks of serious complications.
             Notable requirements of the mifepristone REMS Program include the following:
                    Prescribers must be certified with the program by completing the Prescriber Agreement Form.
                    Patients must sign a Patient Agreement Form.
                    Mifepristone tablets, 200 mg must be dispensed to patients by or under the supervision of a certified prescriber, or
                    by certified pharmacies on prescriptions issued by certified prescribers.
             Further information is available at 1-855-MIFEINFO (1-855-643-3463).
             Ectopic Pregnancy
             Mifepristone tablets, 200 mg is contraindicated in patients with a confirmed or suspected ectopic pregnancy because
             mifepristone is not effective for terminating ectopic pregnancies. Healthcare providers should remain alert to the
             possibility that a patient who is undergoing a medical abortion could have an undiagnosed ectopic pregnancy because
             some of the expected symptoms experienced with a medical abortion (abdominal pain, uterine bleeding) may be similar to
             those of a ruptured ectopic pregnancy. The presence of an ectopic pregnancy may have been missed even if the patient
             underwent ultrasonography prior to being prescribed Mifepristone tablets, 200 mg.
             Patients who became pregnant with an IUD in place should be assessed for ectopic pregnancy.
             Rhesus Immunization
             The use of Mifepristone tablets, 200 mg is assumed to require the same preventive measures as those taken prior to and
             during surgical abortion to prevent rhesus immunization.
             Adverse Reactions
             Most common adverse reactions (>15%) are nausea, weakness, fever/chills, vomiting, headache, diarrhea, and dizziness.
             For additional information about mifepristone, see the Full Prescribing Information
             (https://www.genbiopro.com/mifepi), including Boxed Warning.
             You are encouraged to report negative side effects of prescription drugs to the FDA. Visit www.fda.gov/medwatch
             (http://www.fda.gov/medwatch), or call 1-800-FDA-1088.



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         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                           Page 177 of 220 PageID 10490




                       PUTTING ACCESS INTO PRACTICE

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        CONTACT US (HTTPS://GENBIOPRO.COM/CONTACT-US/)

        STATEMENT REGARDING COMPLIANCE WITH CALIFORNIA HEALTH & SAFETY CODE § 119402 (HTTPS://GENBIOPRO.COM/CALIFORNIA-
        HEALTH-SAFE-CODE-119402/)




        PRESCRIBERS

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        PAT I E N T S

        ABOUT MEDICAL ABORTION (HTTPS://GENBIOPRO.COM/ABOUT-MEDICAL-ABORTION/)

        TAKING MIFEPRISTONE (HTTPS://GENBIOPRO.COM/TAKING-MIFEPRISTONE/)

        COMMUNITY (HTTPS://GENBIOPRO.COM/COMMUNITY/)
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         CaseRESOURCES
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                       (HTTPS://GENBIOPRO.COM/RESOURCES-PATIENT/)                   Page 178 of 220 PageID 10491
        ABOUT GENBIOPRO (HTTPS://GENBIOPRO.COM/ABOUT-GENBIOPRO-PATIENTS/)




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https://genbiopro.com/roster#fade                                                                                  9/9
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 179 of 220 PageID 10492




                                EXHIBIT 60

     'Shield' laws make it easier to send abortion pills to
             banned states - The Washington Post




                                                                   App. 000984
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                          Page 180 of 220 PageID 10493


                                                     This article was published more than 1 year ago



                                                              Democracy Dies in Darkness




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                                                                 health policy news

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'Shield' laws make it easier to send abortion pills to banned states
            Analysis by Rachel Roubein
            with research by McKenzie Beard
July 20, 2023 at 7:14 a.m. EDT


Happy Thursday! A big shout out to Caroline Kitchener for her excellent reporting in the top of today’s newsletter.


And one note: I’ll be heading out on summer vacay for a few days, and you’ll have a great rotating cast of Post reporters bringing you this
newsletter. See you next week! In the meantime, send all your news and tips to mckenzie.beard@washpost.com.


Today’s edition: A hearing continues today on a lawsuit seeking clarity over exceptions to Texas’s strict abortion ban. Sen. Bernie Sanders (I-
Vt.) introduces a competing bill to fund community health centers as a critical deadline nears. But first …




Aid Access launches new way to send abortion pills into states with bans
There’s a new, more efficient pipeline sending abortion pills into states with bans.


Europe-based Aid Access, one of the largest abortion pill suppliers, revamped its protocols in mid-June. The result? Doctors in certain
Democratic-led states with “shield” laws can now mail and prescribe pills directly to patients in antiabortion states.


The new process could ignite a complex interstate battle over abortion, where U.S. doctors in blue states are empowered to legally circumvent
abortion laws in red states. The move could also undermine abortion bans at a time when antiabortion groups and doctors are seeking to revoke
the approval of key medication used in over half of all abortions in the country.


Our colleague Caroline Kitchener dove deep into the new effort — and here’s what she found.




The details
Previously, Aid Access only allowed Europe-based doctors to prescribe abortion pills to women in states where abortion is restricted. Those pills
were shipped from India, and often took weeks to get to patients, which could push abortions well into the second trimester. (The Food and
Drug Administration has approved mifepristone through 10 weeks gestation, though some studies have shown it can be used safely and
effectively later in pregnancy.)


                                                                                                                         App. 000985
But new laws enacted over the past year are helping to streamline the process. Democratic-led states have moved to protect medical
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                       Page 181 of 220 PageID 10494
professionals and others who practice in states where abortion is legal from potential punishment in states with bans. New York,
Massachusetts, Washington, Vermont and Colorado explicitly protect abortion providers who mail pills to restricted states from inside
their borders, Caroline writes.


The new landscape: In less than a month, seven U.S.-based providers affiliated with Aid Access have mailed 3,500 doses of abortion pills to
people residing in states with bans. All together, the small group could help facilitate at least 42,000 abortions in antiabortion states in a year.
(Those numbers could grow, of course, if more providers join in.)


        As one expert told Caroline, the shield laws are “a huge breakthrough for people who need abortions in banned states,” said David
        Cohen, a Drexel University law professor who focuses on abortion legislation. “Providers are protected in many ways as long as
        they remain in the state with the shield law.”




Could doctors face legal risks?
That’s a key question. And it could ultimately be resolved by the courts.


Some lawyers say the doctors — who are preparing and packaging the pills sent to restricted states themselves — could face repercussions, even if
they don’t travel to states that prosecute abortion providers. Some wonder whether states with abortion bans would try to extradite medical
providers from states with shield laws, though that could prove difficult.


Jonathan Mitchell, the former solicitor general of Texas and architect of the state’s roughly six-week ban, said it seems too early to predict
what will happen, but that “there absolutely is a world in which they could get in trouble for it.” (In many states with bans, those found guilty of
distributing abortion pills could be sentenced up to at least several years in prison.)


But some involved in the effort say they’re not worried.


“Everything I’m doing is completely legal,” a doctor in New York’s Hudson Valley, who spoke on the condition of anonymity to protect her safety,
told Caroline. “Texas might say I’m breaking their laws, but I don’t live in Texas.”


Read the full story here.




Reproductive wars


Testimony begins in hearing seeking clarity on Texas’s abortion exceptions
Three women gave accounts yesterday of being denied abortions or given delayed medical care due to confusion over the exceptions in Texas’s
strict abortion laws.


The testimony in a Texas courtroom was often emotional. At one point, one woman was reading a letter from her doctor describing how her baby
had been diagnosed with a condition incompatible with life. She became sick on the stand, and the judge quickly recessed.


The case, which was filed by the Center for Reproductive Rights, is believed to be the first lawsuit from women denied
abortions since the nation’s highest court overturned Roe v. Wade last summer. The hearing began yesterday, as three women and a
doctor took the witness stand for the plaintiffs, and will continue today.




                                                                                                                         App. 000986
The legal challenge isn’t seeking to overturn the state’s abortion ban, but rather to clarify when an abortion is allowed in the case of a medical
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                         Page 182 of 220 PageID 10495
emergency. The plaintiffs are also seeking a temporary injunction blocking the state’s ban in instances where a patient experiences a pregnancy
complication.


During the hearing, Molly Duane — an attorney with the Center for Reproductive Rights — argued that the exceptions in the state’s
abortion ban are either “conflicting or lack definitions,” and that doctors fear the high penalties they’d face if they’re found to violate the law.


On the other side, Amy Pletscher, who represented the Republican attorney general’s office, called the legal challenge an “ideological crusade.”


“Plaintiffs simply do not like Texas’s restrictions on abortion,” she said.


Shefali Luthra, reporter at the 19th:



            Shefali Luthra
            @shefalil · Follow

  The state's attorney repeats the same question she's
  asked every plaintiff: “Did Attorney General Paxton tell you
  you could’t receive an abortion?”

  Casiano: “In a way, I want to say yes.”
  2:12 PM · Jul 19, 2023

        5          Reply          Copy link

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On the Hill


Sanders introduces bill to fund community health centers
Senate HELP Committee Chair Bernie Sanders (I-Vt.) unveiled a bill yesterday that aims to overhaul the country’s primary health-care
system — a move that indicates there isn’t a bipartisan compromise in the Senate over funding for health centers that provide care to the
country's most vulnerable.


The details: The legislation would invest $20 billion per year over a five-year period to expand community health centers and expand the
health workforce. The panel is slated to mark up the legislation next Wednesday.


Sanders’s proposal comes days after the panel’s top Republican, Sen. Bill Cassidy (La.), introduced a bill to reauthorize the fund comprising
roughly 70 percent of federal dollars for health centers, which is set to expire Sept. 30. That legislation mirrors the funding plan the House
Energy and Commerce Committee advanced with unanimous support in late May.


The view from Cassidy: “This is partisan legislation that cannot pass the Senate,” he said in a statement. “There is already reauthorization
legislation that unanimously passed out of the House E&C committee, has been introduced in the Senate and is endorsed by community health
centers. That is the bill we should mark up next week.”




Meanwhile, in the House …
                                                                                                                           App. 000987
The House Energy and Commerce Committee advanced two Republican-drafted bills aimed at reauthorizing an emergency preparedness
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 183 of 220 PageID 10496
law. The votes were 28-23 and 27-22.


In a political maneuver ahead of the hearing, the panel’s Democrats introduced their own version of the emergency preparedness bill that
included a slate of measures they had been pushing to address the country’s drug shortages.


One more thing: The panel also voted unanimously to advance a bipartisan bill that would reauthorize an array of addiction treatment and
recovery programs first enacted as part of the Support Act, which Congress passed in 2018.


Frank Pallone Jr. (N.J.), the panel’s top Democrat:

Today @EnergyCommerce Committee is marking up 15 health care bills including a bipartisan bill to help those struggling with opioids.
Unfortunately, we're also voting on a partisan Republican bill that will leave our nation unprepared to face the next public health
emergency. pic.twitter.com/IOXdsvvTMy
— Rep. Frank Pallone (@FrankPallone) July 19, 2023




Rep. Jeff Duncan (R-S.C.), a member of the committee:

My amendment to H.R. 4420, the Preparedness and Response Authorization Act, that saves American taxpayers $65 million, just
passed in the @HouseCommerce Committee. This amendment strikes funding increases to the very public health agencies that failed us
during COVID, as they… pic.twitter.com/Awe2CafvAM
— Rep. Jeff Duncan (@RepJeffDuncan) July 19, 2023




Across the Capitol …
Senate Majority Leader Chuck Schumer (D-N.Y.) will allow a vote to repeal the Pentagon’s abortion policy, in an effort to sway Republican
Sen. Tommy Tuberville (Ala.) to lift his hold on scores of military promotions, Politico’s Burgess Everett reports.


       If he “wants to have an affirmative vote, we would not object to it,” Schumer said yesterday. “Tuberville said he
       wanted a vote, we’ll see what happens.”


What we’re watching: Schumer’s offer could come as an amendment vote on the must-pass National Defense Authorization Act or as a
stand-alone vote, although both would likely fail in the Democratic-controlled chamber. Privately, some Republicans have expressed worries that
such an outcome wouldn’t be enough to satisfy Tuberville.




Coronavirus


Health officials: Funding cuts to Chinese lab separate from congressional probes
The federal health department suspended funding this week to the Wuhan Institute of Virology, the Chinese lab at the center of
investigations about the coronavirus’s origins.



                                                                                                                    App. 000988
Current and former health officials told our colleague Dan Diamond that the decision was independent from congressional investigations into
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                        Page 184 of 220 PageID 10497
the virus’s origin, and that it doesn’t indicate confirmation of theories that the virus leaked from the facility. Instead, the order was “necessary to
mitigate any potential public health risk,” after the research institute failed to turn over key documents about its work on coronaviruses,
according to a Department of Health and Human Services memo.


Read the full story here.


Rep. Brad Wenstrup (R-Ohio), who chairs the House panel investigating the coronavirus response:



             Rep. Brad Wenstrup
             @RepBradWenstrup · Follow

  It’s about time for HHS to finally stop sending taxpayer
  dollars to the Wuhan Institute of Virology!

         Select Subcommittee on the Coronavirus Pand…                   @COVIDSel…
        BREAKING

     @HHSgov moves to cut off U.S. taxpayer funds from the Wuhan Institute
     of Virology.

     “...there is risk that WIV not only previously violated, but is currently
     violating, and will continue to violate, protocols of the NIH on biosafety...”

     This is an obvious decision.

  12:13 PM · Jul 19, 2023

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Daybook
On tap today: Our colleague Sabrina Malhi will host a live Q&A with Peter Hotez, a prominent scientist and pediatrician, on
misinformation surrounding vaccines. The event will take place at 1 p.m. Submit your questions here.




Health reads
Revolving Door: DEA’s No.2 quits amid reports of previous consulting work for Big Pharma (By Joshua Goodman and Jim Mustian | The
Associated Press)


Florida kept disabled kids in institutions. A judge is sending them home. (By Amanda Morris | The Washington Post)


Gene variant may be why some test positive for virus with no covid symptoms (By Aara'L Yarber | The Washington Post)




Sugar rush
                                                                                                                           App. 000989
      Case 2:22-cv-00223-Z
        Dave                     Document 195-5 Filed 10/11/24
             Jorgenson (not JD Vance)                             Page 185 of 220 PageID 10498
            @davejorgenson · Follow

  would you like them in a hat
  would you like them with a Mitt

                                                     Watch on X




  4:42 PM · Jul 19, 2023

       66          Reply         Copy link

                                    Read 6 replies



Thanks for reading! See y'all tomorrow.




                                                                                App. 000990
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 186 of 220 PageID 10499




                                EXHIBIT 61

  How blue states are responding to the post-Roe world -
                  The Washington Post




                                                                   App. 000991
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                           Page 187 of 220 PageID 10500


                                                      This article was published more than 1 year ago



                                                               Democracy Dies in Darkness




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How blue states are responding to the post-Roe world
            Analysis by Rachel Roubein
            with research by McKenzie Beard
June 21, 2023 at 8:11 a.m. EDT


Happy official first day of summer (the absolute best season) ☀️Send news and tips for the longest day of the year to
rachel.roubein@washpost.com. Not a subscriber? Sign up here.


Today’s edition: Half of OBGYNS in states with bans say they’ve had patients who were unable to obtain an abortion despite seeking one, a new
survey finds. A federal judge strikes down Arkansas’s first-in-the-nation ban on gender transition care for minors. But first …




Democratic-led states are passing shield laws, solidifying abortion rights post-Roe
Democratic-led states rushed to shore up abortion protections in the first legislative season of the post-Roe era.


Lawmakers in blue states passed an array of bills, from solidifying abortion rights to expanding access to medication abortion to shielding
providers who practice in states where abortion is legal.


The goal? Democrats are seeking to ensure abortion remains legal in their states, while continuing to serve as a destination for women who live
in conservative areas with strict abortion bans. Their efforts this year built on legislation passed in 2022 in anticipation of the Supreme Court
overturning Roe v. Wade — and some abortion rights advocates say it’s just the beginning.


        “This is truly the next iteration of innovation and creativity at the state level, as well as at the local level,” said Andrea Miller, the
        president of the National Institute for Reproductive Health.


We’ve written a lot about how abortion bans fared during state legislative sessions this year. This morning, we’re turning to trends in states
seeking to counteract such restrictions.




Trend #1: Some states sought to shore up abortion rights.
There were several prominent examples of this effort popular among liberal states and abortion rights groups.



                                                                                                                            App. 000992
In Minnesota: In a surprising upset during November’s midterm elections, Democrats took full control of the state government for the first
        Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                    Page 188 of 220 PageID 10501
time since 2014. They rushed to enact a law codifying the right to an abortion into state law. (The procedure was already protected under a 1995
state Supreme Court decision, but supporters said they wanted to take the decision out of the hands of “individual judges.”)


In Michigan: Democrats also won control of both the state House and Senate for the first time in nearly four decades. In April, Gov. Gretchen
Whitmer (D) signed legislation to repeal a 1931 near-total abortion ban, which came after voters in the state approved a constitutional
amendment to enshrine the right to an abortion into the state constitution.


In Maryland: The General Assembly gave the greenlight to let voters decide whether to enshrine abortion rights into the state constitution next
year.


In New York: For the second time, state lawmakers passed an amendment to enshrine abortion rights into the state constitution. That means
the measure will also now head to voters next year.


More from Whitmer:


Today, we are repealing Michigan’s extreme 1931 law that bans abortion and criminalized nurses and doctors for doing their jobs.

This is long overdue. 🧵 pic.twitter.com/PCOqJhTtb4
— Governor Gretchen Whitmer (@GovWhitmer) April 5, 2023




Trend #2: Democrats look to shield providers.
While the specifics in states may differ, this policy is generally aimed at protecting medical professionals and others who practice in states where
abortion is legal from punishment in states with bans.


Advocates for such laws acknowledge there don’t appear to be cases of charges filed against providers in such instances. But they say the new
measures send a message and act as a guard against lawsuits.


In New York: The legislature gave approval yesterday to legislation granting legal protection for doctors in the state to prescribe and send
abortion pills to patients in states with bans. Gov. Kathy Hochul (D) has indicated her support for the idea of a new shield law, per the New
York Times.


The state certainly isn’t the only one to enact new shield laws. In Vermont, Republican Gov. Phil Scott signed a shield law that
explicitly protects access to mifepristone, even if the federal government withdraws approval of the commonly used abortion pill.


Other states passing various forms of shield laws include Hawaii, Illinois, Minnesota, Colorado and several more.


David S. Cohen, a professor at Drexel University’s law school:



BIG NEWS out of New York. It becomes the fifth state to pass this type of shield law, but the first with providers who are openly talking
about how they are going to mail pills to ban states. 1/2 https://t.co/g75rKXqbJS
— David S. Cohen (@dsc250) June 20, 2023




                                                                                                                        App. 000993
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                       Page 189 of 220 PageID 10502
Trend #3: States are testing out a smattering of new bills.
States tend to follow each other’s lead, so it’s worth watching closely what could emerge as a trend during the next legislative cycle.


Some bills that caught our eye:


        In New York, Hochul signed a bill aimed at ensuring all public colleges and universities offer medication abortion.

        In Washington state, a new law will ensure the Department of Corrections can sell, deliver, distribute and dispense abortion pills.

        And Rhode Island has become the latest state with a measure letting state funds cover abortion in the Medicaid program and for
        those on state employee insurance plans.


Meanwhile … State and local governments are putting more money toward expanding access to abortion. Since the Supreme Court’s decision, at
least 15 municipal governments and six states have put nearly $208 million toward funding abortion, reproductive health services, patient
navigation programs and other services, according to the National Institute for Reproductive Health.


Rhode Island Gov. Dan McKee (D):


Here in Rhode Island, we will always protect a woman's right to choose and ensure equal access to these crucial health care services.

I'm proud to sign the Equality in Abortion Coverage Act into law and include related funding in my budget proposal.
pic.twitter.com/wJvHG6p5Q0
— Governor Dan McKee (@GovDanMcKee) May 18, 2023




Chart check


New this a.m.: How OBGYNs say new abortion restrictions are affecting maternal care
In the year since the Supreme Court overturned Roe v. Wade, half of OBGYNs working in states with abortion bans say they have had patients
who were unable to terminate their pregnancies despite seeking to do so, according to a new survey out this morning from KFF.


By the numbers: Across the country, 68 percent of OBGYNs said the effects of the Dobbs ruling have made managing pregnancy-related
medical emergencies worse, while 64 percent said they believe the ruling has exacerbated pregnancy-related mortality, according to the poll.


Zooming out: The findings represent the first nationally representative survey of OBGYNs since the ruling and provide one of the clearest views
yet of how the decision has affected reproductive and sexual health care in the United States, The Post’s Kim Bellware writes.




Transition care


Federal judge in Ark. blocks first ban on gender transition care


                                                                                                                         App. 000994
A federal judge struck down a 2021 Arkansas law prohibiting gender-affirming care for youth as unconstitutional yesterday, finding that the first-
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                     Page 190 of 220 PageID 10503
in-the-nation ban violated the rights of doctors and discriminated against transgender people, our colleague Anne Branigin reports.


U.S. District Judge James Moody of the Eastern District of Arkansas issued a permanent injunction forbidding the enforcement of the ban,
which he had previously temporarily blocked from taking effect. The state plans to appeal the decision, Arkansas Attorney General Tim Griffin
(R) said in a statement yesterday.


The bigger picture: Moody’s closely watched ruling marks the first time a federal court has decided the legality of such restrictions, which have
been adopted by at least 20 additional states in recent years, according to data compiled by the ACLU.


Arkansas Gov. Sarah Huckabee Sanders (R):


This is not “care” – it’s activists pushing a political agenda at the expense of our kids and subjecting them to permanent and harmful
procedures.

Only in the far-Left’s woke vision of America is it not appropriate to protect children.

We will fight this and the Attorney… https://t.co/7wCeR4I1Vo
— Sarah Huckabee Sanders (@SarahHuckabee) June 20, 2023


The ACLU of Arkansas:



VICTORY! A federal district court judge has ruled against the Arkansas law banning gender-affirming care for trans youth, marking a
groundbreaking victory to #ProtectTransYouth. We stand with all brave Arkansans fighting for their right to thrive & be healthy.🏳️‍⚧️#arpx
#arleg pic.twitter.com/TQrDoq3DED
— ACLU of Arkansas (@ArkansasACLU) June 20, 2023




Meanwhile …
The U.K.’s publicly funded National Health Service for England announced this month that it would limit the use of most puberty blockers
for youth to clinical trials, saying more evidence is needed about their potential benefits and harms, the Wall Street Journal’s Jathon Sapsford
and Stephanie Armour reported over the weekend.


It’s an argument that has cropped up among Republicans in Congress, with GOP lawmakers seizing on European doubts last week to
support their push for increased caution and restrictions.


On the other side, Democrats contend Republicans are attempting to score political points. The U.S. medical community largely
hasn’t wavered in its support for clinical interventions. Last week, delegates from the American Medical Association endorsed a resolution
reiterating support for access to gender-affirming care, saying that GOP claims “do not reflect the research landscape.”




State scan


Inside how Gov. DeSantis used secretive panel to flip Florida Supreme Court


                                                                                                                       App. 000995
Our colleagues Beth Reinhard and Josh Dawsey published a deep dive yesterday on how Florida Gov. Ron DeSantis (R) seized on the
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 191 of 220 PageID 10504
unusual retirement of three liberal justices on the state Supreme Court at once to quickly reshape the panel into a conservative stronghold.


The details: After DeSantis narrowly won election in 2018, he enlisted the help of a secretive panel led by Leonard Leo — the key architect of
the U.S. Supreme Court’s conservative majority — to quietly vet judicial nominees to fill the vacancies.


The group grilled finalists on whether their principals matched those of the Federalist Society, an organization for conservative
and libertarian attorneys that’s led by Leo, people familiar with the process told The Post. DeSantis would go on to appoint three new justices in
his first two weeks in office, flipping the court from what he described as a 4-3 liberal majority to a 6-1 conservative advantage.


Why it matters: The governor’s efforts have yielded one of the most conservative state Supreme Courts in the country, and it is set to weigh the
constitutionality of Florida’s 15-week abortion ban in the coming months. A six-week ban that DeSantis approved this year also hangs in the
balance, Beth and Josh write.


Our colleague Caroline Kitchener, who covers abortion for The Post:


Soon, the FL supreme court is expected to issue a decision that will end most abortions in the third most populous state.

DeSantis reshaped the court for this exact moment.

Crucial reporting on how he did it, from @bethreinhard + @jdawsey1 https://t.co/C29Ix3oDvd
— Caroline Kitchener (@CAKitchener) June 20, 2023




In other news from the states …
In Kansas: State officials have agreed to not yet enforce a new law requiring clinics to inform patients of the disputed notion that a medication
abortion can be interrupted using an unproven drug regimen until a judge weighs in on a formal request to block it, the Topeka Capital-
Journal’s Andrew Bahl reports.


In Missouri: A judge rejected Republican Attorney General Andrew Bailey’s bid to stop a constitutional amendment to restore abortion
rights, ordering him to approve Republican Auditor Scott Fitzpatrick’s cost estimate of the proposal within 24 hours of the ruling, Kurt
Erickson reports for the St. Louis Post-Dispatch.




In other health news
        The Senate voted 51-43 yesterday to confirm Julie Rikelman to the U.S. Court of Appeals for the 1st Circuit, overcoming
        opposition from some Republicans and antiabortion advocates over her work as an abortion rights attorney.

        The Supreme Court threw out a lower-court ruling yesterday stopping South Carolina from cutting off public funding to
        Planned Parenthood, remanding the case to the U.S. Court of Appeals for the 4th Circuit for further consideration.

        On the move: Anne Esposito, PhRMA’s senior vice president for federal advocacy, will leave the lobbying group later this
        summer after over three years at the organization, Stat’s Rachel Cohrs reports.

        The U.S. Preventive Services Task Force finalized its recommendation yesterday urging primary care providers for the
        first time to screen all adults younger than 65 for anxiety disorders, The Post’s Lindsey Bever reports.




Health reads
                                                                                                                         App. 000996
White House meets with drug firms on cost of overdose-reversal drugs (By David Ovalle l The Washington Post)
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                    Page 192 of 220 PageID 10505
‘It’s beyond unethical’: Opaque conflicts of interest permeate prescription drug benefits (By Bob Herman | Stat)


Impeached Texas Attorney General Partnered With Troubled Businessman to Push Opioid Program (By Kiah Collier | ProPublica )


Aird projected to oust Morrissey in Virginia Senate primary (By Laura Vozzella | The Washington Post)




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 An unfortunate side effect. #NewYorkerCartoons
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Thanks for reading! See y'all tomorrow.
      Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 193 of 220 PageID 10506




                                                                         App. 000998
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 194 of 220 PageID 10507




                                EXHIBIT 62

    Group using ‘shield laws’ to provide abortion care in
                     states that ban it
                  Abortion - The Guardian




                                                                   App. 000999
9/17/24, 12:34 PM                              Group using ‘shield laws’ to provide abortion care in states that ban it | Abortion | The Guardian
         Case 2:22-cv-00223-Z
                          Abortion
                                  Document 195-5 Filed 10/11/24                                                       Page 195 of 220 PageID 10508
                                      This article is more than 1 year old

                                     Group using ‘shield laws’ to provide abortion
                                     care in states that ban it
                                     Aid Access ships medication abortion to all 50 states under
                                     the protection provided to clinicians serving patients in
                                     banned states




                                       Boxes of mifepristone. Each of the Aid Access providers is sending approximately 50 packages a day.
                                     Photograph: Evelyn Hockstein/Reuters

                                     Rebecca Grant
                                     Sun 23 Jul 2023 07.00 EDT


                                     Dr Linda Prine is providing abortion access to people in all 50 states, even
                                     those that have banned it. That might seem like an admission to be discreet
                                     about in post-Roe America, but Prine and her colleagues at Aid Access, a
                                     telemedicine abortion service, are doing it openly and in a way they believe
                                     is on firm legal ground.

                                     On 14 July, Aid Access announced that over the past month, a team of seven
                                     doctors, midwives and nurse practitioners have mailed medication abortion
                                     to 3,500 people under the protection of “shield laws”, which protect
                                     clinicians who serve patients in states where providing abortion is illegal. As
                                     soon as she learned about shield laws, Prine knew it represented an
                                     opportunity to go on the offensive, for those bold enough to try it.

                                     “It made me think, OK, we need to fight back,” Prine said. “We can’t just take
                                     this lying down. We’ve got to do something. And this was what we can do.”

                                     From its origins, Aid Access has always been willing to test legal boundaries.
                                     It was started in 2018 by the Dutch physician Dr Rebecca Gomperts. At the
                                     time, FDA regulations prevented licensed US providers from mailing
                                     mifepristone, one of the two drugs in the medication abortion regimen, so
                                     Aid Access was structured like Gomperts’ other telemedicine service,
                                     Women on Web. That process involved abortion seekers filling out an online
                                     consultation, and if eligible, Gomperts wrote a prescription from Europe and
                                     the pills were dispatched by a pharmaceutical partner in India.

                                     Then, in 2020, Covid hit. And a federal judge suspended the FDA’s in-person
                                     dispensing requirement for mifepristone. For the first time, legally
                                     prescribed medication abortion could be put in the mail. Aid Access used
                                     this opportunity to implement a hybrid model: in states where telemedicine
                                     abortion was legal, US clinicians handled the prescriptions, while in states
                                     where it wasn’t, the pills continued to be mailed from India.

                                     One drawback of shipping from India was the packages could take weeks to
                                     arrive. In addition to the stress and uncertainty involved in waiting, the time
                                     lag could push people past the 12-week limit recommended by the World
                                     Health Organization (although there is some emerging research that abortion
                                     pills can safely be taken later.) Covid also created concerns about shipping
                                     delays, and there was always the chance that customs could seize the
                                     packages.


                                                                                                                                             App. 001000
https://www.theguardian.com/world/2023/jul/23/shield-laws-provide-abortion-care-aid-access                                                                 1/6
9/17/24, 12:34 PM                            Group using ‘shield laws’ to provide abortion care in states that ban it | Abortion | The Guardian
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                                     then needing to wait three or four weeks to get
                                     it to happen … that’s just so hard
                                     Dr Linda Prine

                                     “The whole experience of wanting an abortion and then needing to wait
                                     three or four weeks to get it to happen, and not even be sure if those pills are
                                     ever going to come, that’s just so hard,” said Prine, who started working with
                                     Aid Access in 2021. “Who wants to do that? Nobody.”

                                     In March 2022, Prine read an op-ed by three legal scholars – David S Cohen of
                                     Drexel University, Rachel Rebouché of Temple University, and Greer Donley
                                     of the University of Pittsburgh – that introduced her to the idea of shield
                                     laws. The trio had published a paper titled The New Abortion Battleground
                                     in the Columbia Law Review, which outlined the ways that shield laws could
                                     protect abortion providers who treated patients in banned states if Roe fell.

                                     “Certainly, it’s not a surprise that post-Dobbs, there are going to be medical
                                     care providers who want to push the limits and care for as many people as
                                     they can, including people in other states,” Cohen said in an interview.
                                     “People are going to do this, so we were thinking about what can the states
                                     where they live do to help them the most?”

                                     Inspired by their work, a wave of states started passing shield laws. The first,
                                     in Connecticut, passed in May 2022. Massachusetts, the fifth state to pass a
                                     shield law in July 2022, was the first to include a telemedicine provision,
                                     meaning the state pledged to protect a provider licensed there who
                                     prescribed and mailed medication abortion pills, via telemedicine, to a
                                     patient in a state where abortion was banned – like Texas or Alabama.
                                     Currently, 15 states have shield laws in place, and five – Massachusetts,
                                     Washington, Vermont, Colorado and New York – have specific telemedicine
                                     protections.

                                        Post-Dobbs, there are going to be
                                     medical providers who want to push the
                                     limits and care for as many people as
                                     they can
                                     David S Cohen
                                     Before Aid Access, no US providers had publicly tested them. Then, on 18
                                     June, the organization started serving patients nationwide with providers
                                     licensed in those five states. Up to 13 weeks, they offer prescriptions for $150
                                     with a sliding scale that asks people to pay whatever they can afford, with a
                                     shipping time of two-five days. (In a physical clinic, the median cost of
                                     medication abortion is over $500.)

                                     “Now Aid Access is completely US provider-led,” Lauren Jacobson, a nurse
                                     practitioner licensed in Massachusetts who joined Aid Access in February
                                     2023, told the Guardian this month. “I think this is important because it
                                     sends the broader message that this is an American issue, a US problem, and
                                     taking advantage of the shield laws means we are returning this to an at-
                                     home solution.”

                                     In addition to enabling faster shipping times, Jacobson said some people also
                                     feel more secure knowing that the pills are coming from licensed clinicians
                                     through an FDA-approved pipeline. This is part of what distinguishes Aid
                                     Access from abortion pill suppliers that operate through unofficial channels,
                                     such as unregulated online pharmacies and clandestine community
                                     networks. While the non-profit Plan C has found those medications to be as
                                     advertised, and reliably safe and effective (and also, in the case of
                                     community networks, free), they don’t offer interaction with a licensed
                                     clinician, and some people want that support as part of the process.

                                     Right now, each of the Aid Access providers is sending approximately 50
                                     packages a day. Prine said all the packing and postage and shipping tasks are
                                     a “big pain in the rear”, but it’s manageable. They are prepared to scale, both
                                     in terms of infrastructure and in terms of the legal challenges their actions
                                     could invite.

                                     Cohen suggests there will be a “coming battle” as shield laws get tested, and
                                     emphasized that providers have the greatest amount of protection while
                                     they are in shield law states. Jacobson and Prine are not overly concerned
                                     about legal repercussions, but that doesn’t mean they’re not taking
                                     precautions.

                                                                                                                                App. 001001
https://www.theguardian.com/world/2023/jul/23/shield-laws-provide-abortion-care-aid-access                                                        2/6
9/17/24, 12:34 PM                             Group using ‘shield laws’ to provide abortion care in states that ban it | Abortion | The Guardian
         Case 2:22-cv-00223-Z       Document
                          “If it happens, it happens,195-5      Filed 10/11/24
                                                     and we are prepared,” Prine said. “ButPage
                                                                                           I’m  197 of 220 PageID 10510
                                     definitely not taking any vacations in Texas.”

                                     Because shield laws are designed to protect providers, patient risk is a
                                     separate factor – one that’s particularly acute for people from communities
                                     that face heightened surveillance from law enforcement. A state doesn’t
                                     need to have an explicit law criminalizing people who have abortions to
                                     prosecute them, often under unrelated statutes, like the illegal concealment
                                     of human remains. Even before Dobbs, people were arrested for self-
                                     managing abortions. The risk is real, but in a moment where people have too
                                     few options and time is of the essence, Prine said, every option counts.

                                     “I do consults all the time, and people are not saying, ‘What about the
                                     legality of this?’” Prine said. “That is not their concern. Their question is,
                                     ‘How soon will the pills arrive?’ That is the number one question.”




                                     More on this story

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                                     restrictions on abortion pill   was raped and denied              fetus in prison guard
                                     access                          abortion in Mississippi           lawsuit despite arguing
                                                                                                       opposite on abortion
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https://www.theguardian.com/world/2023/jul/23/shield-laws-provide-abortion-care-aid-access                                                         3/6
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 198 of 220 PageID 10511




                                EXHIBIT 63

       How a network of abortion pill providers works
            together in the wake of new threats




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9/17/24, 12:34 PM                                How a network of abortion pill providers works together in the wake of new threats
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                     Page 199 of 220 PageID 10512

    ABORTION RIGHTS


    How a network of abortion pill providers works together in the wake of new
    threats
    Groups such as Aid Access, Hey Jane and Just the Pill stay in close contact to help women seeking abortions in states with bans.




           A shield law provider packs abortion pills into envelopes to be sent from New York to states with bans.
      Callan Griffiths / NBC News




    April 7, 2024, 6:00 AM CDT

    By Abigail Brooks and Dasha Burns

    When the U.S. Supreme Court heard oral arguments in March about restricting access to the abortion drug
    mifepristone, Elisa Wells, co-founder and co-director of Plan C, was ready.

    Plan C, an information resource that connects women to abortion pill providers, almost immediately saw a spike in
    searches for the medication.
                                                                                                                           App. 001004
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-works-together-wake-new-threats-rcna146678                    1/7
9/17/24, 12:34 PM                                How a network of abortion pill providers works together in the wake of new threats

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                                                                      abortion   200
                                                                               ban,   of 220
                                                                                    Wells        PageID
                                                                                          says she’s      10513
                                                                                                     expecting even
    more search activity and more creative thinking from providers.


    “When these egregious decisions happen, first, they cause harm,” she says. “And the second thing that happens is
    people get organized and mad and take action.”

    Since the Supreme Court overturned Roe v. Wade in its 2022 Dobbs decision, upending abortion access in the U.S., a
    network of abortion providers has sprung into action, weaving an abortion safety net across the country even as the
    procedure has been effectively banned in 15 states.

    Providers such as Aid Access, Hey Jane and Just the Pill operate both within and outside the established health care
    system — including mailing abortion medications to women in states with bans, setting up mobile clinics and
    offering financial assistance — often staying in close contact with one another.




           Bottles of Misoprostol Tablets. NBC News




    Many of those efforts center on access to abortion medication by mail, which the Food and Drug Administration
    made fully legal in 2021, creating a sort of “sisterhood of the traveling pill” that keeps groups connected as new
    restrictions on abortion arise.

    Wells says Plan C called different providers for a meeting on how best to pivot in the changing abortion landscape.
                                                                                                                           App. 001005
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-works-together-wake-new-threats-rcna146678                    2/7
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    “WeCase 2:22-cv-00223-Z
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                                                             another,” shePage   201ofofthese
                                                                           said. “All     220groups
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                                                                                                         normally
    would be competing with one another to come together and discuss, you know, how can we make a difference? How
    can we collectively address this issue?”

    One such group is Aid Access, an online-only service based in the Netherlands. Originally a resource for women in
    the U.S. to get abortion pills from overseas, providers for the organization now ship pills from within the U.S. under
    telemedicine shield laws. The shield laws have been enacted in six states: California, Colorado, Massachusetts, New
    York, Vermont and Washington. The laws protect providers who prescribe and ship abortion pills to patients who
    live in states where abortion is banned or severely restricted.

    “Before we had the shield law, we were mailing pills to the blue states, and only [pills from] overseas could be sent
    to the restricted states,” said Dr. Linda Prine, a New York City-based shield law provider.

    After New York’s shield law passed, Prine said, “the first month we sent about 4,000 pills into restricted states, and
    now we’re up to around 10,000 pills a month.”


    In a basement in upstate New York, another Aid Access provider who asked to not be identified for safety reasons
    underscored the importance of sending these pills from the U.S., rather than overseas.


    “Sometimes they got stuck in customs,” the provider explained as more than 100 prescriptions were being packaged
    around them, preparing to be shipped into states with bans.


    “When you’re doing a medication abortion, the faster you can get these medications, the better,” the provider said
    in an interview. “It’s easier, there’s less bleeding, there’s less cramping, and not to mention the anxiety that these
    women go through when they’re waiting for those medications to get to them in the mail.”




                                                                                                                           App. 001006
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-works-together-wake-new-threats-rcna146678                    3/7
9/17/24, 12:34 PM                                How a network of abortion pill providers works together in the wake of new threats
         Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                     Page 202 of 220 PageID 10515




           Boxes of pills will be packed into envelopes to ship around the country. Callan Griffiths / NBC News




    Aid Access providers say they’re sending pills to some who are in the most desperate situations — people who are
    willing to risk going outside the established health care system to access abortion services. The organization is
    exploring contingency plans in the event that access to the abortion pill through the mail is disrupted.


    “We have so many patients who write to us who’ve been raped, who can’t travel,” the provider explained. “So we
    have to come up with other ways. I would say the last resort would be that these medications come again from
    overseas.”


    And while shield laws have yet to be challenged in courts, anti-abortion groups have taken notice.

    “The fact remains that just because you are sitting in California does not mean that you are not violating the laws of
    Florida, Texas and 30 other states,” Katie Daniel, state policy director for the anti-abortion group Susan B. Anthony
    Pro-Life America, told NBC News. “So I think they have a false sense of security about this.”

    In the six months after Dobbs, researchers saw an increase in women getting abortion medication outside the
    traditional health care system, with more than 27,000 additional instances, according to a recent study in the
    journal JAMA.

    “These are groups like Las Libres, WeSaveUs, Arkansas Together,” said Wells, who was a co-author of the study.
    “They’re serving a significant number of people for an all volunteer-led effort.”
                                                                                                                           App. 001007
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-works-together-wake-new-threats-rcna146678                    4/7
9/17/24, 12:34 PM                                How a network of abortion pill providers works together in the wake of new threats

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                                                                                                  PageIDabortions
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    accounted for 63% of all abortions in 2023, up 10% from the year before, according to research from reproductive
    rights think tank the Guttmacher Institute, making it the most common method for terminating a pregnancy.




           Envelopes filled with abortion pills. Callan Griffiths / NBC News




    New York-based Hey Jane has seen that demand firsthand. Founder Kiki Freedman, an early Uber employee,
    launched the telemedicine-only abortion provider in 2018 after seeing other startups deliver medications and
    savings to customers via online-only prescription services. After the FDA eased restrictions on mifepristone
    prescriptions during pandemic, allowing women to get the abortion pill through the mail, Hey Jane took off. The
    company has shipped abortion pills to at least 50,000 patients, according to a statement.

    “We have the added benefit of this sort of geographic fluidity where a doctor in New York can serve a patient in
    Illinois, or New Mexico if the doctor in New Mexico or the provider in New Mexico is busy,” said Freedman. “The
    other piece is financial accessibility and being able to access scalable ways of doing that, so via insurance, in
    particular.”


    Hey Jane only prescribes and ships abortion medication to states where it’s legal, marking a difference from shield
    law providers and organizations like Aid Access.

    Access to medication abortion helps patients avoid traveling and wait times at in-person clinics, and allows them to
    take the pills in private at home. While providers who ship to states with bans have struggled with traditional
    payment platforms, Hey Jane’s focus is on keeping access covered by insurance.



                                                                                                                           App. 001008
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-works-together-wake-new-threats-rcna146678                    5/7
9/17/24, 12:34 PM                                How a network of abortion pill providers works together in the wake of new threats
         Case
    “Still,     2:22-cv-00223-Z
            75% of abortions are takingDocument     195-5
                                        place in these       Filed
                                                       20 states    10/11/24
                                                                 we’re in. It’s still Page
                                                                                      where 204  of 220
                                                                                            the vast      PageID
                                                                                                     majority of care10517
                                                                                                                      occurs,”
    said Freedman. “It’s not like access in those states has been seamless to date, right? It’s always been difficult even
    there, and particularly post-Dobbs, wait times and things like that have really surged within those states.”




           Empty pill bottles in the basement of a shield law provider in New York will be filled with abortion medication.
      Abigail Brooks / NBC News




    Just the Pill provides abortion access to women in states with bans using discreet mobile clinics set up just across
    state lines.

    The group has bulletproof vans in Colorado, Minnesota and Montana, and a brick-and-mortar location in Wyoming.
    Appointments are conducted via telemedicine, always within a state where abortion is legal, making shield laws
    unnecessary, a backstop a Just the Pill provider said is intentional, so care won’t be interrupted if the shield laws are
    challenged.


    “I totally support what these other organizations are doing,” she said in an interview, asking not to be identified for
    safety reasons. “I’m cheering them on from afar, but want to make sure our service isn’t challenged.”


    Just the Pill works with abortion funds, which provide financial assistance to patients who are seeking the
    procedure, to help patients travel across state lines for their appointments. After a telemedicine visit, pills are then
    prescribed and patients can pick them up and take them, all within the borders of a state where the procedure is
                                                                                                                           App. 001009
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-works-together-wake-new-threats-rcna146678                    6/7
9/17/24, 12:34 PM                                  How a network of abortion pill providers works together in the wake of new threats
        Case
    legal.     2:22-cv-00223-Z
           Because                      Document
                   Just the Pill’s clinics are mobile,195-5
                                                       they canFiled
                                                                travel10/11/24     Page of
                                                                       along the borders 205  of 220
                                                                                           banned statesPageID  10518
                                                                                                         and ensure they
    get as close as possible to women traveling from rural areas or long distances for care.


    Meanwhile, Plan C is already working with more international pill providers to help with telehealth prescription
    access in the U.S. if telehealth visits for mifepristone are affected here, Wells said.

    “We know we live in a time when anything can happen,” Wells said. “We want to have as many alternate routes and
    access as possible. Many eggs and many baskets.”




            Abigail Brooks
    Abigail Brooks is a producer for NBC News.




               Dasha Burns


    Dasha Burns is a correspondent for NBC News.




                                                                                                                             App. 001010
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-works-together-wake-new-threats-rcna146678                      7/7
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 206 of 220 PageID 10519




                                EXHIBIT 64

      Inside a medical practice sending abortion pills to
              states where they're banned -- NPR




                                                                   App. 001011
9/17/24, 12:35 PM                                          Meet the people sending abortion pills to places with bans : NPR
        Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24
    HOURLY NEWS
                                                                                                  Page 207 of 220 PageID 10520
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    NATIONAL

   Inside a medical practice sending abortion pills to states where they're
   banned
   AUGUST 7, 2024 · 9:00 AM ET

          Elissa Nadworny


                                                         The packages, no bigger than a hardcover
                                                         book, line the walls of the nondescript
                                                         office near Boston. It's not an Etsy retailer
                                                         or a Poshmark seller or, as the nearby post
                                                         office workers believe, a thriving jewelry
                                                         business.


   “Welcome to modern abortion care,” says
                                                         These boxes contain abortion pills.
   Angel Foster, who leads operations at what’s
   known as the MAP, a Massachusetts                     "Welcome to modern abortion care," says
   telehealth provider sending pills to people
                                                         Angel Foster, as she holds up a box for
   who live in states that ban or restrict
   abortion.                                             mailing. Foster, who has an M.D. degree,
   Elissa Nadworny/NPR
                                                         leads operations at what's known as the
                                                         MAP, a Massachusetts telehealth provider
                                                         sending pills to people who live in states
   that ban or restrict abortion.

   The MAP is one of just four organizations in the U.S. operating under recently
   enacted state shield laws, which circumvent traditional telemedicine laws
   requiring out-of-state health providers to be licensed in the states where patients
   are located. Eight states have enacted these shield laws.


                                                                     Sponsor Message




                                                                                                                              App. 001012
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-mifepristone-misoprostol                                    1/13
9/17/24, 12:35 PM                                          Meet the people sending abortion pills to places with bans : NPR
          Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 208 of 220 PageID 10521

   Pregnant patients can fill out an online form, connect with a doctor via email or
   text and, if approved, receive the pills within a week, no matter which state they
   live in.


                    SHOTS - HEALTH NEWS
                    Abortion is becoming more common in primary care clinics as doctors challenge stigma




   Shield law practices account for about 10% of abortions nationwide. There were
   9,200 abortions a month provided under shield laws from January to March of this
   year, according to fresh data from the Society of Family Planning's WeCount
   project. And some researchers estimate that this number has risen since then and
   could be as high as 12,000 per month.

   The rise of telehealth is part of why the number of abortions in the U.S. has
   continued to go up since the Supreme Court overturned Roe v. Wade in 2022 —
   even though 14 states have near-total abortion bans. In those states, shield law
   providers represent the only legal way people can access abortions within the
   established health care system.

                                                         Back in Massachusetts, Foster glances
                                                         down at the list of today's patients. The
                                                         practice's four OB-GYNs have signed off on
                                                         prescriptions for nearly two dozen women
                                                         — in Texas, Florida, Tennessee, Georgia,
                                                         Alabama, Oklahoma and South Carolina.
                                                         Most of today's patients are around six
   "If you want to have your abortion care in            weeks along in their pregnancy. Many
   your state and you live in Texas or                   already have children.
   Mississippi or Missouri, right now shield law
   provision is by far the most dominant way
   that you'd be able to get that care," says            "I really need an abortion pill. My state has
   Foster.                                               banned it. My funds are really low," one
   Elissa Nadworny/NPR
                                                         patient wrote on the online form she filled
                                                         out for the doctor.




                                                                                                                              App. 001013
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-mifepristone-misoprostol                                   2/13
9/17/24, 12:35 PM                                          Meet the people sending abortion pills to places with bans : NPR
          Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                      Page 209 of 220 PageID 10522




   "I'm a single mom with a kid under two," another wrote. "I can't afford a baby. I
   can't even afford this abortion."

   Foster and her team serve patients who are up to 10 weeks pregnant and who are
   16 or older. It costs $250 to get the two-drug regimen — mifepristone and
   misoprostol — in the mail, but there's a sliding scale and patients can pay as little
   as $5. The MAP is funded through abortion funds, individual donations and
   philanthropic gifts, and Foster has plans to apply for grants and state funding to
   help make the organization more sustainable. The MAP currently sends out about
   500 prescriptions a month.


   Yet to be tested in court, shield laws have some legal vulnerability
   In the eight states with shield laws, abortion providers can treat out-of-state
   patients just as if they were in-state patients. The laws give abortion providers
   some protection from criminal prosecution, civil claims and extradition, among
   other threats. The laws have yet to be tested in court, but they certainly haven't
   gone unnoticed by lawmakers and groups looking to limit abortion.

   "These websites are breaking the law … aiding and abetting crimes in Texas," says
   John Seago, the president of Texas Right to Life. "We want to use all the
   instruments that we have, all the tools available, to really fight against this new
   trend of abortion pills by mail."

   Seago says providers should still be held responsible for committing a crime that
   is executed across state lines. "Mailing the abortion pill is a state jail felony
   according to our pro-life laws," he says, "but enforcement of those policies has
   been a real, real challenge."

                                                         His organization has been looking for the
                                                         right individual or circumstance to
                                                         challenge shield laws directly in court.
                                                         Three Republican-led states recently tried
                                                         to sue the Food and Drug Administration
                                                         over regulations allowing doctors to send
                                                         pills through the mail, but the Supreme
   Mifepristone, a drug used in abortion care,           Court threw out the case in June over
   at the MAP's office in Massachusetts.                 issues of standing. Those plaintiffs say
   Elissa Nadworny/NPR
                                                         they'll fight on. And a Republican attorney
                                                         general in Arkansas sent a cease-and-
   desist letter to a shield law provider.


                    SHOTS - HEALTH NEWS
                                                                                                                              App. 001014
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-mifepristone-misoprostol                                   3/13
9/17/24, 12:35 PM                                          Meet the people sending abortion pills to places with bans : NPR
          Case 2:22-cv-00223-Z    Document
               Abortion providers back        195-5as usual’
                                       to ‘business   Filed after
                                                             10/11/24    Pagemifepristone
                                                                  high court's 210 of 220 ruling
                                                                                            PageID 10523




   Seago thinks many conservative prosecutors have been hesitant to take legal
   action, especially in an election year. But he says it's important to act quickly,
   before abortion by mail becomes pervasive.

   The people who are sending these pills know that there's risk in what they're
   doing. Some providers say they won't travel to or through states with bans so that
   they can't be subpoenaed, be served legal papers or even be arrested if there's a
   warrant. That may mean avoiding layovers at Dallas Love Field airport or a detour
   around those places on a cross-country road trip. For Foster, it means she can't
   visit her mom and stepdad, who retired to South Carolina.




   "The thing about shield laws is that they're new, so we don't have a precedent to
   go off of," says Lauren Jacobson, a nurse practitioner who prescribes abortion
   medication through Aid Access, the largest of the four shield law providers. She
   says she avoids large swaths of the United States. "We don't really know what will
   or won't happen. But I'm not going to Texas. I've been before though, so that's OK
   for me."


                    SHOTS - HEALTH NEWS
                    Abortion bans still leave a 'gray area' for doctors after Idaho Supreme Court case




   Shield laws don't offer blanket protection. The doctors and nurse practitioners
   who prescribe the pills have malpractice insurance in their states, but it's unclear
   whether those policies would cover suits from states with abortion restrictions.
   Patients use third-party payment services like Cash App or PayPal, which are also
                                                                                                                              App. 001015
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-mifepristone-misoprostol                                   4/13
9/17/24, 12:35 PM                                          Meet the people sending abortion pills to places with bans : NPR
       Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 211 of 220 PageID 10524
   untested in how they would work under a shield law. Would they give up
   information on a provider or patient if requested to do so by law enforcement?


   How the experience looks
   Lauren, who is 33 and lives in Utah, got pregnant while on birth control and
   decided that she couldn't afford another child. (NPR is not using her last name
   because she's worried about professional repercussions.)

   Abortion is legal in Utah until 18 weeks, but there are only a handful of clinics in
   the state. The closest one to Lauren was several hours away by car. Several years
   prior, she had an abortion at a clinic in Salt Lake City, and it hadn't been a
   pleasant experience — she had to walk through protesters. The guilt from her
   conservative Christian upbringing was overwhelming.

                                                         "I got in my car and I cried," she recalls. "I
                                                         just never wanted to go through it again."

                                                         This time, Lauren got pills from Aid Access,
                                                         a shield law provider similar to the MAP. "I
                                                         was a little bit sketched out, I won't lie,"
                                                         she says. "Because like, well, where is this

   Shield law practices account for about 10%
                                                         coming from? Who is this under? How are
   of abortions nationwide. There were 9,200             they prescribing this?"
   abortions a month provided under shield
   laws from January to March of this year,
   according to fresh data from the Society of
   Family Planning's WeCount project. Some
   researchers estimate that this number has
   risen since then and could be as high as
   12,000 per month.
   Elissa Nadworny/NPR




                                                                                                                              App. 001016
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-mifepristone-misoprostol                                   5/13
9/17/24, 12:35 PM                                          Meet the people sending abortion pills to places with bans : NPR
       Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24 Page 212 of 220 PageID 10525
   She and her partner did research to try to figure out whether what they were
   doing was legal. She says ultimately she couldn't find anything that clearly stated
   that what she wanted to do — have pills sent from an out-of-state doctor — was
   illegal.

   She filled out a form online with questions about how far along she was and her
   medical history and then connected with a doctor via email and text messages.
   She googled the doctor, who she found was legit and practicing out of New York.

   A few days later, she received abortion medication in the mail and had her
   abortion at home.

   "To do it in the privacy of your own home, where I felt more support as opposed
   to going through protesters," Lauren says. "Especially with a provider within the
   state of Utah. I feel like there's always a judgmental indication or undertone."

   The online doctor also followed up to make sure everything had gone OK, which
   Lauren appreciated. "I felt it was a little bit more thorough," she says. "They're
   checking in on you, like, 'How did you respond? What symptoms? What's going
   on?'"

                                                         In Massachusetts, the folks who run the
                                                         MAP hear much the same from their
                                                         patients. Many emails and messages are
                                                         logistical, like this email: "I took the first
                                                         pill on Friday and all the other pills on
                                                         Saturday. For how long should I be bleeding
                                                         as I'm still bleeding this morning?"
   A staff member of the MAP brings the boxes
   containing abortion medication to the local           Many others offer disbelief, relief and
   post office.
                                                         gratitude. "I just wanted to say thank you
   Elissa Nadworny/NPR
                                                         so much," wrote one woman. "I was
                                                         terrified of this process. It goes against
   everything I believe in. I'm just not in a place where I can have a child. Thank you
   for making the pills easily accessible to me."

   When Foster, who runs operations for the MAP, does a final tally of the patients
   who are ready to have their pills sent out, she notices a new note from a woman
   who just paid, bringing the day’s total number of patients from 20 to 21.




                                                                                                                              App. 001017
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-mifepristone-misoprostol                                   6/13
9/17/24, 12:35 PM                                             Meet the people sending abortion pills to places with bans : NPR
          Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                           Page 213 of 220 PageID 10526




   "I am a single mother on a fixed income, and I can not afford a kid right now."

   It's from a woman in Alabama who is six weeks pregnant and filled out her form
   around lunchtime. Within an hour, a MAP doctor had reviewed her case and
   prescribed her the medication. She paid the fee as soon as she was approved. All
   in all, the whole process took about three hours. Foster is able to pack up those
   pills and add them to the batch headed to the post office.

   By 3 p.m., the Alabama woman's package is scanned by the Postal Service worker.

   It's expected to arrive by the week's end.

     abortion drugs     mifepristone      abortion provider      misoprostol     dobbs v jackson women's health organization      roe v. wade




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https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-mifepristone-misoprostol                                       7/13
Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24   Page 214 of 220 PageID 10527




                                EXHIBIT 65

    Abortion providers in Democrat-led states work with
     Aid Access to funnel pills into antiabortion states




                                                                   App. 001019
9/17/24, 3:52 PM              Abortion providers in Democrat-led states work with Aid Access to funnel pills into antiabortion states - The Washington Post
          Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                          Page 215 of 220 PageID 10528


       Abortion providers in Democrat-led states work with Aid Access to
       funnel pills into antiabortion states
          washingtonpost.com/politics/2023/07/19/doctors-northeast-launch-abortion-pill-pipeline-into-states-with-bans

                                                                                                                                           July 20, 2023


          clockThis article was published more than 1 year ago




                                                                                                                              App. 001020
https://www.washingtonpost.com/politics/2023/07/19/doctors-northeast-launch-abortion-pill-pipeline-into-states-with-bans/                                     1/6
9/17/24, 3:52 PM              Abortion providers in Democrat-led states work with Aid Access to funnel pills into antiabortion states - The Washington Post
          Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                       Page 216 of 220 PageID 10529

       Blue-state doctors launch abortion pill pipeline into states with bans

       At least 3,500 doses have been shipped to antiabortion states since mid-June, a
       process enabled by new shield laws

       A doctor reviews mailing labels as she prepares to ship abortion pills from her home in New York’s Hudson Valley.
       (Nadia Sablin for The Washington Post)

       11 min



       By Caroline Kitchener
       July 19, 2023 at 8:19 p.m. EDT

       The doctor starts each day with a list of addresses and a label maker.

       Sitting in her basement in New York’s Hudson Valley, next to her grown children’s old bunk beds, she reviews the
       list of towns and cities she’ll be mailing to that day: Baton Rouge, Tucson, Houston.

       A month ago, a phone call was the only thing the doctor could offer to women in states with abortion bans who
       faced unexpected pregnancies. Hamstrung by the laws, she could only coach them through the process of taking
       abortion pills they received from overseas suppliers.

       Then, all of a sudden, the whole system changed. Now she can legally mail them pills herself.

       A new procedure adopted in mid-June by one of the largest abortion pill suppliers, Europe-based Aid Access,
       allows U.S. medical professionals in certain Democratic-led states that have passed abortion “shield” laws to
       prescribe and mail pills directly to patients in antiabortion states.

       Previously, Aid Access allowed only Europe-based doctors to prescribe abortion pills to women in states where
       abortion is restricted and then shipped those pills internationally, leaving patients to wait weeks. The telemedicine
       shield laws, enacted over the past year in New York, Massachusetts, Washington, Vermont and Colorado, explicitly
       protect abortion providers who mail pills to restricted states from inside their borders.

       The result is a new pipeline of legally prescribed abortion pills flowing into states with abortion bans. In less than a
       month, seven U.S.-based providers affiliated with Aid Access — including the Hudson Valley doctor, who spoke on
       the condition of anonymity because she was concerned for her safety — have mailed 3,500 doses of abortion pills
       to people in antiabortion states, according to Aid Access, putting just this small group aloneon track to help
       facilitate at least 42,000 abortions in restricted states over the next year. If more doctors and nurses sign up, as
       current providers hope they will, the numbers could climb far higher.

       🏛️
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       “Everything I’m doing is completely legal,” the Hudson Valley doctor said, her family’s ping-pong table covered with
       abortion pills bound for the South and Midwest, where abortion has been largely illegal since the Supreme Court
       overturned Roe v. Wade in June 2022.

       “Texas might say I’m breaking their laws, but I don’t live in Texas.”


                                                                                                                              App. 001021
https://www.washingtonpost.com/politics/2023/07/19/doctors-northeast-launch-abortion-pill-pipeline-into-states-with-bans/                                     2/6
9/17/24, 3:52 PM              Abortion providers in Democrat-led states work with Aid Access to funnel pills into antiabortion states - The Washington Post
          Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                       Page 217 of 220 PageID 10530

       The development tees up a complicated interstate battle where doctors on U.S. soil are empowered to legally
       circumvent abortion laws — allowing blue states to potentially undermine the red state bans that many
       Republicans hoped would end abortion within their borders. Meanwhile, some conservative groups are angling to
       outlaw the abortion pill nationwide, attempting to outlaw the medication in the courts as well as calling for a
       national abortion ban.

       The increasing flow of prescribed pills adds to an already expanding underground network for pills being imported
       from overseas and illegally distributed by abortion rights advocates largely without medical oversight, underscoring
       the prominent role pills are playing in post-Roe America.

       The shield laws are “a huge breakthrough for people who need abortions in banned states,” said David Cohen, a
       Drexel University law professor who focuses on abortion legislation. “Providers are protected in many ways as long
       as they remain in the state with the shield law.”

       Some lawyers say these doctors could face repercussions, even if they steer clear of traveling to states in which
       abortion bans call for prosecuting abortion providers. At a minimum, some experts said, the question of legal peril
       could wind up in a gray area ultimately resolved by the courts,such as whether shield law states have the power to
       block other states from extraditing people charged with crimes.

       Major groups that support abortion rights, including Planned Parenthood and the American College of
       Obstetricians and Gynecologists (ACOG), have been largely silent on the subject of mailing pills from shield law
       states. Several Aid Access providers say the groups have expressed concern about backing the approach, worried
       that providers could put themselves at risk.

       Molly Meegan, the ACOG’s general counsel and chief legal officer, said the group is “not positioned to provide legal
       advice to individual members,” adding that “it is wrong for a state to be able to prosecute clinicians and patients in
       other states where abortion remains legal and unrestricted.” Planned Parenthood issued a statement saying that
       its advocacy arm was “doing everything possible, and looking into every opportunity, to ensure that patients can
       access care no matter where they live.”

       Jonathan Mitchell, the former solicitor general of Texas and architect of the state’s six-week abortion ban, said it
       was too early to predict how these shield laws would play out, but said the providers may face consequences.

       “There absolutely is a world in which they could get in trouble for it,” he said. “Someone in Texas could do a sting
       operation and charge them with attempted murder.”

       In many states, including Texas, someone found guilty of distributing abortion pills could be sentenced to at least
       several years in prison. Current abortion bans explicitly exempt those seeking abortions from prosecution, though
       prosecutors have a history of charging people who have abortions with other crimes.

       The Hudson Valley doctor said she’s not worried about her own legal risk. When she arrives at the post office with
       dozens of new packages every afternoon, she said, no one ever asks any questions.

       “Nobody has any idea. I could be doing so many different mailer businesses from home,” she said. “It could be
       beaded necklaces. It could be soaps. It could be candy.”

       Massachusetts passed the first telemedicine abortion shield law of its kind just days after Roe v. Wade was
       overturned. The most recent law passed in New York in mid-June.

       The New York law specifies that no state or local government employee “shall cooperate with or provide
       information to any individual or out-of-state agency or department regarding any legally protected health activity in
       this state.”

                                                                                                                              App. 001022
https://www.washingtonpost.com/politics/2023/07/19/doctors-northeast-launch-abortion-pill-pipeline-into-states-with-bans/                                     3/6
9/17/24, 3:52 PM              Abortion providers in Democrat-led states work with Aid Access to funnel pills into antiabortion states - The Washington Post
          Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                       Page 218 of 220 PageID 10531

       With shield laws, abortion rights advocates have seized an opportunity to “define the landscape,” said Julie F. Kay,
       a human rights lawyer and the legal director of the Abortion Coalition for Telemedicine Access. One key question
       that could emerge in the coming months is whether prosecutors in any antiabortion states would attempt to
       extradite medical providers from shield law states, thereby challenging the power of the new laws.

       Kay said that traditional extradition laws would be difficult to apply in these circumstances.

       “One state can extradite if a person commits the crime in the state, then flees,” Kay said. “But no one is fleeing
       here. You are just sitting in your office in New York.”

       Aid Access started sending abortion pills to women in the United States long before the June 2022 Supreme Court
       ruling. The service, which costs $150 or less, is far cheaper than having a surgical abortion or obtaining medication
       at a clinic — usually between $500 and $800 — making it an appealing option even to people in states where
       abortion is readily accessible.

       Once Roe fell, the organization operated in a legal gray area, shipping pills to antiabortion states from India. Aid
       Access providers mail pills sealed in clearly marked boxes, setting the organization apart from many other
       overseas pills suppliers, which send pills without a prescription, sometimes unmarked and unsealed.

       Demand for pills from Aid Access has soared since the June 2022 Supreme Court ruling, with the organization
       receiving almost 60 percent more requests for pills this spring than in the months immediately following the
       decision, according to Abigail Aiken, lead investigator of the Self-managed Abortion Needs Assessment Project at
       the University of Texas at Austin. People seeking an abortion often find the group online, then make their request
       through its website. The request gets forwarded to one of the providers.

       U.S.-based Aid Access providers were used to the process of receiving and processing requests for abortion pills,
       accustomed to working with patients in states where abortion is legal — but the process of ordering the medication
       and mailing it out was far less familiar.

       The providers order mifepristone and misoprostol — the pills in a two-step medication abortion regimen — from
       licensed pill distributors, and ship out the pills to patients fairly quickly along with detailed instructions.

       Before the recent change in procedure, the Aid Access providers would send all of their prescriptions to an online
       pharmacy in California to handle shipping, one of two online pharmacies nationwide that dispenses abortion pills.
       But neither of those pharmacies is located in a state with a shield law. Until California passes one, a development
       that is expected this fall, the doctors have to prepare and package the pills bound for restricted states themselves,
       creating their own labels to stick on the pill boxes they receive, providers said. (Doctors are legally permitted to
       order and distribute pills on their own, the providers said — it’s just not typical.)

       “We’re medical providers suddenly thrown into this world of shipping,” said Lauren Jacobson, a nurse practitioner
       who operates out of Massachusetts. “Do we write labels by hand? What if we mess up an address? How on earth
       do we ship 50 packages a day?”

       Jacobson concedes that this system is far from perfect. While medication abortion is overwhelmingly safe and
       effective, she said, on rare occasions her patients in restricted states require in-person care — and they fear the
       legal risk that could come with a trip to the hospital. In those cases, she said, she will try to help them navigate
       their state’s health-care system safely, searching online for a trustworthy provider and advising them on what to
       say. Sometimes, she said, she’ll go on LinkedIn and scope out the local OB/GYNs, searching for someone who
       has posted something that supports abortion rights.

       “This isn’t normal health care,” she said. “We don’t want to have to do this.”


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https://www.washingtonpost.com/politics/2023/07/19/doctors-northeast-launch-abortion-pill-pipeline-into-states-with-bans/                                     4/6
9/17/24, 3:52 PM              Abortion providers in Democrat-led states work with Aid Access to funnel pills into antiabortion states - The Washington Post
          Case 2:22-cv-00223-Z Document 195-5 Filed 10/11/24                                       Page 219 of 220 PageID 10532

       Providers also recognize that many patients prefer or require a surgical procedure to end their pregnancy instead
       of pills.

       One major impetus for Aid Access changing its protocol was the shipping time, said Linda Prine, an Aid Access
       provider and doctor based in New York. Patients would have to wait weeks for pills shipped from India, she said,
       often pushing their abortions well into the second trimester — a far more difficult and complicated process. (The
       U.S. Food and Drug Administration endorses the use of abortion pills up to 10 weeks, though some studies show
       it’s safe and effective to use them significantly later in pregnancy.)

       “They were having a really scary miserable experience,” Prine said, with some far enough along that they
       wouldpass a recognizable fetus.

       Prine founded the Miscarriage and Abortion Hotline, where people often call with questions about medication
       abortion. Since Aid Access’s protocol change, she said, she has noticed a significant decrease in calls from women
       who are taking pills in their second trimester.

       Eventually, the Aid Access providers fully expect Republicans to take a swing at their efforts.

       “We’re all like, ‘Okay which one of us is going to be the case?’” said the doctor in the Hudson Valley. “It’s not if
       there will be lawsuits, it’s when.”

       Jacobson said she trusts the Massachusetts courts to protect her.

       “We have seven American providers who are stepping in and saying, ‘You know what, we’re not going to be
       intimidated,’” Jacobson said.

       The providers are eagerly waiting for the shield law to pass in California.

       Once that passes, the Hudson Valley doctor may no longer have to run a complex shipping operation from her
       basement. She’ll likely be able to send her prescriptions to the pharmacy, just like she used to, she said.

       For now, she said, she doesn’t mind staying up until 1 a.m. to finish the packing.

       “It feels like I’m giving a big middle finger to that part of the country that has done this,” she said.

       U.S. abortion access, reproductive rights
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